Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-7 Filed:
                                          to 12/19/19
                                              Further1 Confidentiality
                                                       of 98. PageID #: 470020
                                                                            Review

     1               IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
     2                             EASTERN DIVISION
     3

          -------------------------               )
     4    IN RE: NATIONAL                         ) MDL No. 2804
          PRESCRIPTION OPIATE                     )
     5    LITIGATION                              ) Case No.
          -------------------------               ) 1:17-MD-2804
     6                                            )
          THIS DOCUMENT RELATES TO                ) Hon. Dan A. Polster
     7    ALL CASES                               )
          -------------------------               )
     8
     9
   10                           HIGHLY CONFIDENTIAL
   11             SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
   12
   13                        VIDEOTAPED DEPOSITION OF
   14                                 TASHA POLSTER
   15                              January 23, 2019
   16
   17                              Chicago, Illinois
   18
   19
   20
   21
   22
   23                       GOLKOW LITIGATION SERVICES
                      877.370.3377 ph | 917.591.5672 fax
   24                               deps@golkow.com

  Golkow Litigation Services                                          Page 1 (1)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-7 Filed:
                                          to 12/19/19
                                              Further2 Confidentiality
                                                       of 98. PageID #: 470021
                                                                            Review
                                                    Page 2                                                Page 4
    1                                                          1 APPEARANCES (Continued):
                                                               2 ON BEHALF OF JOHNSON & JOHNSON,
    2                                                             JANSSEN PHARMACEUTICALS, INC.,
    3                                                          3 ORTHO-McNEIL-JANSSEN PHARMACEUTICALS, INC.
                                                                  n/k/a JANSSEN PHARMACEUTICALS, INC.;
    4                                                          4 JANSSEN PHARMACEUTICA, INC. n/k/a JANSSEN
                                                                  PHARMACEUTICALS, INC.:
    5        The videotaped deposition of TASHA POLSTER,       5
                                                                    TUCKER ELLIS LLP
    6   called by the Plaintiffs for examination, taken        6    950 Main Avenue, Suite 1100
    7   pursuant to the Federal Rules of Civil Procedure of         Cleveland, Ohio 44113-7213
                                                               7    216-696-3950
    8   the United States District Courts pertaining to the         BY: SAVANNAH M. FOX, ESQ.
                                                               8        s.fox@tuckerellis.com
    9   taking of depositions, taken before CORINNE T.                     (via telephone/livestream)
   10   MARUT, C.S.R. No. 84-1968, Registered Professional     9
                                                              10 ON BEHALF OF ENDO HEALTH SOLUTIONS INC. and
   11   Reporter and a Certified Shorthand Reporter of the        ENDO PHARMACEUTICALS, INC.,
                                                              11 PAR PHARMACEUTICAL, INC., and PAR PHARMACEUTICAL
   12   State of Illinois, at the offices of Bartlit Beck         COMPANIES, INC. (f/k/a Par Pharmaceutical
   13   LLP, Suite 600, 54 West Hubbard Street, Chicago,      12 Holdings, Inc.):
                                                              13    ARNOLD & PORTER KAYE SCHOLER LLP
   14   Illinois, on January 23, 2019, commencing at 9:16           601 Massachusetts Avenue, NW
                                                              14    Washington, DC 20001-3743
   15   a.m.                                                        202-942-5000
   16                                                         15    BY: RYAN Z. WATTS, ESQ.
                                                                        ryan.watts@arnoldporter.com
   17                                                         16
   18                                                         17 ON BEHALF OF McKESSON CORPORATION:
                                                              18    TABET DIVITO & ROTHSTEIN LLC
   19                                                               209 South LaSalle Street, 7th Floor
                                                              19    Chicago, Illinois 60604
   20                                                               312-762-9461
   21                                                         20    BY: DANIEL L. STANNER, ESQ.
                                                                        dstanner@tdrlawfirm.com
   22                                                         21        KYLE A. COOPER, ESQ.
                                                                        kcooper@tdrlawfirm.com
   23                                                         22
   24                                                         23
                                                              24

                                                    Page 3                                                Page 5
    1 APPEARANCES:                                             1 APPEARANCES (Continued):
    2 ON BEHALF OF THE PLAINTIFFS:                             2 ON BEHALF OF CARDINAL HEALTH, INC.:
    3    LEVIN PAPANTONIO THOMAS MITCHELL                      3   ARMSTRONG TEASDALE LLP
         RAFFERTY & PROCTOR P.A.                                   7700 Forsyth Boulevard, Suite 1800
    4    316 South Baylen Street, Suite 600                    4   St. Louis, Missouri 63105
         Pensacola, Florida 32502                                  314-621-5070
    5    205-396-3982                                          5   BY: JULIE FIX MEYER, ESQ.
         BY: PETER J. MOUGEY, ESQ.                                     jfixmeyer@ArmstrongTeasdale.com
    6       pmougey@levinlaw.com                               6
               -and-                                           7 ON BEHALF OF AMERISOURCEBERGEN CORPORATION:
    7       PAGE A. POERSCHKE, ESQ.                            8   JASZCZUK, P.C.
            ppoerschke@levinlaw.com                                311 South Wacker Drive, Suite 3200
    8       JEFF GADDY, ESQ.                                   9   Chicago, Illinois 60606
            jgaddy@levinlaw.com                                    312-442-0509
    9       LAURA DUNNING, ESQ.                               10   BY: MARGARET M. SCHUCHARDT, ESQ.
            ldunning@levinlaw.com                                      mschuchardt@jaszczuk.com
   10          (via telephone/livestream)                     11
   11                                                         12
   12 ON BEHALF OF WALGREENS BOOTS ALLIANCE, INC.                 ON BEHALF OF WALMART:
       aka WALGREEN CO.:
                                                              13
   13
                                                                   JONES DAY
         BARTLIT BECK LLP
                                                              14   77 West Wacker Drive
   14    1801 Wewatta Street, Suite 1200
         Denver, Colorado 80202                                    Chicago, Illinois 60601-1692
   15    303-592-3177                                         15   312-782-3939
         BY: LESTER C. HOUTZ, ESQ.                                 BY: MIRIAM M. LIABO, ESQ.
   16       Lester.Houtz@bartlitbeck.com                      16       mliabo@jonesday.com
   17          -and-                                          17
   18    BARTLIT BECK LLP                                     18 ON BEHALF OF MALLINCKRODT PHARMACEUTICALS:
         54 West Hubbard Street, Suite 300                    19   HAHN LOESER & PARKS LLP
   19    Chicago, Illinois 60654                                   200 Public Square, Suite 2800
         312-494-4475                                         20   Cleveland, Ohio 44114
   20    BY: KASPAR STOFFELMAYR, ESQ.                              216-621-0150
            kaspar.stoffelmayr@bartlitbeck.com                21   BY: SARAH LEWIS, ESQ.
   21                                                                  slewis@hahnlaw.com
   22                                                         22          (via telephone/livestream)
   23                                                         23
   24                                                         24

  Golkow Litigation Services                                                              Page 2 (2 - 5)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-7 Filed:
                                          to 12/19/19
                                              Further3 Confidentiality
                                                       of 98. PageID #: 470022
                                                                            Review
                                                       Page 6                                                       Page 8
    1 ALSO PRESENT:                                                1           EXHIBITS
    2    ALEXANDRA M. GARLOCK, Paralegal                           2 WALGREENS-POLSTER EXHIBIT                 MARKED FOR ID
                                                                   3 No. 9 7/2/12 e-mail with attachment;    162
         agarlock@levinlaw.com                                             WAGMDL00077015 - 00077023
    3    KAROLYNN SCHNEEGAS, Paralegal                             4
         kschneegas@levinlaw.com                                     No. 10 6/23/08 memo;               180
                                                                   5       WAGMDL00624503 - 00624509
    4     Levin Papantonio Thomas Mitchell                         6 No. 11 10/27/11 e-mail with          192
          Rafferty & Proctor P.A.                                          attachment;
    5                                                              7       WAGMDL00119542 - 00119548
                                                                   8 No. 12 4/27/12 e-mail with           205
    6    MICHAEL TOTH, Trial Technician                                    attachment;
    7                                                              9       WAGMDL00119539 - 00119541
    8                                                             10 No. 13 8/9/17 e-mail string;        211
                                                                           WAGMDL00006645 - 00006652
    9
                                                                  11
      VIDEOTAPED BY: BEN STANSON                                     No. 14 10/12/12 e-mail with          216
   10                                                             12       attachments;
                                                                           WAGMDL00319129 - 00319239
   11 REPORTED BY: CORINNE T. MARUT, C.S.R. No. 84-1968
                                                                  13
   12                                                                No. 15 11/9/12 e-mail string;        225
   13                                                             14       WAGMDL00658246 - 00658248
                                                                  15 No. 16 3/20/13 e-mail with           231
   14
                                                                           attachment;
   15                                                             16       WAGMDL00574824 - 00574825
   16                                                             17 No. 17 12/16/12 e-mail string with     233
   17                                                                      attachments;
                                                                  18       WAGMDL00659270 - 00659274
   18                                                             19 No. 18 10/1/12 e-mail string;        254
   19                                                                      WAGMDL00705318 - 00705320
   20                                                             20
                                                                     No. 19 8/26/09 Project Request        260
   21                                                             21       Estimate;
   22                                                                      WAGMDL00492067 - 00492069
   23                                                             22
                                                                  23
   24                                                             24

                                                       Page 7                                                       Page 9
    1             INDEX                                            1           EXHIBITS
    2 TASHA POLSTER                   EXAMINATION                  2 WALGREENS-POLSTER EXHIBIT             MARKED FOR ID
    3   BY MR. MOUGEY................. 12                          3 No. 20 11/5/12 e-mail string;     264
    4   BY MR. HOUTZ.................. 367                                 WAGMDL00113808 - 00113810
    5                                                              4
                                                                     No. 21 9/28/12 e-mail with        285
    6
                                                                   5       attachment;
    7          EXHIBITS
                                                                           WAGMDL00113816 - 00113820
    8 WALGREENS-POLSTER EXHIBIT                   MARKED FOR ID    6
    9 No. 1 11/13/17 e-mail string with        12                    No. 22 Document, "MartinB, Threshold  306
           attachments; WAGMDL00064176 -                           7       Violations-Monthly";
   10      00064185                                                        WAGMDL00674623
   11 No. 2 Binder of Documents,              39                   8
           "Settlement and Memorandum of                             No. 23 Spreadsheet;             308
   12      Agreement," et al.; first page                          9       WAGMDL00673894
           is WAGMDL00490963                                      10 No. 24 1/21/13 e-mail string;     321
   13                                                                      CAH_MDL2804_00783520 - 00783522
                                                                  11
      No. 3 Ven diagram drawn by               86
                                                                     No. 25 5/23/16 e-mail with        328
   14      Peter Mougey
                                                                  12       attachment;
   15 No. 4 Tasha Polster, LinkedIn          112                           WAGMDL00010887 - 00010924
           profile                                                13
   16                                                                No. 26 6/19/13 e-mail with        356
      No. 5 1/28/13 memo; WAGMDL00708763             117          14       attachments;
   17                                                                      WAGMDL00316771 - 00316785
      No. 6 2/8/13 e-mail string;          131                    15
   18      WAGMDL00101769 - 00101770                                 No. 27 2/19/13 e-mail string;     358
   19 No. 7 4/19/13 e-mail with            135                    16       WAGMDL00101723 - 00101732
           attachment;                                            17
                                                                  18
   20      WAGMDL00245768 - 00245769
                                                                  19
   21 No. 8 8/9/13 e-mail string;          158
                                                                  20
           WAGMDL00021425 - 00021427                              21
   22                                                             22
   23                                                             23
   24                                                             24

  Golkow Litigation Services                                                                      Page 3 (6 - 9)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-7 Filed:
                                          to 12/19/19
                                              Further4 Confidentiality
                                                       of 98. PageID #: 470023
                                                                            Review
                                                         Page 10                                                       Page 12
    1     THE VIDEOGRAPHER: We are now on the record.               1                TASHA POLSTER,
    2 My name is Ben Stanson. I am a videographer for               2   called as a witness herein, having been first duly
    3 Golkow Litigation Services.                                   3   sworn, was examined and testified as follows:
    4         Today's date is January 23, 2019, and                 4                 EXAMINATION
    5 the time is 9:16 a.m.                                         5   BY MR. MOUGEY:
    6         This video deposition is being held in                6       Q. Good morning, Ms. Polster. My name is
    7 Chicago, Illinois, in the matter of the National              7   Peter Mougey. I am with Levin Papantonio on behalf
    8 Prescription Opiate Litigation, MDL No. 2804,                 8   of the Plaintiffs.
    9 pending in the U.S. District Court, Northern                  9          I hand you what we'll mark as Polster 1.
   10 District of Ohio, Eastern Division.                          10             (WHEREUPON, a certain document was
   11         The deponent is Tasha Polster.                       11              marked as Walgreens-Polster Exhibit
   12         Will counsel please identify themselves              12              No. 1: 11/13/17 e-mail string with
   13 for the record.                                              13              attachments; WAGMDL00064176 -
   14     MR. MOUGEY: Peter Mougey, Levin Papantonio,              14              00064185.)
   15 for the Plaintiffs.                                          15   BY MR. MOUGEY:
   16     MS. GARLOCK: Alexandra Garlock for the                   16       Q. Before we turn to Polster 1, you have
   17 Plaintiffs.                                                  17   been employed by Walgreens since the beginning of
   18     MS. SCHNEEGAS: Karolynn Schneegas for the                18   1982, correct?
   19 Plaintiffs.                                                  19       A. End of 1982, yes.
   20     MS. SCHUCHARDT: Margaret Schuchardt, Jaszczuk            20       Q. When you were still an undergrad, you
   21   PC, for AmerisourceBergen Drug Corporation.                21   started working at Walgreens as a cashier and
   22     MS. FIX MEYER: Julie Fix Meyer, Armstrong                22   various different roles while you were still
   23   Teasdale, for Cardinal Health.                             23   pursuing your academic degree, correct?
   24     MR. COOPER: Kyle Cooper on behalf of McKesson            24       A. I was in high school.

                                                      Page 11                                                           Page 13
    1   Corporation.                                                1      Q. And you continued and have continued
    2      MS. LIABO: Miriam Liabo from Jones Day on                2   working for Walgreens in various capacities all the
    3   behalf of Walmart.                                          3   way up to the present time, correct?
    4      MR. STOFFELMAYR: Kaspar Stoffelmayr for                  4      A. Correct.
    5   Walgreens.                                                  5      Q. So, from 1982 to today, approximately 36
    6      MR. HOUTZ: Les Houtz from Bartlit Beck for               6   years, you've been employed by Walgreens in various
    7   Walgreens.                                                  7   roles, correct?
    8      THE VIDEOGRAPHER: Counsel on the phone, if               8      A. Yes.
    9   you will announce yourselves for the record,                9      Q. And your undergraduate degree was a B.S.
   10   please.                                                    10   in pharmacy, correct?
   11      MS. LEWIS: Good morning. This is Sarah Lewis            11      A. Correct.
   12   from Hahn Loeser & Parks on behalf of Mallinckrodt.        12      Q. And you finished your degree in I
   13      MR. WATTS: This is Ryan Watts from Arnold &             13   believe it was 1986 -- 1989, correct?
   14   Porter on behalf of Endo Health Solutions, Inc.,           14      A. Yes.
   15   Endo Pharmaceuticals, Inc., Par Pharmaceutical,            15      Q. UC-Boulder?
   16   Inc. and Par Pharmaceutical Company, Inc.                  16      A. Yes.
   17      MS. FOX: Savannah Fox from Tucker Ellis on              17      Q. And then you pursued a number of
   18   behalf of Janssen and Johnson & Johnson.                   18   positions within Walgreens using your academic
   19      THE VIDEOGRAPHER: Thank you. Our Court                  19   background primarily in roles related around the
   20   Reporter today is Corinne Marut. Will you please           20   pharmacy, correct?
   21   swear in the witness.                                      21      A. Yes.
   22             (WHEREUPON, the witness was duly                 22      Q. And what I've handed in front of you,
   23              sworn.)                                         23   you should have in front of you is Polster 1, I
   24                                                              24   believe, is one example of a resume or CV, a

  Golkow Litigation Services                                                                     Page 4 (10 - 13)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-7 Filed:
                                          to 12/19/19
                                              Further5 Confidentiality
                                                       of 98. PageID #: 470024
                                                                            Review
                                                         Page 14                                                        Page 16
    1   document elaborating on your background.                    1   pages here.
    2           Do you recognize that document?                     2           Would you agree with me generally that
    3       A. Yes.                                                 3   your background after your degree up and to
    4       Q. Did you put -- are you familiar with the             4   Pharmaceutical Integrity was driven by both
    5   contents?                                                   5   in-store pharmacy operations and then growing into
    6       A. Yes.                                                 6   more of an operational role where you took the
    7       Q. You put this together?                               7   director of pharmacy operations optimization in
    8       A. Yes.                                                 8   2007? Is that a fair description generally of your
    9       Q. And is this an accurate reflection of                9   background?
   10   the -- of your resume or CV?                               10      A. Yes.
   11       A. Yes, it is.                                         11      Q. So, if we go through a little more
   12       Q. And today what we are primarily here to             12   detail, starting -- and you have a block at the
   13   talk about is Walgreens in its capacity as a               13   bottom of the page, '82 to '97, you worked your way
   14   distributor and the -- what I believe on your              14   up from high school through college into a cashier,
   15   resume encompasses that time period is on the first        15   a pharmacy intern, a staff pharmacist and then a
   16   page, Bates No. -- bottom right corner. I am going         16   pharmacy manager, correct?
   17   to refer to the last three digits. The full number         17      A. Yes.
   18   is WAGMDL64180. It's page 3 of the document. Are           18      Q. That gets us all the way to 1997,
   19   you with me?                                               19   correct?
   20       A. Yes.                                                20      A. Yes.
   21       Q. And Walgreens Company at the bottom,                21      Q. And in 1997 you became a pharmacy
   22   "Deerfield, Illinois, Senior Director,                     22   supervisor here in Chicago, Illinois, correct?
   23   Pharmaceutical Integrity and Third Party                   23      A. No. That's not correct. I opened the
   24   Operations, 2012 to 2014," correct?                        24   Kansas City market, and then eventually moved to

                                                       Page 15                                                        Page 17
    1       A. Yes.                                                 1   Chicago a few years after that.
    2       Q. And this is the period of time that you              2       Q. The third bullet in that entry is
    3   were selected to run a new department ultimately            3   "Opened the Kansas City market (also supervised
    4   titled Pharmaceutical Integrity, correct?                   4   stores" -- "existing stores in Wichita)"?
    5       A. Correct.                                             5       A. Yes.
    6       Q. And you along with other individuals at              6       Q. And then ultimately moved back up to
    7   Walgreens built that department from the ground up,         7   Chicago as a pharmacy supervisor, correct?
    8   correct?                                                    8       A. Correct.
    9       A. Yes.                                                 9       Q. And, now, the next entry was pharmacy --
   10       Q. Meaning you were named or identified                10   manager, pharmacy operating systems. Would you
   11   first to run the department and you developed,             11   just explain to me in general what you mean by
   12   first, kind of a mission, correct?                         12   "operating systems."
   13       A. Yes.                                                13       A. Sure. It were -- it was systems that
   14       Q. And then an organizational structure                14   pharmacists used that were outside of the
   15   with support in order for you to achieve the               15   dispensing operating system. So, how they logged
   16   mission that was identified, correct?                      16   payroll was a big part of it and store scheduling,
   17       A. Yes.                                                17   how the markets would schedule pharmacists to fill
   18       Q. And then you went through a series of               18   shifts in their stores; and then there was a lot of
   19   interviews of others, predominantly also within            19   disaster relief efforts that happened at the time
   20   Walgreens, to help fill out that organizational            20   because Hurricane Katrina was going on.
   21   structure, correct?                                        21       Q. So, anything inside the store, kind of
   22       A. Yes.                                                22   day-to-day management of the store from inventory
   23       Q. Now, your experience prior to                       23   to scheduling to ensure the smooth operations
   24   Pharmaceutical Integrity, it's got a couple single         24   within one of the physical locations?

  Golkow Litigation Services                                                                     Page 5 (14 - 17)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-7 Filed:
                                          to 12/19/19
                                              Further6 Confidentiality
                                                       of 98. PageID #: 470025
                                                                            Review
                                                   Page 18                                                        Page 20
    1      A. Not inventory per se. Basically if it            1   different than the rest of your resume.
    2   didn't -- if it didn't have to do with the             2       A. Sure.
    3   prescription operating system, it usually fell on      3       Q. Explain to me a little more about what
    4   to my team, to me and my team.                         4   that entailed.
    5           So, scheduling and how we pay                  5       A. So, we have what we call workflow back
    6   pharmacists, making sure that the payroll was sent     6   in our pharmacy departments where we look to make
    7   over to the department that, you know, paid out the    7   sure that the equipment is lined up in a way that
    8   pharmacists and making sure we didn't underpay or      8   makes sense for the pharmacy staff to make it the
    9   overpay pharmacists.                                   9   most efficient so people aren't tripping all over
   10      Q. Okay. The next position covers almost           10   each other or, you know, the flow of the patients
   11   an entire page, Walgreens Company, director,          11   to the cash register makes sense. We'll make sure
   12   pharmacy operations optimization. I'm assuming        12   that we have the proper number of computers per
   13   that was a promotion?                                 13   employees that are back there.
   14      A. Yes.                                            14           So, my team would work on ensuring that
   15      Q. And essentially what you did in your            15   if we had a new store that the equipment was placed
   16   previous role as an operating systems manager but     16   appropriately, that if the volume of the store
   17   you had ascended to more of a managerial role         17   started to increase, we would add additional work
   18   overseeing a number of stores?                        18   stations or phones so the employees could do their
   19      A. Overseeing a team that helped develop           19   job as efficiently as possible.
   20   programs and for all the stores in the nation.        20       Q. That process was designed or
   21      Q. And those programs included training on         21   operating -- let me do that another way.
   22   "oversight of processes, procedures, implementing     22           That process was designed to identify
   23   organization of strategic initiatives for all         23   the most efficient layout for the Walgreens stores
   24   retail pharmacies, translated major strategic and     24   for customer workflow and for employees to be able

                                                   Page 19                                                         Page 21
    1   retail pharmacy operational initiatives into           1   to undergo their jobs in the most efficient manner
    2   deployable and early adoption models based upon        2   possible?
    3   assessments of training needs."                        3       A. Yes.
    4           I read that from your resume. Did I get        4       Q. And is that something you had a
    5   that right?                                            5   background or training in prior to taking on that
    6       A. Yeah, that's correct. I had -- of all           6   role?
    7   the programs and procedures or policies that we        7       A. No, other than experience in the stores
    8   would put in place were policies that were new, of     8   previously.
    9   newly developed programs.                              9       Q. And the next paragraph, "Led the
   10       Q. So, A, communicating and, B, rolling out       10   development and deployment of training, new and
   11   initiatives from corporate to the stores across the   11   recurrent, for pharmacists and pharmacy technicians
   12   country?                                              12   based upon operational changes, pharmacy
   13       A. Correct.                                       13   acquisitions and regulatory requirements."
   14       Q. And the second paragraph underneath that       14          Would you explain to me in a little more
   15   description was also your "insight into pharmacy      15   detail what you mean in that first sentence of the
   16   remodels, designs and layout to ensure targeted       16   third paragraph on Bates No. 80.
   17   fiscal and operational objectives, directed the       17       A. Yes. So, if we rolled out a new program
   18   creation of metrics for retail pharmacy operations    18   that required training, my team would put it
   19   and assess/measure performance to identify            19   together. We would put forth communications and
   20   performance trends." Correct?                         20   training out to the stores.
   21       A. Yes.                                           21          In terms of recurrent, if something
   22       Q. Walk me through, just briefly, the             22   changed in the state from a regulatory nature and
   23   pharmacy remodels, designs and layouts. That kind     23   we needed to update a policy or a training, that
   24   of caught my eye. Something to me I thought was       24   would go through my team; and then we would update

  Golkow Litigation Services                                                                Page 6 (18 - 21)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-7 Filed:
                                          to 12/19/19
                                              Further7 Confidentiality
                                                       of 98. PageID #: 470026
                                                                            Review
                                                         Page 22                                                        Page 24
    1   it to the new regulation, and we would send it out          1   posted on the -- on our website that they were
    2   to the stores.                                              2   posting a leader for this particular team, and I
    3       Q. What I saw is a theme looking through                3   applied for it.
    4   your resume, in addition to your background as a            4       Q. Is that how you identified new
    5   pharmacist and your BS in pharmacy from Colorado,           5   opportunities through your career at Walgreens that
    6   was that you appeared to be involved in rolling out         6   you would somewhat monitor whatever new positions
    7   initiatives starting in a more of a store and then          7   were available?
    8   district and then national level. Is that an                8       A. Sometimes. You know, I had been in my
    9   accurate statement?                                         9   current role for a long time. So, when I heard
   10       A. Yes.                                                10   that there was an opportunity to do something
   11       Q. And that obviously you have a strong                11   different, I applied for the role.
   12   skill set in communication, team building and              12       Q. And who called for the cross-functional
   13   organizational skills enough to kind of get a              13   meeting?
   14   company like Walgreens with several thousand stores        14       A. I don't remember.
   15   moving in the same direction at the same time. Is          15       Q. Do you remember who set it up?
   16   that a fair assessment?                                    16       A. No.
   17       A. Yes.                                                17       Q. And do you recall who attended?
   18       Q. So, your skill set, twofold, and I'm                18       A. I recall some of the people who
   19   sure you have more than two, but if we are going to        19   attended.
   20   put them in two buckets, one was that kind of              20       Q. Okay.
   21   technical pharmaceutical background with your              21       A. You know, Rex Swords was there. There
   22   degree from Colorado and then, secondly, operations        22   was another leader at the time who is no longer
   23   communications side where you were highly                  23   with Walgreens. Her name was Suzanne. There were
   24   organized, communicated well and helped roll out           24   some loss prevention people. Ed Svihra is one of

                                                       Page 23                                                        Page 25
    1   and get momentum for initiatives that were coming           1   them, and he is no longer with Walgreens. I can't
    2   out of corporate.                                           2   remember everybody that was there.
    3           Are those two kind of general                       3      Q. Now, which -- do you remember anyone
    4   categories?                                                 4   else other than Rex, Suzanne and Ed Svihra?
    5       A. Yes.                                                 5      A. Not -- no.
    6       Q. Now, I didn't see anything in your                   6      Q. Do you remember Suzanne's last name?
    7   resume that you were heavily involved in, for               7      A. Hansen.
    8   example, compliance with any regulatory functions           8      Q. And do you remember which department she
    9   at the -- at Walgreens. Is that fair?                       9   was in?
   10       A. Fair.                                               10      A. She led the pharmacy department at the
   11       Q. All right. And meaning you weren't at               11   time.
   12   any point in time doing the deep dive on Walgreens'        12      Q. I'm sorry. I am drawing a blank in
   13   processes and procedures to ensure they were               13   which department Rex was in.
   14   compliant with federal or state law. Is that fair?         14      A. The same one.
   15       A. Yes.                                                15      Q. Pharmacy?
   16       Q. All right. So, you were -- who asked                16      A. Yeah, he reported in to Suzanne at the
   17   you in 2012 would you consider becoming a part of          17   time.
   18   the Pharmaceutical Integrity Department?                   18      Q. Okay. Now, did you know Rex or Suzanne
   19       A. In 2012 there was a group of people that            19   prior to this meeting?
   20   was cross-functional that was asked to come to a           20      A. Yes, I did.
   21   meeting and we all went to the meeting, started            21      Q. And did you know him well?
   22   rolling up our sleeves to do some work.                    22      A. I -- all three of us had been with
   23           And then as the time progressed, a --              23   Walgreens for a very long time and although I
   24   this was very late 2012 -- a job opportunity was           24   didn't work directly for them, we all crossed paths

  Golkow Litigation Services                                                                    Page 7 (22 - 25)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-7 Filed:
                                          to 12/19/19
                                              Further8 Confidentiality
                                                       of 98. PageID #: 470027
                                                                            Review
                                                       Page 26                                                       Page 28
    1   because we were all in the same department.                 1      Q. For example, if there was a theft or if
    2      Q. I am still struggling with Walgreens'                 2   there was some issue that brought loss prevention
    3   organizational structure. So, if you could help me          3   into the store, an investigation, that would be
    4   just a little bit understand.                               4   examples of when you would deal with loss
    5           Which department would you have                     5   prevention?
    6   considered yourself in up until 2012 when you               6      A. Yes.
    7   became the senior director for Pharmaceutical               7      Q. Any other examples that you would?
    8   Integrity?                                                  8      A. No.
    9      A. I was in the pharmacy department, but                 9      Q. Now, do you have an understanding of
   10   there were many direct reports. So, direct reports         10   just generally how loss prevention is set up, like
   11   of Suzanne. So, Rex was a direct report of                 11   organizationally?
   12   Suzanne. My boss at the time was a direct report           12      MR. HOUTZ: What time period?
   13   of Suzanne. She led the department. And then               13      MR. MOUGEY: Doesn't matter.
   14   there were a lot of vice presidents, and then I was        14   BY THE WITNESS:
   15   under a vice president.                                    15      A. Well, I know they're, you know, set up
   16      Q. Before Pharmaceutical Integrity, who                 16   just like the pharmacy department is set up, right,
   17   were you -- who was your direct report? Who did            17   where you've got a group vice president, vice
   18   you report to?                                             18   presidents and then directors, managers, field
   19      A. Rick Gates.                                          19   folks that are on the ground, you know, at the
   20      Q. If you had to give me a 30,000-foot view             20   local level.
   21   of what you believe that the pharmacy department           21   BY MR. MOUGEY:
   22   did at Walgreens, can you do that?                         22      Q. Do that one more time. You said group
   23      A. Sure. Basically anything that touches                23   vice presidents?
   24   the pharmacy in terms of customer service,                 24      A. Yeah, a group vice president and then
                                                         Page 27                                                      Page 29
    1   sometimes, you know, ensuring that the field has            1   the vice president. Then there will be directors.
    2   access to policies and procedures. They have                2      Q. Okay.
    3   access to training. They have support needed from           3      A. And managers down to field level folks.
    4   a workflow perspective, from an IT perspective.             4      Q. Do you have an understanding of how many
    5           We're kind of the liaison for the field,            5   different groups there were? You say group vice
    6   whether it's store level or leadership in the               6   president.
    7   region or division to help troubleshoot anything            7      A. Well, there is one group vice president
    8   that the stores are needing.                                8   that oversees the entire division of loss
    9       Q. Now, are you familiar with loss                      9   prevention, and then I don't know how many
   10   prevention, the group within Walgreens?                    10   managers -- or vice presidents they would have or
   11       A. Yes.                                                11   directors.
   12       Q. And have you worked through the years               12           And then at a local level, depending on
   13   kind of closely with loss prevention?                      13   how many stores are in that area, you'll have, you
   14       A. It depended on my job at the time. I                14   know, the number of field base folks to help
   15   worked closer with them when I was in the field            15   support the number of stores that are there.
   16   because if I had a loss prevention issue, I would          16      Q. So, the group vice president meant that
   17   work with my loss prevention manager to help solve         17   that was the loss prevention, the group, that was
   18   it. When I came to my role between '07 and '12, we         18   who ran loss prevention, so to speak?
   19   rarely crossed paths.                                      19      A. Correct.
   20       Q. Prior to '07 when you were more at the              20      Q. Do you have an understanding of what
   21   store level, not higher up in the organizational           21   their, if I use the word mission or charge, what
   22   structure, but more store level, you worked on             22   their scope of responsibility was?
   23   issues as they arose with loss prevention?                 23      A. No.
   24       A. Correct.                                            24      Q. When you were in the field, so prior to

  Golkow Litigation Services                                                                    Page 8 (26 - 29)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       3027-7 Filed:
                                          to 12/19/19
                                              Further9 Confidentiality
                                                       of 98. PageID #: 470028
                                                                            Review
                                                         Page 30                                                        Page 32
    1   '07 when you ran kind of -- came into contact with          1   that it had happened and then figure out what the
    2   loss prevention, it was in the context of thefts in         2   next steps were.
    3   the stores or some issue with shrinkage or                  3       Q. I'm sorry if I already asked you this,
    4   something along those lines?                                4   but do you recall who led that meeting?
    5       A. Yes, or injury, you know, if a patient               5       A. I don't.
    6   fell in a store, loss prevention would be notified          6       Q. All right. And, so, next steps. Was
    7   as well as, you know, the local leadership.                 7   the group able to ascertain kind of action items or
    8       Q. And you were dealing up until '07, when              8   follow-up items at the conclusion of the meeting?
    9   you were still in the field, you were dealing               9       A. Well, there were a lot of meetings.
   10   predominantly with more of the director, manager,          10       Q. Okay.
   11   field level?                                               11       A. But, you know, we did come away with
   12       A. Ask the question again, please.                     12   next steps that each of us -- each of us had to do.
   13       Q. When you were -- when you were still in             13   But, boy, I couldn't tell you every one of them.
   14   the field, up until manager of pharmacy operating          14       Q. All right. How many meetings do you
   15   systems, '03-'07, you said that you still had some         15   think there were?
   16   contact with loss prevention. Am I getting that            16       A. Oh, my goodness. A lot.
   17   right or did I mix up my timeline?                         17       Q. A few a week?
   18       A. Before -- before '03, when I was in the             18       A. Yes.
   19   pharmacy supervisor role, the interaction that I           19       Q. And it was -- there was a sense of
   20   had with our loss prevention was if there was a            20   urgency after the Order to Show Cause was received?
   21   theft or a loss at a store, if there was a robbery         21       A. Yes.
   22   at a store or an injury at a store.                        22       Q. And that was -- that Order to Show
   23       Q. All right. So, let's go back to the                 23   Cause, I think you're referring to, the
   24   cross-functional meeting. And how many people do           24   distribution center was the Jupiter distribution

                                                       Page 31                                                        Page 33
    1   you recall being at that meeting? Even if you               1   center in Florida, correct?
    2   don't remember everyone's names, just estimate.             2      A. Yes.
    3       A. The room was about this size, and I                  3      Q. And were the meetings in the Walgreens
    4   would say it was about this same number of people.          4   corporate office in Deerfield?
    5   So, maybe eight to ten maybe.                               5      A. Yes.
    6       Q. Okay. And do you remember generally                  6      Q. And roughly, I'm sure the same people
    7   what the purpose of the meeting was?                        7   weren't at every meeting, but roughly the same
    8       MR. HOUTZ: Object on foundation.                        8   group of people or did it change over time?
    9   BY THE WITNESS:                                             9      A. It changed over time.
   10       A. We had received the Order to Show Cause             10      Q. And do you recall who else was added to
   11   at one of the distribution centers, and it was             11   that group other than the list you gave me?
   12   based on that.                                             12      A. Well, there were people added. My team
   13   BY MR. MOUGEY:                                             13   was added as I started hiring people in. You know,
   14       Q. Would you say it was reactive in                    14   operation folks were brought in to help us with the
   15   response to the Order to Show Cause?                       15   communication down to field level.
   16       MR. HOUTZ: Object to form.                             16      Q. Now, when you say "my team was added,"
   17   BY THE WITNESS:                                            17   are you referring to Pharmaceutical Integrity?
   18       A. I don't know about "reactive," but that             18      A. Yes.
   19   was the premise of the meeting.                            19      Q. So, when I asked you earlier about what
   20   BY MR. MOUGEY:                                             20   some of the take-aways were, I'm assuming that
   21       Q. Okay. And you say it was the premise of             21   early in this process there was a decision to form
   22   the meeting. Was it just tell everyone that we             22   a group?
   23   received an Order to Show Cause?                           23      MR. HOUTZ: Object to form.
   24       A. And it was to let the working team know             24   BY MR. MOUGEY:

  Golkow Litigation Services                                                                     Page 9 (30 - 33)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further10Confidentiality
                                                       of 98. PageID #: 470029
                                                                           Review
                                                     Page 34                                                         Page 36
    1       Q. Probably wasn't named Pharmaceutical               1      A. Sure.
    2   Integrity at that point in time, but that was going       2      Q. Maybe help refresh your memory. You
    3   to oversee the suspicious order monitoring process,       3   referenced the Order to Show Cause received from
    4   is that fair?                                             4   the DEA to the Jupiter distribution center,
    5       MR. HOUTZ: Object to form.                            5   correct?
    6   BY THE WITNESS:                                           6      A. Yes.
    7       A. Not oversee suspicious order monitoring            7      Q. And it wasn't -- it wasn't just an Order
    8   per se, but to have an all-encompassing team and a        8   to Show Cause. The DEA also issued an immediate
    9   single point of contact during that time frame.           9   suspension of Walgreens distribution license at the
   10   BY MR. MOUGEY:                                           10   Jupiter center, correct?
   11       Q. All right. Tell me what you mean by               11      A. I don't know.
   12   "all-encompassing team." All-encompassing what?          12      Q. You don't know. Do you recall that the
   13       A. So, my team for Pharmaceutical Integrity          13   date that the Order to Show Cause and Immediate
   14   does a lot more than controlled substance order          14   Suspension of Registration was September 13, 2012?
   15   monitoring. We are the single point of contact for       15      A. Because you told me it. I didn't recall
   16   the DEA. We pull data for subpoenas. We are a            16   they are the same date.
   17   resource for the field for DEA audits. Law               17      Q. You said late 2012, you're comfortable
   18   enforcement sometimes will contact us to get             18   that you recall it was later 2012?
   19   prescription data for a certain store. We manage         19      A. Yes.
   20   the controlled substance inventory counts that           20      Q. And you recall that the meeting, the
   21   happen annually.                                         21   cross-function meeting, was set as a result of the
   22           I know I'm not going to list off                 22   Order to Show Cause?
   23   everything my team does.                                 23      A. Yes.
   24       Q. That's okay. I believe one of the first           24      Q. And it was here's what the Order to Show

                                                       Page 35                                                      Page 37
    1   things that you said was in addition to the               1   Cause elaborates. Here's what it relays. How are
    2   suspicious order monitoring, and then you gave me         2   we going to deal with this on a business front
    3   these laundry list.                                       3   internally at Walgreens. Correct?
    4          Can you explain a little bit more what             4       A. Yes.
    5   you meant by suspicious order monitoring?                 5       Q. So, are you comfortable that the Order
    6      A. Controlled substance order monitoring.              6   to Show Cause also suspended Jupiter's ability to
    7   We ensure that the -- a number of tablets that go         7   distribute controlled substances, Schedule II and
    8   into any one location, there is a very                    8   III, out of that Jupiter distribution center?
    9   sophisticated algorithm that was built about the          9       MR. HOUTZ: Object on foundation.
   10   time that the Pharmaceutical Integrity team was          10   BY THE WITNESS:
   11   started. I mean, I think we had it long before           11       A. Yes.
   12   that but when I came in, we were making changes and      12   BY MR. MOUGEY:
   13   adjustments to it.                                       13       Q. And that, as a result, there had to be
   14          It's based on a linear regression line            14   some contingency plans about how Walgreens
   15   where that store is compared to stores of like size      15   pharmacies would receive controlled substances II
   16   and volume. We called them peer groups. And we --        16   and III to the pharmacies, correct?
   17   my team will ensure that no one NDC number will go       17       A. Yes.
   18   outside of the volume that the store is calculated       18       Q. And were you aware that the DEA actually
   19   out to need without proper documentation.                19   locked the cage in the Jupiter distribution center
   20      Q. We just skipped some -- I think a bunch            20   so Walgreens staff couldn't access the controlled
   21   of steps. Let me go back. We were starting at the        21   substances?
   22   kind of the cross-function meeting and we all of a       22       A. No.
   23   sudden went to a group and what your goals were.         23       Q. So, there was a -- different pieces of
   24   Let me take a few steps in between.                      24   this meeting to cover the ramifications of the

   Golkow Litigation Services                                                               Page 10 (34 - 37)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further11Confidentiality
                                                       of 98. PageID #: 470030
                                                                           Review
                                                      Page 38                                                         Page 40
    1   Order to Show Cause and immediate suspension from        1       A. Yes.
    2   the DEA?                                                 2       Q. And then page 1 of 349. Do you see
    3      MR. HOUTZ: Object on form.                            3   that?
    4   BY THE WITNESS:                                          4       A. Oh, yes.
    5      A. Sorry. Can you ask that again.                     5       Q. All right. What I have done is
    6      MR. MOUGEY: What's your objection, Les?               6   sequenced all of these pages together so when you
    7      MR. HOUTZ: I'm not seeing your exact                  7   and I reference it, it's easier to follow rather
    8   language, so I can't quote it.                           8   than in pieces. Okay?
    9      MS. SCHUCHARDT: Is everybody else paused?             9       A. Okay.
   10      MR. HOUTZ: The transcript is paused.                 10       Q. I'm going to use that number.
   11      MR. MOUGEY: We'll come back to it.                   11       A. The bottom number?
   12      MR. HOUTZ: But I think it's something about          12       Q. Yes, ma'am.
   13   different pieces of the meeting. I just -- I            13       A. Okay.
   14   thought the question was vague.                         14       Q. Just for everyone on the phone, it's
   15             (Clarification by the reporter.)              15   Bates No. WAGMDL490963.
   16   BY MR. MOUGEY:                                          16          So, what I'd like to do, Ms. Polster, is
   17      Q. My question was -- I'm sorry.                     17   to take your attention to Exhibit B that's
   18      MR. HOUTZ: Peter, I will say you have been           18   referenced on paragraph 5 of this Settlement and
   19   using the term "meeting" and "meetings," and it's       19   Memorandum of Agreement. All right? So you are on
   20   not clear to me how many meetings you're talking        20   page 28 of 349.
   21   about sometimes, if you're talking about the first      21          And I know this isn't necessarily a date
   22   meeting or a series of meetings.                        22   test. So, I wanted to put this document in front
   23             (WHEREUPON, a certain document was            23   of you so you could see the exact title of the
   24              marked as Walgreens-Polster Exhibit          24   document.

                                                      Page 39                                                      Page 41
    1               No. 2: Binder of Documents,                  1      A. Okay.
    2               "Settlement and Memorandum of                2      Q. And the date.
    3               Agreement," et al.; first page is            3      A. Yep.
    4               WAGMDL00490963.)                             4      Q. I want to make sure when you're
    5   BY MR. MOUGEY:                                           5   referencing an Order to Show Cause and what I think
    6       Q. Ms. Polster, what I have just put in              6   you're talking about is the same thing.
    7   front of you is Polster 2. On the very first             7      A. Yes.
    8   page it's Settlement and Memorandum of Agreement.        8      Q. So, again, the date in the upper
    9            Do you see that?                                9   right-hand corner September 13, 2012.
   10       A. Yes.                                             10          Do you see that?
   11       MR. MOUGEY: And it's -- you guys ready now?         11      A. Yes.
   12   P-WAG-0001.                                             12      Q. And the -- this document is printed on
   13   BY MR. MOUGEY:                                          13   U.S. Department of Justice, Drug Enforcement
   14       Q. What I'd like to direct your attention           14   Letterhead letterhead.
   15   to is paragraph 5 on this first page.                   15          Do you see that at the upper right-hand
   16            "On September 13, 2012, the DEA by its         16   corner?
   17   administrator, Michele M. Leonhart, issued an Order     17      A. Yes.
   18   to Show Cause and Immediate Suspension of               18      Q. And it's addressed to Walgreens and
   19   Registration to Walgreens Jupiter." And do you see      19   Jupiter, Florida.
   20   it's referenced as Exhibit B?                           20          Do you see that?
   21       A. Yes.                                             21      A. Yes.
   22       Q. And to make this a little easier, do you         22      Q. Then the title is Order to Show Cause,
   23   see how there is two sets of page numbers, page 1       23   which is what you referenced earlier, and I want to
   24   of 13?                                                  24   bring your attention in to the following language

   Golkow Litigation Services                                                               Page 11 (38 - 41)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further12Confidentiality
                                                       of 98. PageID #: 470031
                                                                           Review
                                                      Page 42                                                      Page 44
    1   which is "and the Immediate Suspension of                1   meeting?
    2   Registration."                                           2       A. No.
    3       A. Okay.                                             3       Q. Were you ever given the document that I
    4       Q. So, when you referenced earlier that              4   have in front of you to show what some of the scope
    5   there was an Order to Show Cause in late 2012 that       5   of the issues as perceived by the DEA?
    6   was the catalyst for the first cross-function            6       A. Yes. Later in -- after I became the
    7   meeting, do you have an understanding that this is       7   leader of the Pharmacy Integrity team, I got the
    8   the Order to Show Cause that you were referencing?       8   document.
    9       A. Yes.                                              9       Q. And so that was -- do you have a
   10       Q. And let's just spend just a couple               10   recollection of when you became the leader?
   11   minutes generally going through this document.          11       A. It was the end of 2012.
   12           The second paragraph that begins with,          12       Q. Okay. So, from around September of 2012
   13   "Notice," you see that the DEA, through the             13   towards the end of 2012, you continued as part of
   14   Department of Justice is, "Notice was being given       14   this cross-function meeting or team to address the
   15   to inform Walgreens Corporation of the immediate        15   issues raised in Exhibit Polster 2 but more
   16   suspension of Drug Enforcement Administration           16   specifically Exhibit B, the Order to Show Cause and
   17   Certificate of Registration," gives the number, and     17   Immediate Suspension of Walgreens' distributor
   18   then cites to a United States code, "before such        18   license, correct?
   19   registration constitutes an imminent danger to the      19       A. Yes.
   20   public health and safety."                              20       Q. All right. And if you turn your
   21           Do you see that?                                21   attention to page 30 of 349, do you see the top
   22       A. I see that.                                      22   stores, 1 through 6 at the top?
   23       Q. If you continue down that paragraph on           23       A. Yes.
   24   the fifth line from the bottom, the Department of       24       Q. And that Walgreens oxycodone dispensing

                                                     Page 43                                                      Page 45
    1   Justice cites that "Walgreens' continued                 1   from 2009 to 2011. Do you see where it has the
    2   registration is inconsistent with the public             2   table at the top?
    3   interest."                                               3      A. Yes.
    4           Do you see that?                                 4      Q. And you see from 2009 to 2011 there are
    5      A. Sorry. No, I don't -- oh, yeah, sorry.             5   dramatic increases in the number of oxycodones
    6   Yeah.                                                    6   dispensed through these pharmacies, correct?
    7      Q. Okay. Now, if you look over both                   7      A. There are increases, but I wouldn't call
    8   page 28 and 29 of this document, the DEA walks           8   them dramatic.
    9   Walgreens through the opiate epidemic and                9      Q. Okay. I was hoping to skip that step,
   10   Walgreens' participation through its distributors       10   but let's go ahead and go through them. Okay.
   11   store in Jupiter, correct?                              11           So, the Hudson store, No. 1, is 388,000
   12      MR. HOUTZ: Object to form.                           12   people.
   13   BY MR. MOUGEY:                                          13           Do you see that? I'm sorry.
   14      Q. I used the word "store." Let me redo              14           388,000 oxycodone dosage units?
   15   that.                                                   15      A. Yes.
   16           This page 28 and 29, the DEA walks              16      Q. And by 2011, that number had increased
   17   Walgreens through some of the general issues            17   approximately 600% to 2.2 million dosage units of
   18   related to the Jupiter distribution center?             18   oxycodone, correct?
   19      MR. HOUTZ: Object to form.                           19      A. Yes. The number increased.
   20   BY THE WITNESS:                                         20      Q. Not just increased by a marginal amount
   21      A. Yes.                                              21   but over 600%, correct?
   22   BY MR. MOUGEY:                                          22      A. The number increased. There was a lot
   23      Q. Now, were you given this document at any          23   of changes in the industry between '09 and '11.
   24   time in that first meeting, the cross-functional        24      Q. And I understand. That really wasn't

   Golkow Litigation Services                                                              Page 12 (42 - 45)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further13Confidentiality
                                                       of 98. PageID #: 470032
                                                                           Review
                                                  Page 46                                                    Page 48
    1   the question I asked you.                             1      Q. And 80,000 pills to Oviedo, Florida of
    2           So, the question I asked you is that the      2   oxycodone, population 34,000 people, climbs to
    3   number of dosage units of oxycodone from 2009,        3   1.684 million into 2011. Correct?
    4   388,000, increased over 600% by 2011, correct?        4      A. Yes.
    5       A. Yes, increased to 2.2 million.                 5      MR. HOUTZ: Object to form again.
    6       Q. And the second, No. 2, the second in           6   BY MR. MOUGEY:
    7   Fort Myers -- well, before we leave Hudson, do        7      Q. And, again, over a 2,000% increase,
    8   you -- do you have an understanding of how many       8   correct?
    9   folks live in Hudson, Florida?                        9      A. Yes.
   10       A. No, I do not.                                 10      Q. And No. 4, Port Richey, 344,000 dosage
   11       Q. Would it surprise you that 15,000 people      11   units of oxycodone with a population of 5,000
   12   live in Hudson, Florida?                             12   people to 1.4 million --
   13       A. I don't know Florida well enough to know      13      MR. HOUTZ: Object.
   14   if I'm surprised or not.                             14   BY MR. MOUGEY:
   15       Q. It with -- and Oxy is just one type of        15      Q. -- pills in 2011, correct?
   16   Schedule II, correct?                                16      MR. HOUTZ: Object; form.
   17       A. Correct.                                      17   BY THE WITNESS:
   18       Q. There are many different kinds. So,           18      A. Yes.
   19   we're just looking at one type of Schedule II        19   BY MR. MOUGEY:
   20   OxyContin, correct?                                  20      Q. And Fort Pierce, Florida, 153,000
   21       A. We're looking just at oxycodone, but I        21   people, moves to 1.192 million dosage units of
   22   don't know what constituted those numbers, if it     22   oxycodone, correct?
   23   was one NDC number or multiple. But, yes, this       23      MR. HOUTZ: Object to form.
   24   says, "Oxycodone purchases."                         24   BY MR. MOUGEY:
                                                  Page 47                                                    Page 49
    1      Q. Let's assume it was the same drug code.         1      Q.    And I said people for 153, didn't I?
    2      A. Okay.                                           2           153,000 dosage units of oxycodone in
    3      Q. 9143 for oxycodone, correct?                    3   2009 in Fort Pierce and by the end of 2011 has
    4      A. I don't know what 9143 is.                      4   moved to 1.192 million.
    5      Q. Is the drug code or the base code for           5           Do you see that?
    6   oxycodone?                                            6      A. Yes.
    7      A. I wouldn't know that off the top of my          7      Q. So, you'd agree with me that those are
    8   head.                                                 8   significant increases in dosage units out of
    9      Q. You wouldn't know that. Okay. Shows             9   Walgreens pharmacies in Florida, correct?
   10   you how much reading I have been doing, then, that   10      A. I would agree that they're increases.
   11   I would know what the drug code is for oxycodone.    11   I'm not sure that I would agree with the word
   12          Let's do the second store, Fort Myers,        12   "significant."
   13   95,000 dosage units of oxycodone. Okay?              13      Q. Okay. So, those -- the 2,000% increase
   14      A. Yes.                                           14   in oxycodone over the course of two years
   15      Q. And that's a town of about 64,000              15   increases, you don't think that's significant?
   16   people. And from the end of 2009 to the end of       16      A. I do not think that they are significant
   17   2011, those dosage units went to 2.1 million.        17   because of the changes that happened in the
   18          Do you see that?                              18   industry during that time.
   19      A. Yes.                                           19      Q. What would you consider significant if
   20      MR. HOUTZ: Object to form.                        20   2,000% increase in dosage units, so a -- let's
   21   BY MR. MOUGEY:                                       21   take -- let's take Fort Myers, Florida, with a town
   22      Q. You see that is approximately a 2,000%         22   of 64,000 people, that it goes from 95,000 dosage
   23   increase, correct?                                   23   units of oxycodone at the end of 2009 to
   24      A. Yes.                                           24   2.1 million by the end of '11. That's not

   Golkow Litigation Services                                                          Page 13 (46 - 49)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further14Confidentiality
                                                       of 98. PageID #: 470033
                                                                           Review
                                                     Page 50                                                        Page 52
    1   significant is your -- as far as you define               1   team.
    2   significant.                                              2       Q. So, "In July of 2011, the Florida
    3           So, help me to understand where is the            3   Surgeon General declared a public health emergency
    4   significant line? Is it 3 million? Is it                  4   based on the prescription pill epidemic." Correct?
    5   4 million? Where is it?                                   5       A. I see that on this sheet.
    6      MR. HOUTZ: Object to form.                             6       Q. And you would think that Walgreens
    7   BY THE WITNESS:                                           7   somewhere, that somewhere in Walgreens somebody
    8      A. My definition of significant would be if            8   would know that there is a problem in Florida,
    9   there wasn't a plausible reason as to why there was       9   correct?
   10   an increase.                                             10       A. Walgreens is a very large company. So,
   11           The industry had changed significantly           11   the answer to that would be yes. I was not part of
   12   over that time where doctors that ran pain               12   that, but yes.
   13   management clinics could no longer dispense out of       13       Q. We'd sure hope so. Haven't yet to find
   14   their clinics.                                           14   someone, but maybe I will, that knew about the
   15           Prior to this time, Walgreens didn't see         15   Florida problem. But you didn't know about it
   16   pain -- chronic pain patients. We saw end-of-life        16   either, right?
   17   patients that were coming in for the medications to      17       A. Correct.
   18   get them through as comfortably as possible until        18       MR. HOUTZ: Object to form.
   19   they passed.                                             19   BY MR. MOUGEY:
   20           During this time frame, the laws and the         20       Q. Okay. So, paragraph 3, the DEA relays
   21   regulations began to change where physicians could       21   that "Oxycodone is a dangerously addictive
   22   no longer dispense out of their clinics, and we saw      22   Schedule II controlled substance which is known to
   23   patients coming into the retail stores for chronic       23   be highly abused and diverted in the State of
   24   pain medications.                                        24   Florida."

                                                       Page 51                                                      Page 53
    1   BY MR. MOUGEY:                                            1           Do you see that?
    2      Q. And the reason for the change in law was            2       A. Yes.
    3   that pill mills were a problem in the State of            3       Q. Now, let's break that into a couple
    4   Florida, correct?                                         4   pieces.
    5      MR. HOUTZ: Object to form and foundation.              5           Do you agree, with your background as a
    6   BY THE WITNESS:                                           6   pharmacist and all your years in the pharmacy side
    7      A. I don't know why the regulations                    7   at Walgreens, that oxycodone is a dangerously
    8   changed.                                                  8   addictive Schedule II drug?
    9   BY MR. MOUGEY:                                            9       A. Yes.
   10      Q. Well, let's look at paragraph 2.                   10       Q. And Paragraph No. 4, "Since 2009,
   11      A. Sorry.                                             11   Walgreens' Jupiter Florida distribution center has
   12      Q. On page 29 of 349.                                 12   been the single largest distributor of oxycodone
   13      A. Okay.                                              13   pills in Florida."
   14      Q. "Since at least 2009, the State of                 14           Were you aware of that when you started
   15   Florida has been the epicenter of a notorious,           15   at the Pharmaceutical Integrity Department?
   16   well-documented epidemic of prescription drug            16       A. Yes.
   17   abuse."                                                  17       Q. "And at about this same time as the
   18           Do you see that sentence?                        18   abuse of prescription drugs became an epidemic in
   19      A. Yes.                                               19   Florida, Walgreens' Florida retail pharmacies,
   20      Q. Were you aware that since at least 2009            20   supplied by Respondent, commanded an increasingly
   21   the State of Florida has been the epicenter of a         21   large percentage of the state's growing oxycodone
   22   notorious, well-documented epidemic of prescription      22   business. In 2010, only three Walgreens pharmacies
   23   drug abuse?                                              23   were in the top 100 purchasers of oxycodone within
   24      A. I became aware when I was put on this              24   Florida. In 2011, 38 Walgreens pharmacies made the

   Golkow Litigation Services                                                               Page 14 (50 - 53)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further15Confidentiality
                                                       of 98. PageID #: 470034
                                                                           Review
                                                      Page 54                                                          Page 56
    1   top 100 and six were in the top 10."                       1   title page, Settlement and Memorandum of Agreement.
    2           And you believe that the reason for                2   Okay?
    3   Walgreens' increases in dispensing and distribution        3       A. Yes.
    4   of oxycodone was because of the change of the laws?        4       Q. So now we're on page 7 of that first
    5      A. Yes.                                                 5   part of the document, and I want to direct your
    6      Q. Now, let's just assume that was the                  6   attention to page 7, paragraph 4, "Obligations of
    7   case. If I were to look at CVS numbers and other           7   DEA." More specifically, I want you to go to B.
    8   retail pharmacies, would I see corresponding               8           "Within five business days of the
    9   increases in their pharmacies like we just went            9   effective date of this agreement, DEA agrees to
   10   through on paragraph 30 of 349 with 6, 7, 800, even       10   unlock the controlled substances storage area at
   11   2,000% increases? Would we see those with other           11   Walgreens Jupiter and make its contents available
   12   pharmacies --                                             12   to Walgreens for any lawful transfer or reverse
   13      MR. HOUTZ: Object.                                     13   distribution of the inventory contained therein to
   14   BY MR. MOUGEY:                                            14   an appropriate DEA registrant."
   15      Q. -- in the State of Florida?                         15           Do you see that?
   16      MR. HOUTZ: Object on foundation.                       16       A. Yes.
   17   BY THE WITNESS:                                           17       Q. So, the date that this agreement was
   18      A. I don't know what the volume of those               18   signed is June 10 of 2013, and that's on page 11.
   19   stores were. But as -- if it was a retail                 19       A. Yes.
   20   pharmacy -- it was an industry change that                20       Q. Okay. So, within five days of the
   21   happened. So, I would assume that their numbers           21   effective date of this agreement, the DEA unlocked
   22   would increase.                                           22   the cage in Walgreens' distribution center?
   23   BY MR. MOUGEY:                                            23       MR. HOUTZ: Object on foundation.
   24      Q. Well, you know what they say about                  24   BY MR. MOUGEY:

                                                        Page 55                                                      Page 57
    1   assuming, right?                                           1      Q. Were you aware that the -- that the DEA
    2           So, when you make that assumption today            2   locked the cage at Walgreens distribution center?
    3   and you're telling this jury in Cleveland that it          3      A. When I was -- I was not part of that
    4   was because of the change in laws, you haven't done        4   workstream, but now that you're talking about it
    5   any analysis of how the change in laws impacted            5   and I'm re-seeing this, yes.
    6   other pharmacies similar to Walgreens, have you?           6      Q. This is your Walgreens that you've spent
    7      A. I have not done analysis, no.                        7   36 years with. Your Walgreens, the DEA came and
    8      Q. So, you don't know if Walgreens is an                8   locked the cage restricting Walgreens' access and
    9   outlier with its increasing distribution levels            9   when I say -- to its own controlled substances,
   10   that we just went through, 6, 7, 800, 2,000%, or          10   correct?
   11   whether that was an industry-wide shift?                  11      A. Yes.
   12      A. That's right. I don't know.                         12      Q. And when I say "cage," you understand
   13      Q. You have no earthly idea sitting here               13   that's a term of art and that is where all of the
   14   today, right?                                             14   controlled substances are stored and protected,
   15      A. Right.                                              15   correct?
   16      Q. Let me do one more thing.                           16      A. Yes.
   17           Page 7 of 13.                                     17      Q. You would agree with me that the DEA
   18      MR. HOUTZ: I think he is back here.                    18   locking the cage restricting Walgreens' access is a
   19      THE WITNESS: Oh, I'm sorry. Thank you.                 19   significant step?
   20   BY THE WITNESS:                                           20      A. Yes.
   21      A. Okay.                                               21      Q. Before we leave this document, I'd like
   22   BY MR. MOUGEY:                                            22   you to go to page 2 of 13, "Stipulation and
   23      Q. Now, just so you can get the context,               23   Agreement."
   24   page 7 is part of -- it's a continuation of the           24      A. Okay.

   Golkow Litigation Services                                                                Page 15 (54 - 57)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further16Confidentiality
                                                       of 98. PageID #: 470035
                                                                           Review
                                                       Page 58                                                     Page 60
    1      Q. Are you there?                                      1   read through this document as director of
    2      A. Yep.                                                2   Pharmaceutical Integrity so you could better
    3      Q. What is your understanding of what                  3   understand what the issues were with Walgreens?
    4   "Stipulation and Agreement" means?                        4       A. Yes.
    5      A. I -- boy, I am not an attorney, but I               5       Q. Now, you understand what the word
    6   would -- I would take this as what we have to do in       6   "systemic" is?
    7   order to comply with this Memorandum of Agreement.        7       A. Yes.
    8      Q. Just take the word "agreement." What is             8       Q. What does the word "systemic" mean?
    9   the word "agreement"?                                     9       A. When I'm thinking of it from healthcare
   10      A. Where Walgreens agreed with the parties            10   or a person's body, it would be throughout their
   11   at DEA on what is in the document.                       11   body. When I think of it as an organization, it
   12      Q. Okay. So, let's look at paragraph 2.               12   would be in an organization.
   13      A. Under "Stipulation" or up here?                    13       Q. So, organization-wide. Is that fair?
   14      Q. Under "Stipulation and Agreement."                 14       A. I think there is a generalization there.
   15      A. Okay.                                              15   But, yes, it's fair.
   16      Q. On page 2.                                         16       Q. Okay. So, when we say "systemic," that
   17          "Walgreens acknowledges that suspicious           17   means that it impacts the organization as a whole?
   18   order reporting for distribution to certain              18       A. Yes.
   19   pharmacies did not meet the standards identified by      19       Q. Let me direct your attention to page 38
   20   the DEA in three letters from the DEA's Deputy           20   of this document, paragraph 23.
   21   Assistant Director" -- sorry -- "Deputy Assistant        21       A. Okay.
   22   Administrator, Office of Diversion Control, sent to      22       Q. "Voluntary dispensing restrictions
   23   every registered manufacturer and distributor,           23   enacted either in anticipation of, or in reaction
   24   including Walgreens, on September 27, 2006,              24   to regulatory action, do not indicate to me that
                                                     Page 59                                                         Page 61
    1   February 7, 2007, and December 27, 2007."                 1   Respondent," when it says Respondent, that's
    2            Do you see that?                                 2   Walgreens, "and its parent company have recognized
    3       A. I see that.                                        3   and adequately reformed the systemic shortcomings
    4       Q. Were you aware that Walgreens agreed               4   discussed herein."
    5   that it failed to fulfill its duties in regards to        5           Are you there with me?
    6   suspicious order reporting for controlled                 6       A. Yeah.
    7   substances?                                               7       Q. Now, when you had the opportunity to sit
    8       MR. HOUTZ: Object to form.                            8   down and read this document as director of
    9   BY THE WITNESS:                                           9   Pharmaceutical Integrity, do you recall reading
   10       A. I was aware after I saw the Memorandum            10   that the DEA believed that Walgreens had systemic
   11   of Agreement, but I did not know anything about          11   shortcomings?
   12   that before all this.                                    12       A. I don't remember reading the entire
   13   BY MR. MOUGEY:                                           13   Order to Show Cause. I remember reading the
   14       Q. Now, when you became director of                  14   Memorandum of Agreement.
   15   Pharmaceutical Integrity in later 2012, did you sit      15       Q. The first 13 pages?
   16   and read this document that I have in front of you       16       A. Yes.
   17   to have an understanding of what some of the issues      17       Q. So, do you understand in the next 336
   18   were with Walgreens?                                     18   pages that there is significant detail walking
   19       A. No. I was -- I got a copy of it after             19   through the numerous problems at Walgreens?
   20   it was signed.                                           20       MR. HOUTZ: Object to form.
   21       Q. Okay. And so it was signed in June 13.            21   BY THE WITNESS:
   22   Did you sit down -- fair enough. My timeline was         22       A. I haven't read this entire document.
   23   off.                                                     23   I've only -- I mean, really. I've only -- my job
   24            But did you sit down in June of '13 and         24   was responsible for executing the Memorandum of

   Golkow Litigation Services                                                               Page 16 (58 - 61)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further17Confidentiality
                                                       of 98. PageID #: 470036
                                                                           Review
                                                       Page 62                                                   Page 64
    1   Agreement. So, this Order to Show Cause, I did not        1       A. Yes.
    2   read every one of these.                                  2       Q. All right. Walgreens paid a significant
    3   BY MR. MOUGEY:                                            3   amount as part of this agreement with the DEA,
    4      Q. So, we're going to come back to those               4   correct?
    5   meetings and you being appointed director of              5       MR. HOUTZ: Object on foundation.
    6   Pharmaceutical Integrity in late 2012. Let me just        6   BY THE WITNESS:
    7   get a general understanding.                              7       A. There was a lot of money paid, yes.
    8          So, the role that you took as director             8   BY MR. MOUGEY:
    9   of Pharmaceutical Integrity was charged with              9       Q. Do you recall how much?
   10   overseeing Walgreens' responsibilities, A, to            10       A. 80 million.
   11   identify and report suspicious orders and, B,            11       Q. And what started as a cross-function
   12   ensure that Walgreens was filling its                    12   meeting ultimately evolved into a group titled
   13   responsibilities as a pharmacy, correct?                 13   Pharmaceutical Integrity that you ran, correct?
   14      A. Yes.                                               14       A. Yes.
   15      Q. And you as director were charged with              15       Q. Now, that meeting culminating in
   16   creating a mission to fill those ends, correct?          16   Pharmaceutical Integrity was created because of the
   17      A. Yes.                                               17   document in front of you, the Settlement and
   18      Q. You were charged with identifying the              18   Memorandum of Agreement, correct?
   19   people you needed to monitor and report suspicious       19       A. I don't know why it was created. It
   20   orders and to oversee Walgreens' obligations as a        20   just was created. I...
   21   pharmacy, correct?                                       21       Q. So you don't know why. This settlement
   22      A. Yes.                                               22   agreement, the 349 pages and all the exhibits
   23      Q. You were charged with pulling                      23   attached and the $80 million, are you comfortable
   24   individuals within Walgreens that you needed to          24   saying that that was the catalyst for the creation
                                                      Page 63                                                    Page 65
    1   help write the algorithm or code necessary to             1   of the Pharmaceutical Integrity Department?
    2   fulfill those ends, correct?                              2       MR. HOUTZ: Object to form and asked and
    3       A. It was already done prior to my taking             3   answered.
    4   the role. So, right about the time that my team           4   BY THE WITNESS:
    5   came on board, they were handing over the                 5       A. The assumption would be that, but I
    6   suspicious order monitoring that we had previous to       6   don't know.
    7   my team.                                                  7   BY MR. MOUGEY:
    8       Q. And that -- what you inherited when you            8       Q. But you are comfortable that the
    9   took over, there were modifications and changes to        9   cross-functional meeting was set after the
   10   that system along the way under your -- under you        10   September 13, 2012 Order to Show Cause and
   11   as the director, correct?                                11   Immediate Suspension of Registration, correct?
   12       A. We did make recommendations for changes,          12       A. Yes.
   13   but -- and my understanding is that there were           13       Q. Is it fair to say that when you took
   14   quite a few numerations from all the time previous.      14   over Pharmaceutical Integrity as it began in late
   15   So, yes, your answer -- my answer is yes. Sorry.         15   2012, that you felt a sense of urgency to get a
   16       Q. That's okay. There were some changes              16   system implemented for Walgreens to fulfill its
   17   made --                                                  17   obligations as a distributor?
   18       A. Yes.                                              18       A. No, not a sense of urgency. Maybe a
   19       Q. -- under your -- when you were the boss,          19   sense of urgency on myself to understand the
   20   right?                                                   20   obligations that I was taking over. But we already
   21       A. Yes.                                              21   had a system in place.
   22       Q. And there was version 5 and version 5.5,          22          So, I had a lot of learning to do, so I
   23   and there was some tweaks and modifications to the       23   guess the sense of urgency would be that I had to
   24   code, correct?                                           24   get up to speed and I had to ensure that anybody I

   Golkow Litigation Services                                                              Page 17 (62 - 65)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further18Confidentiality
                                                       of 98. PageID #: 470037
                                                                           Review
                                                      Page 66                                                      Page 68
    1   hired was up to speed and understood the                 1   early '13?
    2   obligations.                                             2       A. Before that time. Otherwise we would
    3      Q. So, Pharmaceutical Integrity did not               3   have bought it.
    4   create and design and implement a suspicious order       4       Q. Okay. So, we started this by you asking
    5   monitoring policy system. It just used what was          5   me what I meant by "adopt."
    6   already in place?                                        6           That pharmaceutical adopted the policies
    7      MR. HOUTZ: Object to form.                            7   and procedures in place at Walgreens to use in your
    8   BY THE WITNESS:                                          8   department?
    9      A. Yes, there was a new version coming out            9       MR. HOUTZ: Object to form.
   10   right about the time that I took over, and I was in     10   BY THE WITNESS:
   11   a couple of meetings right before the final             11       A. We took what was in place and then we
   12   release. There was lots of testing and things that      12   made recommendations for modifications of how best
   13   happened, and so it was kind of right around that       13   my team could efficiently use the system that they
   14   same time where we did the handover.                    14   had. So, there were lots of tweaks of that system
   15   BY MR. MOUGEY:                                          15   to get it to where it is today.
   16      Q. So, how long -- do you have an                    16   BY MR. MOUGEY:
   17   understanding of how long the system that was           17       Q. Okay. So, lots of tweaks of the system.
   18   adopted into Pharmaceutical Integrity, how long had     18           Now, in June of 2013, this 349-page
   19   that system been in place?                              19   document with the Department of Justice was entered
   20      MR. HOUTZ: Object to form.                           20   into by Walgreens, correct?
   21   BY THE WITNESS:                                         21       A. Because you tell me that, yes, and I see
   22      A. I don't know.                                     22   it on here, yes.
   23   BY MR. MOUGEY:                                          23       Q. Flip to the very last page. You will
   24      Q. You don't know. So, are you comfortable           24   see how many pages. There is 349 pages.

                                                     Page 67                                                      Page 69
    1   with your group, Pharmaceutical Integrity, adopted       1      A. Okay.
    2   the previous system to fulfill its obligations to        2      Q. Do you know how many pharmacies are
    3   monitor and identify and report suspicious orders?       3   identified in this document?
    4      A. Yes.                                               4      A. No.
    5      Q. Did Walgreens adopt a system prior to              5      Q. Look at very first page.
    6   your arrival to, once those orders were identified       6      A. Okay.
    7   as suspicious, that there was due diligence              7      Q. Paragraph 2. "Walgreens owns or
    8   performed on those orders?                               8   operates pharmacies that are controlled or
    9      A. When you say "adopt," what do you mean?            9   registered with the DEA as Retail/Chain
   10      Q. What do you think the word "adopt"                10   Pharmacies."
   11   means?                                                  11           You'd agree with that, right?
   12      A. Well, it was -- my understanding was a            12      A. Under "Procedural" you mean?
   13   homegrown system that was built and had lots of         13      Q. Yes, ma'am.
   14   tweaks and changes over the years. There was --         14      A. Yes.
   15   there wasn't anything on the market that could --       15      Q. Okay. And that's paragraph 2.
   16   we could have bought off the shelf. So...               16           Paragraph 3. "April 7, 2011, Walgreens
   17      Q. Okay. So, is your assumption -- do you            17   entered into a Settlement and Release Agreement and
   18   know that for a fact, there was nothing that            18   Administrative Memorandum of Agreement with the
   19   Walgreens could have bought, or is that another         19   DEA."
   20   assumption?                                             20           Do you see that?
   21      A. No, I know that there was nothing at the          21      A. Yes.
   22   particular time, that there wasn't anything out         22      Q. And that's attached as Exhibit A. So,
   23   there that we could have bought.                        23   why don't we -- were you aware that Walgreens
   24      Q. And that particular time is late '12,             24   entered into an agreement in 2011?

   Golkow Litigation Services                                                              Page 18 (66 - 69)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further19Confidentiality
                                                       of 98. PageID #: 470038
                                                                           Review
                                                      Page 70                                                 Page 72
    1       A. Not until I became a director of                   1   identified in paragraph 3.
    2   Pharmaceutical Integrity.                                 2           Paragraph 4 is the distribution center,
    3       Q. When you read the first 13 pages of this           3   and that's Exhibit B that we just went to. First
    4   349-page document, correct?                               4   page, paragraph 4.
    5       A. Yes.                                               5      A. I'm sorry.
    6       Q. Okay. So, if we turn to Exhibit A, this            6      Q. Very first page.
    7   is outside the first 13 pages, and this is an             7      A. Can you go to the bottom.
    8   Administrative Memorandum of Agreement with a             8      Q. Yes, ma'am. Very first page.
    9   Walgreens pharmacy in California in 2011.                 9      A. Oh, oh. Sorry.
   10           Do you see that?                                 10      Q. That's okay. Very first page.
   11       A. Yes.                                              11      A. Yeah.
   12       Q. And if you look at the scope under the            12      Q. Paragraph 4, we already walked through.
   13   "Background" section, "The OTC," which is Order to       13   That's Walgreens as a distributor?
   14   Show Cause, "alleged that Walgreens 06094," that's       14      A. Yes.
   15   a store number, right?                                   15      Q. Is Exhibit B that we already looked at?
   16       A. Yes.                                              16      A. Yes.
   17       Q. "Dispensed controlled substances to               17      Q. That's the $80 million?
   18   individuals based on purported prescriptions issued      18      A. Yep.
   19   by physicians who are not licensed to practice           19      Q. Now, paragraph 6 you will see references
   20   medicine in California."                                 20   stores, dispensaries, pharmacies in Florida,
   21           That's a problem, right?                         21   correct?
   22       A. Not necessarily is it a problem.                  22      A. Yes.
   23       Q. "Dispensed controlled substances to               23      Q. And those are Exhibit C. That's under
   24   individuals located in California based on Internet      24   paragraph 6?
                                                       Page 71                                                Page 73
    1   prescriptions issued by physicians for other than a       1       A. Yes.
    2   legitimate medical purpose."                              2       Q. So, if we look at 6, there are two
    3           Do you see that?                                  3   pharmacies identified in paragraph 6.
    4       A. I see that.                                        4          Do you see that?
    5       Q. And then, 3, "Dispensed controlled                 5       A. There is more on the other page.
    6   substances to individuals that Walgreens 06094 knew       6       Q. There is more on the next page. You're
    7   or should have known were diverting the controlled        7   right. On the first page.
    8   substances." Okay?                                        8       A. Yep.
    9       A. Yep.                                               9       Q. If you turn to the next page, there is a
   10       Q. And on the next page, 2 of 7,                     10   third pharmacy in paragraph 6, correct?
   11   "Obligations of Walgreens," paragraph A references       11       A. Yes.
   12   doctor shopping. You know what doctor shopping is,       12       Q. And those are all referenced as
   13   right?                                                   13   Appendix C.
   14       A. Yes.                                              14       A. Yes.
   15       Q. Page 3 walks through -- take your                 15       Q. Do you see that?
   16   time -- a series of examples of issues the DEA is        16          Paragraph 7 identifies another Walgreens
   17   addressing with Walgreens as a pharmacy.                 17   pharmacy as 03836, correct?
   18           Do you see that?                                 18       A. Yes.
   19       MR. HOUTZ: Object to form.                           19       Q. And that's also C?
   20   BY THE WITNESS:                                          20       A. Yes.
   21       A. Yes.                                              21       Q. 8 identifies another Walgreens store,
   22   BY MR. MOUGEY:                                           22   04391, and that is also Appendix C, correct?
   23       Q. Okay. So, let's go back to the very               23       A. Yes.
   24   first page again. So, that is Exhibit A as               24       Q. And paragraph 9 identifies another

   Golkow Litigation Services                                                             Page 19 (70 - 73)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further20Confidentiality
                                                       of 98. PageID #: 470039
                                                                           Review
                                                      Page 74                                                      Page 76
    1   Walgreens pharmacy, and that is also Exhibit C,          1       Q. And all the while, while that document
    2   correct?                                                 2   is being negotiated and executed, you understand
    3       A. Yes.                                              3   that the opiate epidemic took over as the leading
    4       Q. So, Exhibit C, if you turn all the way            4   cause of death in the United States?
    5   back to the C tab, at the bottom of the page 83 of       5       A. Yes.
    6   349.                                                     6       Q. But no one from Walgreens ever came to
    7           Do you see that?                                 7   you and said, "Ms. Polster, I think a good place
    8       A. Yeah.                                             8   for you to start to identify potential problems
    9       Q. And just from flipping through these              9   within Walgreens would be to read the
   10   pages, you can see that Exhibit C on those              10   300-page playbook the DEA gave us identifying
   11   Walgreens pharmacies, there are approximately 250       11   numerous issues," correct?
   12   pages of detailed allegations from the DEA covering     12       MR. HOUTZ: Object to form.
   13   problems with Walgreens' dispensing practices in        13   BY THE WITNESS:
   14   its pharmacies?                                         14       A. There was a lot of stuff going on during
   15       MR. HOUTZ: Object to form and foundation.           15   that time. I was not handed these 360 pages.
   16   BY THE WITNESS:                                         16   BY MR. MOUGEY:
   17       A. I see that there's a lot of pages on             17       Q. To go back to page 2 of this document,
   18   here, but I -- I guess the DEA is saying there are      18   we read the first sentence under "Stipulation and
   19   problems. I'm not sure if it's problems or not.         19   Agreement" about Walgreens failing to fulfill its
   20   BY MR. MOUGEY:                                          20   duties and the standards identified by the DEA as a
   21       Q. What I'm -- what I am struggling with is         21   distributor.
   22   you come in to take over Pharmaceutical Integrity       22           But the next sentence begins with
   23   in late '12. By the time this document is signed        23   "Furthermore, Walgreens acknowledges that certain
   24   in June of '13 you are setting up a department for      24   Walgreens retail pharmacies did on some occasions
                                                    Page 75                                                          Page 77
    1   both distributor and pharmacy regulatory issues.         1   dispense certain controlled substances in a manner
    2   You brought people in. You're making sure the            2   not fully consistent with its obligations under the
    3   systems are in place. You are making sure that the       3   Controlled Substance Act."
    4   goals and objectives can be met.                         4           Did I read that right?
    5           And there is a document with 349 pages           5       MR. HOUTZ: Object to the preface.
    6   detailing the DEA's belief that there are systemic       6   BY THE WITNESS:
    7   problems within Walgreens and you never read it.         7       A. I see it here.
    8       MR. HOUTZ: Object to form and object to the          8   BY MR. MOUGEY:
    9   speech.                                                  9       Q. This is part of the section that you
   10   BY MR. MOUGEY:                                          10   read --
   11       Q. You never read this document, did you,           11       A. Yes.
   12   Ms. Polster?                                            12       Q. -- the 13 pages. Did -- you never
   13       A. I read the Memorandum of Agreement.              13   wondered after reading paragraph 2 that Walgreens
   14       Q. Which is 13 pages of the 349, correct?           14   stipulates and agrees that it did not meet the
   15       A. Correct.                                         15   standards identified by the DEA, you never stopped
   16       Q. The other 336 pages, you never took time         16   and inquired or wondered, "Can someone give me the
   17   to read the detailed allegations to see where the       17   specific examples so I know where to start"?
   18   DEA believed there were problems, correct,              18       A. You asked me did I read the document.
   19   Ms. Polster?                                            19       Q. I did.
   20       A. I did not read every page of this                20       A. I did not read these 360 pages. I did
   21   document, no.                                           21   ask that question, which is why I have the Target
   22       Q. You didn't read over 90% of this                 22   Drug Good Faith Dispensing Policy that we put in
   23   document, correct?                                      23   place for consistency across all the stores in the
   24       A. Correct.                                         24   nation.

   Golkow Litigation Services                                                               Page 20 (74 - 77)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further21Confidentiality
                                                       of 98. PageID #: 470040
                                                                           Review
                                                      Page 78                                                            Page 80
    1       Q. So, who summarized for you the 300 pages            1       THE VIDEOGRAPHER: We are back on the record
    2   of issues identified by the DEA of weaknesses in           2   at 11:01 a.m.
    3   Walgreens' system?                                         3   BY MR. MOUGEY:
    4       MR. HOUTZ: Object to form.                             4       Q. Ms. Polster, were you aware when you
    5   BY THE WITNESS:                                            5   took over as director of Pharmaceutical Integrity
    6       A. Dwayne Piñon and Patty Zagami.                      6   that opiate overdose had become one of the leading
    7   BY MR. MOUGEY:                                             7   causes of death in the U.S.?
    8       Q. And how did they identify the details of            8       A. Yes.
    9   all of the issues identified by the DEA to you?            9       Q. What did you do to educate yourself when
   10   Was it in a memorandum?                                   10   you began attending the cross-function meetings
   11       A. It was in a course of many meetings.               11   through the end of 2012 where you were ultimately
   12       Q. Yes, ma'am, but that wasn't what I                 12   named the director of Pharmaceutical Integrity?
   13   asked.                                                    13       A. I learned a lot in all the meetings that
   14           Was there a memorandum that you were              14   we -- that we had. Probably paid a little more
   15   given the details of the issues with Walgreens            15   attention to news bites or articles that came out
   16   system as identified in this settlement                   16   about opioids since that was going to be the focus
   17   agreement -- Settlement and Memorandum of                 17   of what the project was that I was working on.
   18   Agreement?                                                18           But I would say I learned the most out
   19       MR. HOUTZ: Object to form.                            19   of all the meetings that we had as part of that
   20   BY THE WITNESS:                                           20   group.
   21       A. Can you tell me what you mean by                   21       Q. So, we have meetings and news bites. Is
   22   memorandum? Did somebody just send a memo you             22   that fair?
   23   mean?                                                     23       A. That's fair.
   24   BY MR. MOUGEY:                                            24       Q. So, let's walk through the meetings.

                                                        Page 79                                                       Page 81
    1      Q. Yes, ma'am.                                          1      A. Sure.
    2      A. Okay.                                                2      Q. You initially testified that there were
    3      Q. This document is titled Settlement and               3   numerous meetings. So, why don't we start with how
    4   Memorandum of Agreement.                                   4   frequently the meetings were occurring beginning in
    5      A. Yeah, I got this copy.                               5   September of 2012.
    6      Q. Okay. All right. So, when I say                      6      A. I cannot remember the exact number of
    7   "memorandum" outside of this context of the                7   times that we met, but I would say frequently per
    8   Settlement and Memorandum of Agreement, to me, a           8   week is accurate.
    9   memo, a letter, could even just be an e-mail.              9      Q. And you identified a couple of groups of
   10      A. I don't remember what form, but we                  10   people that were attending and some departments.
   11   talked about all different kinds of things that we        11   Were there people added in as late 2012 progressed
   12   were going to do for this.                                12   other than the individuals that you brought in to
   13      Q. So, let's go back to where we started,              13   work in Pharmaceutical Integrity?
   14   then.                                                     14      A. There would be people that would come
   15      A. Okay.                                               15   and go based on whatever specific issue that we
   16      MR. HOUTZ: Can we take a break?                        16   were working on.
   17      MR. MOUGEY: Of course we can.                          17           So, for example, if we had a
   18      MR. HOUTZ: Because we are like an hour and a           18   communication specialist that would come in and
   19   quarter into it.                                          19   help us tweak our communication that we would send
   20      MR. MOUGEY: Yes.                                       20   out to the field or the training and development
   21      THE VIDEOGRAPHER: We are off the record at             21   people that would help us implement how we would
   22   10:36 a.m.                                                22   launch a training to the stores, those people would
   23             (WHEREUPON, a recess was had                    23   be coming in and going out based on the workstream
   24              from 10:36 to 11:01 a.m.)                      24   efforts that were happening at the time.

   Golkow Litigation Services                                                                 Page 21 (78 - 81)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further22Confidentiality
                                                       of 98. PageID #: 470041
                                                                           Review
                                                   Page 82                                                        Page 84
    1      Q. Would you agree with me that the two             1   Walgreens was a distributor, right?
    2   kind of big-picture issues were Walgreens'             2      A. Yes.
    3   responsibilities as a distributor in the context of    3      Q. And as we just went through in the
    4   controlled substances, that was one issue, correct?    4   memorandum and agreement with the significant fine,
    5      A. An issue about --                                5   part of that included Walgreens as a distributor,
    6      Q. That was being discussed in the                  6   right?
    7   meetings.                                              7      MR. HOUTZ: Object to form.
    8      A. Can you form the question again. I'm             8   BY THE WITNESS:
    9   sorry.                                                 9      A. Yes.
   10      Q. Sure. I'm just trying to get two kind           10   BY MR. MOUGEY:
   11   of big-picture items that was part of the scope of    11      Q. Okay. So, back to your meetings and
   12   the what at that point was the functional --          12   your group. You have dispensing duties in one
   13   function meeting. Is that -- okay?                    13   circle and then Walgreens also has, as a
   14      A. Okay.                                           14   distributor, also has duties and obligations,
   15      Q. So, one was the attempting to ensure the        15   correct?
   16   system that Walgreens used to fill its duties as a    16      A. Yes.
   17   distributor in the context of controlled substance    17      Q. Now, are you familiar with the word
   18   was adequately designed and put in place?             18   "diversion"?
   19      A. So, the context of the meetings around          19      A. Yes.
   20   that specific thing that you're saying is getting     20      Q. And what do you understand the word
   21   me up to speed of what I was taking over from a       21   "diversion" to mean?
   22   team that was previously doing it.                    22      A. In context of internal diversion from an
   23      Q. Let's do it this way. You understand            23   employee who is perhaps pilfering, that would be
   24   that Walgreens has duties under the federal code      24   what I equated the word "diversion" to prior to me

                                                   Page 83                                                       Page 85
    1   and regs as a pharmacy?                                1   coming to the, you know, to the work group.
    2       A. Yes.                                            2           When I came into the work group and they
    3       Q. And you know what a Ven diagram is,             3   used the word "diversion," I was educated to what
    4   right?                                                 4   DEA used the word "diversion" to.
    5       A. Yes.                                            5      Q. Which was broader than internal theft or
    6       Q. And, so, we are going to just draw one          6   shrinkage or within Walgreens, correct?
    7   circle and just put "Dispensing duties."               7      A. Yes.
    8           Now, Walgreens also has obligations            8      Q. The definition that you were educated
    9   under the United States code and the regs in           9   when you started working with these -- with the
   10   relation to its role as a distributor. Correct?       10   working group, correct?
   11       A. You need to clarify the time frame             11      A. Yes.
   12   because we do not distribute controlled substances    12      Q. And that included, in the context of
   13   at all anymore. So, clarify your --                   13   diversions, Walgreens' duties and obligations as a
   14       Q. If Walgreens doesn't distribute anymore,       14   distributor, correct?
   15   they probably aren't applicable to them. Is that a    15      A. Yes.
   16   fair statement?                                       16      Q. Now, would you agree -- and I have two
   17       A. We dispense.                                   17   circles on my Ven diagram here. I have "Dispensing
   18       Q. Right. And if you don't distribute,            18   duties/obligations" and I have "Distributor
   19   then I'm certainly not asking you about a time when   19   duties/obligations."
   20   Walgreens doesn't distribute. So, I'm talking         20           Now, the diversion context encompasses
   21   about a time when Walgreens was acting as a           21   both the dispensing side of Walgreens' duties and
   22   distributor.                                          22   obligations and the pharmacy -- I'm sorry -- and
   23       A. Okay.                                          23   the distributor side of Walgreens' duties and
   24       Q. Okay? So, in late 2012 and early '13           24   obligations, correct?

   Golkow Litigation Services                                                            Page 22 (82 - 85)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further23Confidentiality
                                                       of 98. PageID #: 470042
                                                                           Review
                                                      Page 86                                                     Page 88
    1      A. Yes.                                                1      Q. Now, that very expensive Ven diagram I
    2      Q. So, the last circle I'll put in place,              2   have in front of you, is that an accurate
    3   I'm going to put --                                       3   representation of what we just went through, that
    4      MR. MOUGEY: We're on 3, right?                         4   diversion covers both dispensing and Walgreens as a
    5      THE REPORTER: Yes.                                     5   distributor?
    6             (WHEREUPON, a certain document was              6      A. Yes.
    7              marked as Walgreens-Polster Exhibit            7      Q. So, back to the meetings. More than
    8              No. 3: Ven diagram drawn by Peter              8   once a week. Is that fair?
    9              Mougey.)                                       9      A. Yes.
   10   BY MR. MOUGEY:                                           10      Q. Sometimes many times a week?
   11      Q. I hand you what we've marked as -- what            11      A. Yes.
   12   I'm marking as Polster 3, my very expensive Ven          12      Q. People would come and go based on
   13   diagram.                                                 13   whatever was being discussed?
   14           And do you see in the left-hand circle           14      A. That's right.
   15   we have Walgreens as a distributor with their            15      Q. Now, I'm just kind of a redneck lawyer
   16   obligations and duties, correct?                         16   from a small town in Florida and when I have
   17      A. Yes.                                               17   meetings, and I'm confident to some people's
   18      Q. And the circle to the right, Walgreens             18   chagrin, I actually have agendas, we keep notes,
   19   with its obligation as a pharmacy and its duties         19   and that helps us remember that the next time we
   20   and obligations. Correct?                                20   have a meeting what we talked about the time
   21      A. Yes.                                               21   previously and it keeps everybody on track.
   22      Q. And the diversion, whether it be theft             22      A. Yes.
   23   internally, whether it be the DEA's broader              23      Q. Generally familiar with that concept,
   24   definition that you learned about when you started       24   right?

                                                       Page 87                                                     Page 89
    1   the working group, covers both the dispensing side        1       A. Yes.
    2   and the distributor side. Correct?                        2       Q. Now, does this group, this working
    3       A. Yes.                                               3   group, did you have a name for it by the time '12
    4       Q. And the objective of your working group,           4   rolled in?
    5   which later became Pharmaceutical Integrity, was to       5       A. We called it a task force.
    6   ensure that Walgreens was compliant with its              6       Q. Task force. Sounds very official.
    7   obligations as both a pharmacy and as a                   7           So, what was the -- was there a name for
    8   distributor, correct?                                     8   the task force?
    9       A. The objective and my role was to ensure            9       A. Controlled substance task force maybe.
   10   that any work that was being done that was taken         10       Q. Controlled substance task force. Okay.
   11   over by me I understood what to do and I was able        11           Do you know why individual people were
   12   to continue to carry it out.                             12   asked to be on the controlled substance task force?
   13       Q. Okay. And that's good and that's an               13       A. No.
   14   admirable goal that you understand it and that it        14       Q. Did you observe in the meetings with the
   15   was being effectively implemented. But what I            15   controlled substance task force that there were
   16   asked was a little bit different. What I asked was       16   people in different departments in Walgreens that
   17   a little bit more specific.                              17   had different kind of specialties?
   18            And the objective of your group, which          18       A. Yes.
   19   ultimately became Pharmaceutical Integrity, was to       19       Q. So, you had loss prevention that had
   20   ensure that Walgreens was compliant with both its        20   kind of an investigatory function within Walgreens,
   21   dispensing duties and obligations and its duties         21   correct?
   22   and obligations as a distributor to detect and           22       A. Yes.
   23   avoid diversion. Correct?                                23       Q. Folks like yourself that had more of
   24       A. Yes.                                              24   a -- had a pharmacy background, both academic and

   Golkow Litigation Services                                                               Page 23 (86 - 89)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further24Confidentiality
                                                       of 98. PageID #: 470043
                                                                           Review
                                                     Page 90                                                          Page 92
    1   experience-wise, correct?                                 1      A. So, Steve Bamberg and Wayne Bancroft
    2       A. Yes.                                               2   were the ones that educated me on how it worked,
    3       Q. You had been in the field, correct?                3   how it was designed in terms of the linear
    4       A. Yes.                                               4   regression line and the algorithm, which I wouldn't
    5       Q. And you kind of knew how day to day how            5   be able to spit out because it's so complicated.
    6   the pharmacies worked. Is that fair?                      6      Q. All right. I think I'm terrible at
    7       A. Yes.                                               7   names. I never can remember names. And I think
    8       Q. And on top of that, it sounds to me like           8   someone is trying to pick on me that every name
    9   you also had significant experience taking concepts       9   here seems to end with a B.
   10   and initiatives at the corporate level and rolling       10      A. Right.
   11   them out across a couple hundred thousand people         11      Q. There's a lot of Bs. I'm getting them
   12   often at Walgreens, all the employees. Is that           12   confused regularly.
   13   fair?                                                    13           Now, Wayne Bancroft I always remember is
   14       A. Yes.                                              14   he is kind of the math guy that wrote the
   15       Q. And that's not a small task to get that           15   algorithm?
   16   Titanic ship moving from the corporate                   16      A. That's right.
   17   communications side to get everyone on board and         17      Q. Now, Steve Bamberg is another of one of
   18   understand and educated about whatever the               18   a plethora of B names that I can't ever remember.
   19   initiative is, correct?                                  19           What's Steve's -- where was Steve --
   20       A. Correct.                                          20      A. Steve --
   21       Q. And then we also had some folks from              21      Q. -- prior to '12, September '12?
   22   corporate that attended these meetings and helped        22      A. I don't know his exact like title, but
   23   give some perspective on the system that was             23   he is the guy that his team built the and made
   24   already in place. Is that fair?                          24   changes to the suspicious order monitoring system.
                                                       Page 91                                                          Page 93
    1      A. Yes.                                                1       Q. Okay. Is Steve a tech guy?
    2      Q. Now, who was that that already -- that              2       A. Yes.
    3   came to the table that's like this conference room        3       Q. Now, we were talking about suspicious
    4   here with about 12 seats at it, who was it that           4   order monitoring policies and procedures, and this
    5   came that brought the, quote-unquote,                     5   controlled substance task force brought Steve
    6   "institutional knowledge" of what had happened            6   Bamberg and Wayne Bancroft, as an example of maybe
    7   prior to September '12?                                   7   others, but came and helped you all get up to speed
    8      A. When you say "institutional knowledge,"             8   on what was being done at Walgreens. Is that fair?
    9   could you be a little more specific --                    9       A. Yes.
   10      Q. Sure.                                              10       Q. Okay. So, let's switch over to the
   11      A. -- about which --                                  11   dispensing side.
   12      Q. Fair enough. About Walgreens'                      12       A. Okay.
   13   suspicious order monitoring policies --                  13       Q. Okay. Who -- and which you probably had
   14      A. Yeah.                                              14   a little bit of background in already, but who from
   15      Q. -- and procedures and then there will be           15   the dispensing side was there to help flatten the
   16   a follow-up question about good faith dispensing.        16   learning curve for this controlled substance task
   17      A. Sure.                                              17   force?
   18      Q. But if I ask them both at one time, then           18       A. Around good faith dispensing?
   19   Les will object that it's compound. So, I'll do          19       Q. Yes. Well, we can start there.
   20   them one at a time.                                      20       A. Well, Walgreens has always had a Good
   21      A. Okay.                                              21   Faith Dispensing Policy ever since I can -- I can
   22      Q. Okay. So, who brought to the table the             22   remember. So, we had that policy in place. It was
   23   institutional knowledge about Walgreens' suspicious      23   referenced. But we didn't necessarily need a
   24   order monitoring policies and procedures?                24   learning curve for that because it had already been

   Golkow Litigation Services                                                                 Page 24 (90 - 93)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further25Confidentiality
                                                       of 98. PageID #: 470044
                                                                           Review
                                                     Page 94                                                        Page 96
    1   in place. Everybody in the room from an operations      1       Q. Okay.
    2   side were pharmacists, and so we were all aware         2       A. What we did was we redeployed it so that
    3   that the policy was in place.                           3   every pharmacist had to reread it. So, if you had
    4       Q. Okay. Now, good faith dispensing,                4   been a pharmacist for ten years, you're going to
    5   though, was ultimately tweaked or modified and the      5   get a refresher.
    6   name was changed to targeted good faith dispensing,     6       Q. So, it was kind of a continuing, "Here
    7   right?                                                  7   you need to read this again. It's been a while
    8       A. There is two policies. There is Good             8   since you've read it the last time" kind of a
    9   Faith Dispensing Policy, which is the overarching       9   thing?
   10   policy around all controlled substances, and then      10       A. Yes.
   11   the Target Drug Good Faith Dispensing Policy was       11       Q. Okay. Now, let's go back to the other
   12   focused on the drugs that the DEA deemed the heart     12   side, and we've refreshed my memory. Steve Bamberg
   13   of the opioid crisis.                                  13   is from the IT department?
   14       Q. Okay. What would you consider to be the         14       A. Yes.
   15   heart of the opiate crisis?                            15       Q. Okay. So, you have got, no offense to
   16       A. The DEA identified oxycodone,                   16   Mr. Bamberg and Mr. Bancroft, but you got two kind
   17   hydromorphone and Methadone as drugs that they         17   of smart computer math guys, right?
   18   focused on.                                            18       A. Yes.
   19       Q. Oxycodone, hydrocodone, Methadone.              19       Q. All right. So, I've gotten to talk to
   20       A. No, not hydrocodone because hydrocodone         20   Mr. Bancroft, very smart Ph.D. in math. But who
   21   was not a Schedule II at the time. Hydromorphone.      21   was it that actually helped come to these meetings
   22       Q. Okay.                                           22   and say, "Okay, these are what our duties and
   23       A. And Methadone.                                  23   obligations are and this is what we need to do.
   24       Q. Okay. But hydrocodone became a                  24   This is what the code says. This is what the reg

                                                   Page 95                                                        Page 97
    1   Schedule II?                                            1   says. This is what we got to make sure we're
    2      A. Yes.                                              2   doing"?
    3      Q. And once it became Schedule II, would             3      A. I don't know.
    4   that be included on the list of the targeted drugs?     4      Q. Well, you got math guys there. Math
    5      A. We have not updated the targeted drug in          5   guys are good when you tell them, "This is what I
    6   terms of drugs that are on there specifically.          6   need a solution to."
    7      Q. And the targeted good faith dispensing            7          Who helped tell them, "This is my
    8   was redeployed?                                         8   problem. I need you all to come up with the
    9      A. No, deployed.                                     9   solution to address the issue"?
   10      Q. Okay. Good faith dispensing was                  10      A. At the --
   11   redeployed?                                            11      MR. HOUTZ: Object on foundation.
   12      A. Yes.                                             12   BY THE WITNESS:
   13      Q. In 2013?                                         13      A. At the -- at the meeting specifically?
   14      A. Yeah.                                            14   BY MR. MOUGEY:
   15      Q. Mid?                                             15      Q. Any meetings.
   16      A. I don't remember the exact date, but it          16      A. Well, I -- prior to my involvement, I
   17   was 2013.                                              17   don't know the answer to that. Once I got
   18      Q. What does redeployed mean in the context         18   involved, you know, with the working group of the
   19   of good faith dispensing?                              19   meeting, we had folks in the room, our attorneys,
   20      A. So, we made tweaks to the Good Faith             20   whatever, digesting all these pages, whatever, and
   21   Dispensing Policy. Previously the Good Faith           21   whittling it down to --
   22   Dispensing Policy was a policy that every              22      Q. All right.
   23   pharmacist had to read and acknowledge at time of      23      A. -- what we needed to focus on.
   24   hire.                                                  24      Q. Were there agendas for these meetings?

   Golkow Litigation Services                                                              Page 25 (94 - 97)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further26Confidentiality
                                                       of 98. PageID #: 470045
                                                                           Review
                                                     Page 98                                                     Page 100
    1      A. Probably.                                            1   then once -- once my team took over, then it was an
    2      Q. You would think so, right?                           2   a much smaller group of just my internal folks as
    3      A. Right.                                               3   we were getting everybody up to speed and ready.
    4      Q. Are you a note-taker?                                4       Q. So, into 2013.
    5      A. Yes.                                                 5       A. Yes.
    6      Q. And when you sat through these meetings,             6       Q. That the group shifted from this
    7   you took notes?                                            7   controlled substance task force to the folks that
    8      A. I took notes of my to-dos, yes.                      8   you were filling out the Pharmaceutical Integrity
    9      Q. Yes, ma'am. And what is your practice                9   group. Is that fair?
   10   with your notes when you're done with them and you        10       A. Yes.
   11   go back to your office? What do you do with them?         11       Q. Where I'm struggling here is that
   12      A. Once the project is underway --                     12   Walgreens just pays -- is in the middle of an open
   13      Q. Yes, ma'am.                                         13   investigation with the DEA. There's a task force
   14      A. -- I pitch them.                                    14   that's formed. There's meetings that are occurring
   15      Q. Okay. So, when you say "once the                    15   regularly.
   16   project is underway," once it's finalized?                16           What I am not seeing in the production
   17      A. Correct.                                            17   is any meeting minutes or e-mail traffic discussing
   18      Q. But this project, meaning the controlled            18   the objectives and goals and what your group is
   19   substance task force which ultimately became              19   doing. So, help me to -- maybe I'm just missing it
   20   Pharmaceutical Integrity, there were different            20   and we're just bad document searchers, which some
   21   variations and tweaks of the system all the way up        21   of your lawyers will tell us we are.
   22   until version 5.5, correct?                               22           So, tell me in the re line, would you
   23      A. I don't know the versions, but yes.                 23   all put -- would you put a specific like
   24      Q. So, who was the -- if you had an agenda             24   "Controlled substance task force" in the re line?
                                                        Page 99                                                  Page 101
    1 item that you wanted to put on this -- on these              1   How would you know which meeting this was?
    2 meetings that sometimes happened more than once a            2       A. What's a re line?
    3 week, who would you tell to put it on the agenda?            3       Q. Subject line, I'm sorry, of the e-mail.
    4     A. I would sometimes have, you know, be the              4       A. Sorry. You're going to have to ask that
    5 owner of the meeting and I would make my own agenda          5   question again.
    6 or whoever was having the meeting, you know,                 6       Q. Okay. You're confident there was
    7 whoever the organizer of the meeting was, we would           7   agendas?
    8 just contribute to the agenda topics.                        8       A. Yes.
    9       Q. Would there be a call for agenda items?             9       Q. You're confident that some people took
   10       A. Call or we would send it in an e-mail.             10   notes?
   11       Q. That's what I meant.                               11       A. Yes.
   12       A. Yeah.                                              12       Q. You're confident that there was e-mail
   13       Q. Just a call to action, "I need agenda              13   traffic discussing in-between meetings maybe the
   14   items for our meeting Thursday" --                        14   topic of the meeting?
   15       A. Yes.                                               15       A. Yes.
   16       Q. -- "on XYZ topic," right?                          16       Q. Are you confident that there were
   17       A. Yes.                                               17   presentations made during these meetings from the
   18       Q. And these all occurred, these meetings,            18   folks that were brought in to help educate the
   19   late 2012 and into '13, correct?                          19   group or the task force on specific topics?
   20       A. That I was involved in, yes.                       20       A. I don't remember presentations to
   21       Q. All right. So, the meetings more than              21   educate the group. Occasionally there were
   22   once a week, sometimes frequent, occur. How long          22   presentations that would get sent up to leaders. I
   23   did that kind of number of meetings continue?             23   would have to provide topics to Rex so that he
   24       A. Well, it was a long time, I mean, and              24   could update his bosses.

   Golkow Litigation Services                                                             Page 26 (98 - 101)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further27Confidentiality
                                                       of 98. PageID #: 470046
                                                                           Review
                                                       Page 102                                                     Page 104
    1      Q. Okay. But as far as educate -- where                 1       A. Yes.
    2   I'm still -- kind of a missing hole to me is that          2       Q. Did you -- did you ask for a memorandum,
    3   how did any one of this group understand the               3   a memo, or anything in writing kind of laying it
    4   regulatory component of Walgreens as a distributor?        4   out so you could have it as a reference point?
    5      MR. HOUTZ: Object on foundation.                        5       A. No.
    6   BY THE WITNESS:                                            6       Q. Did you -- was there a purposeful
    7      A. I don't know about the distributor part.             7   decision not to put anything in writing so some day
    8   The meetings that I was in with -- we were working         8   a lawyer like me might be sitting here asking
    9   on updating the policies. I mean, we sat in a room         9   questions about it?
   10   with the current policy up on a screen, and we            10       A. No.
   11   would go through it, paragraph by paragraph, to           11       MR. HOUTZ: Object to form and foundation.
   12   make sure that everything was still relevant or if        12   BY MR. MOUGEY:
   13   we needed to add additional information. And it           13       Q. So, you got a complex topic. You have a
   14   would depend on the -- what we were working on at         14   resource, regulatory and legal, and do you have a
   15   that point in time.                                       15   person that you typically dealt with when you had
   16   BY MR. MOUGEY:                                            16   questions?
   17      Q. Do you understand that there is                     17       A. Yes.
   18   United States code, federal code, that governs            18       Q. And who was that person?
   19   Walgreens' duties as a distributor?                       19       A. Dwayne Piñon and Patty Zagami were our
   20      A. At the time, yes.                                   20   usual points of contact.
   21      Q. Do you understand that there are                    21       Q. Is Patty a lawyer?
   22   regulations, regs, promulgated under the U.S. Code        22       A. Yes.
   23   that define further Walgreens' responsibilities as        23       Q. And so when the task force needed
   24   a distributor?                                            24   guidance on the details of the regulatory
                                                      Page 103                                                        Page 105
    1       A. I understand that there were codes and              1   structure, it would contact Dwayne and Patty?
    2   regulations. There were times when I needed them           2       A. Correct.
    3   spelled out to me more clearly, but yes.                   3       Q. Did you keep the agendas at any place,
    4       Q. So, when you needed them spelled out                4   on a desktop, in a folder, printed out in a drawer,
    5   more clearly to you, how did you -- where did you          5   for these meetings?
    6   go?                                                        6       A. Yes.
    7       A. The regulatory/law folks.                           7       Q. And do you still have them today?
    8       Q. Okay. And tell me the process with                  8       A. No.
    9   that. Would you ask for a meeting, would you call,         9       Q. How long did you keep them until?
   10   a little bit of both?                                     10       A. As soon as this Memorandum of Agreement
   11       A. It was a little bit of both. Oftentimes            11   was signed and executed, it all went in the
   12   they were in the room because we had a lot of             12   garbage. We have a very --
   13   questions and they would help, you know, translate        13       Q. Was that at the direction of someone
   14   for us. Sometimes I would call. Sometimes I would         14   internally?
   15   send an e-mail. It just depended.                         15       A. No.
   16       Q. So, is it safe to say that almost your             16       Q. You just happened on the date this was
   17   entirety of your knowledge based on the code and          17   signed to throw all of your notes out?
   18   regs of Walgreens as a distributor came from              18       A. Well, here's -- here's the deal. We
   19   regulatory and legal?                                     19   went through a number of moves in our department to
   20       A. Yes.                                               20   different buildings and our space that we were
   21       Q. Did you find that that information that            21   allotted has decreased substantially, and I didn't
   22   you got from regulatory compliance on -- I'm going        22   need to keep it anymore because we had already
   23   to call it the regulatory structure of Walgreens as       23   executed on what we signed.
   24   a distributor. Did you find that complex?                 24       Q. Help me to understand what you described

   Golkow Litigation Services                                                             Page 27 (102 - 105)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further28Confidentiality
                                                       of 98. PageID #: 470047
                                                                           Review
                                                      Page 106                                                  Page 108
    1   as a complex issue, which is the regulatory               1      A. Yes.
    2   structure of Walgreens as a distributor, what would       2      Q. If I use the word "listserv," do you
    3   you use for a reference point as you were going           3   know what that means?
    4   through this process to make sure you understood          4      A. No.
    5   what the rules and regulations were?                      5      Q. Like if you create in Outlook an e-mail
    6      A. When my team took over for the order                6   that you could just type "controlled substance task
    7   monitoring, we used the system that was put in            7   force" and if there is 15 people on the committee,
    8   place. Any questions that we had to the system or         8   you don't have to type everyone's name in.
    9   how the system worked, we would get ahold of Steve        9      A. Yes.
   10   or Wayne and then if we needed further                   10      Q. Because if you're like me you always
   11   clarification on to the regulations, then we would       11   forget.
   12   talk to Patty or Dwayne. But the system was              12      A. Right.
   13   already in place when I took it over.                    13      Q. Did you have a listserv that you would
   14      Q. We'll get to that.                                 14   type in "task force" or "controlled substance task
   15      A. Okay.                                              15   force"?
   16      Q. Were there minutes of the meetings from            16      A. Not that I remember.
   17   the task force, the controlled substance task            17      Q. But you would agree with me that one of
   18   force, so after the meeting there would be a             18   the primary focus points of the controlled
   19   rendition of what was discussed?                         19   substance task force was to review Walgreens'
   20      A. In some cases, yes. In other cases, no.            20   existing policies and procedures with regard to
   21      Q. Do you have an understanding of why                21   Walgreens as a distributor and Walgreens as a
   22   sometimes there were minutes and sometimes there         22   pharmacy to ensure that it was in compliance?
   23   weren't?                                                 23      A. Yes.
   24      A. Probably depended on what was getting              24      Q. And in order to fill that objective, you
                                                    Page 107                                                    Page 109
    1   worked on.                                                1   had to have an understanding of what that
    2       Q. Excuse me one second. I want to check              2   regulatory structure was?
    3   on something.                                             3       A. Yes.
    4          In preparation for your testimony today,           4       Q. And you got that regulatory structure
    5   did you look at specific documents?                       5   definition from Mr. Piñon and Ms. Zagami?
    6       A. Yes.                                               6       A. Sometimes I got it from that and
    7       Q. And did you review any agendas or                  7   sometimes I got it from my own experience from
    8   minutes from the controlled substance task force?         8   being a pharmacist and being in the field.
    9       A. No.                                                9       Q. Fair enough. On the dispensing side.
   10       Q. Did you look at e-mails from the                  10   But on the distributor --
   11   controlled substance task force?                         11       A. Yes.
   12       A. No.                                               12       Q. -- side, if you needed information or
   13       Q. Was -- I'm going to mispronounce his              13   details on Walgreens' existing regulatory
   14   last name. Is it Piñon?                                  14   obligations as a distributor, you went to Mr. Piñon
   15       A. Yes.                                              15   and Ms. Zagami?
   16       Q. And Patty's last name is?                         16       A. Yes.
   17       A. Zagami.                                           17       Q. Let's go back to where we started, which
   18       Q. Mr. Piñon and Ms. Zagami, were you all            18   is, Ms. Polster, your CV, which is marked as
   19   directed to include them on e-mails as part of this      19   Polster 1, and go back to Walgreen Company
   20   task force?                                              20   Deerfield, Illinois, Senior Director,
   21       A. No.                                               21   Pharmaceutical Integrity and Third Party
   22       Q. Were they on e-mails routinely,                   22   Operations.
   23   Mr. Piñon and Ms. Zagami, as part of this -- the         23       A. I'm sorry. Which page are you on?
   24   meetings in late 2012, early '13?                        24       Q. Bates No. 180.

   Golkow Litigation Services                                                          Page 28 (106 - 109)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further29Confidentiality
                                                       of 98. PageID #: 470048
                                                                           Review
                                                     Page 110                                                 Page 112
    1       A. Yes.                                              1              (WHEREUPON, a certain document was
    2       Q. Let's just go through what you've                 2               marked as Walgreens-Polster Exhibit
    3   indicated here.                                          3               No. 4: Tasha Polster, LinkedIn
    4           "Walgreens Company, Deerfield, Illinois.         4               profile.)
    5   Responsible for the overall strategy for the             5   BY MR. MOUGEY:
    6   Pharmaceutical Integrity Group including developing      6       Q. I believe this is your resume on
    7   system solutions and managing projects. Constructs       7   LinkedIn. Correct?
    8   the process for Third Party Operations to enable         8       A. Oh. Yeah, you had to remind me what
    9   the attainment of legal and ethical requirements of      9   this was, but yes.
   10   pharmacy to increase efficiency/profitability and       10       Q. Does this look like something you put
   11   improve overall pharmacy operations for handling        11   together?
   12   third party prescriptions."                             12       A. Yes.
   13           You "oversee the design, development,           13       Q. And can you flip through it and tell me
   14   implementation and maintenance of contracted third      14   if this looks like an accurate depiction of your
   15   party prescription programs and all state Medicaid      15   tenure?
   16   programs. Produces the strategy to mitigate risk        16       A. Yeah.
   17   in both Rx Integrity and Third Party Operations to      17       Q. Okay. Well, let's just start at the
   18   minimize loss of company assets."                       18   back, and we will go through these quickly. And
   19           Did I read that right?                          19   similar to the resume we just looked at as Polster
   20       A. Yes.                                             20   1, you start at the bottom with your education and
   21       Q. Where in that description does, as               21   then walk through your cashier, your intern, your
   22   you're head or the director of Pharmaceutical           22   staff pharmacist and then pharmacy manager.
   23   Integrity, does it include ensuring that Walgreens      23            Do you see that?
   24   is compliant with its role as a distributor?            24       A. Yep.
                                                     Page 111                                                 Page 113
    1      A. I mean, it's not specifically in here.             1       Q. And your pharmacy manager is you start
    2      Q. It's not even generally. The word                  2   to have more significant roles, you give a
    3   "distributor" doesn't even appear, right?                3   description underneath of the entry, correct?
    4      A. Right.                                             4       A. Yes.
    5      Q. Is there a reason for that?                        5       Q. And similar for the next entry, January
    6      A. Because I -- when I made this CV, it was           6   '97 to January of '03 as a pharmacy supervisor, you
    7   after we stopped distributing controlled                 7   give a description, correct?
    8   substances.                                              8       A. Yep.
    9      Q. But that doesn't change the scope of               9       Q. And then the next, on page 3 of 5,
   10   what your responsibility was during the time,           10   manager, pharmacy operating systems, you give
   11   correct?                                                11   several paragraphs of description in that role,
   12      A. True.                                             12   correct?
   13      Q. So, there is no description in your               13       A. Yes.
   14   resume about being affiliated in any shape, form or     14       Q. And the next role you had at Walgreens,
   15   fashion with ensuring that Walgreens was compliant      15   from '07 to '12, director, pharmacy operations
   16   as a distributor, correct?                              16   optimization, you again have multiple paragraphs
   17      A. Right.                                            17   elaborating on your --
   18      Q. Is that -- is that something you're               18       A. Right.
   19   embarrassed about or that you wouldn't want people      19       Q. -- your job, correct?
   20   to know that you were in a director role ensuring       20       A. Yes.
   21   that Walgreens was compliant as a distributor?          21       Q. But then we get to Walgreens, director
   22      A. No.                                               22   of Pharmaceutical Integrity and it says 2012 to the
   23      Q. Well, let me hand you what I will mark            23   present, which I think is around '14, and the entry
   24   as Polster 4.                                           24   is blank, correct?

   Golkow Litigation Services                                                         Page 29 (110 - 113)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further30Confidentiality
                                                       of 98. PageID #: 470049
                                                                           Review
                                                 Page 114                                                       Page 116
    1       A. What?                                           1   procedures were compliant with federal code and reg
    2       Q. Under Pharmaceutical Integrity,                 2   as a distributor?
    3   November 2012, on page 2 of 5.                         3       A. My job when I led the Pharmaceutical
    4       A. Oh.                                             4   Integrity team was to ensure that we were compliant
    5       Q. You provide no details, correct?                5   with the regulations around the controlled
    6       A. Yep, that's right.                              6   substances that were getting shipped to our stores.
    7       Q. So, not only do you not mention the word        7   If that's what you were saying, then yes.
    8   "distributor," there is no job description in          8       Q. How long would these meetings take place
    9   Pharmaceutical Integrity, correct?                     9   with the controlled substance task force in
   10       A. Right.                                         10   September, October, November, December?
   11       Q. Does that have anything to do with the         11       A. I mean, it could be all over the board.
   12   fact that you don't want the reader to know that      12   It depended on what we were working on
   13   you were involved with Walgreens ensuring its         13   specifically. It could be a 15-minute phone call.
   14   compliance as a role of distributor before the        14   It could be a two-hour meeting. I mean, there were
   15   settlement agreement was entered?                     15   a lot of workstreams that were within this, and I
   16       A. No.                                            16   was involved in a lot of them.
   17       Q. Nothing to do with that?                       17       Q. And was the pace pretty frantic in late
   18       A. No.                                            18   2012 with the controlled substance task force?
   19       Q. Just a coincidence that it's blank?            19       A. I wouldn't use the word "frantic." I
   20       A. I wouldn't say coincidence. I think            20   mean, there were -- there was a lot of work to do.
   21   it's an oversight on my part.                         21   But frantic would not be my adjective.
   22       Q. It's an oversight that you left it             22       Q. Stressful?
   23   blank?                                                23       A. Busy, time-constrained maybe.
   24       A. Right.                                         24       Q. Busy. Busy. You are comfortable with

                                                 Page 115                                                     Page 117
    1       Q. And is it also an oversight in your             1   busy?
    2   resume that when we look at the description of your    2       A. Yeah.
    3   job as senior director Pharmaceutical Integrity,       3       Q. And to enable -- to coordinate multiple
    4   that it doesn't list anything to do with               4   people on a similar task, there had to have been a
    5   distributors?                                          5   significant amount of written communication
    6       A. There is nothing malicious about this.          6   organizing everyone moving forward through late
    7   I just am not looking for a job. Before I was          7   '12, correct?
    8   looking for a promotion. That's why -- that's why      8       A. Yes.
    9   you put all your stuff in there, you know, so you      9       Q. Are you familiar with a company called
   10   can get recruiters and whatnot to come, you know,     10   Tableau? I might be mispronouncing it.
   11   find you and perhaps offer you a job that was         11       A. Oh. Tableau, yes.
   12   paying you more money or whatever.                    12       Q. What do you understand that Tableau is?
   13           Man, by the time Pharmacy Integrity hit,      13       A. My very limited knowledge was that it
   14   we hit the ground running and I was busy. I wasn't    14   could take data and put it into charts for you.
   15   looking for a job. So, let me tell you, my            15       Q. An interface between taking large
   16   LinkedIn profile was the least of my worries.         16   datasets and turning it into something user
   17       Q. So, your LinkedIn profile doesn't              17   friendly like a dashboard?
   18   mention anything to do with Pharmaceutical            18       A. Sure.
   19   Integrity and your -- your detailed,                  19       Q. I hand you what we are going to mark as
   20   several-page CV doesn't even use the word             20   P-WAG-222 and Polster 5.
   21   "distributor" in it, correct?                         21             (WHEREUPON, a certain document was
   22       A. Correct.                                       22              marked as Walgreens-Polster Exhibit
   23       Q. But you're not questioning today that          23              No. 5: 1/28/13 memo;
   24   your job was to ensure that Walgreens' policies and   24              WAGMDL00708763.)

   Golkow Litigation Services                                                        Page 30 (114 - 117)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further31Confidentiality
                                                       of 98. PageID #: 470050
                                                                           Review
                                                     Page 118                                                     Page 120
    1   BY MR. MOUGEY:                                             1      A. Yes.
    2      Q. This is dated January 28, 2013, and it's             2      Q. All right. So, and you said it was
    3   between you and Christopher Dymon, right?                  3   Mr. -- what was his name?
    4      A. Yes.                                                 4      A. Ray Stukel.
    5      Q. And Mr. Dymon was ultimately part of the             5      Q. Ray Stukel. It's right there in the
    6   Pharmaceutical Integrity group, correct?                   6   second bullet. And you believe that he was with
    7      A. Yes, at the time.                                    7   loss prevention?
    8      Q. And he was one of the first hires into               8      A. Yes.
    9   Pharmaceutical Integrity, correct?                         9      Q. Do you know what his job was with loss
   10      A. Yes.                                                10   prevention?
   11      Q. And I forget his exact title. Was he                11      A. No, but I know he was my data guy to
   12   one of the regional managers?                             12   help me put it into a chart.
   13      A. He was a -- yeah, divisional manager,               13      Q. Okay. So, if you wanted to see data in
   14   yeah.                                                     14   a nice chart, you'd call -- Ray would be one of the
   15      Q. And do you remember which division                  15   people you'd call?
   16   geographically?                                           16      A. Right.
   17      A. No.                                                 17      Q. Do you have an understanding of what
   18      Q. Did he have any kind of an analytic                 18   Mr. Stukel was using Tableau for?
   19   background?                                               19      A. I don't know what he was using it prior
   20      A. No.                                                 20   to us, that team.
   21      Q. Meaning kind of a data guy or was he                21      Q. Okay. How about once your team got
   22   more on the pharmacy?                                     22   started and the task force and you identified
   23      A. Yeah, he's a pharmacist by trade.                   23   Mr. Stukel as somebody that could help you with
   24      Q. Okay. So, if you go down to the -- it               24   charts and graphs, did you have an understanding of
                                                       Page 119                                                   Page 121
    1   looks like -- 1, 2, 3 -- fourth header, "Controlled        1 what he was looking at as a member of loss
    2   Substance District-Store Level Tableau Reports"?           2 prevention?
    3      A. Yes.                                                 3       A. I don't know what he was looking at
    4      Q. So, what's entered here is "Goal is to               4   specifically, but I know what I asked him for.
    5   visually summarize CSOM data into a useful and             5       Q. Okay. Did he tell you what Tableau was
    6   usable document on the district and store level."          6   capable of pulling? Did he give you a menu or a --
    7          So, were you all using Tableau?                     7       A. No.
    8      A. We weren't personally. But the next                  8       Q. -- a list? How would you even know what
    9   line, Ray Stukel, he was working in the -- I think         9   to ask for?
   10   he was in the loss prevention division, and he had        10       A. Well, what I was looking at specifically
   11   the Tableau license; and so he helped us put things       11   was related to the work that my team was doing,
   12   into Tableau so that we could see charts and              12   and, you know, how many -- how many orders was each
   13   graphs.                                                   13   division reviewing, did we have, you know, one
   14      Q. If I use the word "dashboard," does that            14   division have more than others, depended on, you
   15   make sense to you? So, like if you were to pull up        15   know, the number of stores that were in that area,
   16   a screen, a window on your computer and there might       16   et cetera.
   17   be, you know, charts and graphs and different boxes       17       Q. Is it fair to say that Mr. Stukel
   18   with different metrics?                                   18   provided support with pulling data for
   19      A. Yes.                                                19   Pharmaceutical Integrity for you all to do your
   20      Q. Is that -- is that -- that's how I am               20   work on Walgreens' responsibility as both a
   21   using the word in the concept "dashboard."                21   distributor and a dispenser?
   22      A. Okay.                                               22       A. Yes, he provided support for data.
   23      Q. Would Tableau give you a dashboard with             23       Q. And do you have a time context that
   24   different metrics related to with Walgreens data?         24   Mr. Stukel provided support for data?

   Golkow Litigation Services                                                            Page 31 (118 - 121)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further32Confidentiality
                                                       of 98. PageID #: 470051
                                                                           Review
                                                        Page 122                                                 Page 124
    1      A. Well, definitely it was 2013, but he                  1   work was equally distributed?
    2   went on to another job and I don't remember when            2       A. Not equally distributed because I had it
    3   that was. But for sure it was during 2013.                  3   broken out by division.
    4      Q. All right. You suggest earlier that you               4       Q. Okay.
    5   recalled what kind of data you asked him for?               5       A. But, you know, like, for example, a
    6      A. Yes.                                                  6   Florida, Illinois, a California is going to have a
    7      Q. Would you walk me through what you                    7   lot more stores than Idaho and Wyoming.
    8   believe you asked him for?                                  8           And so we had to make sure that we had
    9      A. I wanted to know the number of orders                 9   enough people that were overseeing those specific
   10   that my team was reviewing in order to, and I know         10   states, right?
   11   I'm not going to remember all this, I will just put        11       Q. Right.
   12   that out there right now, but in order to make sure        12       A. Because you're going to see more
   13   that the workload or distribution was appropriate          13   scripts -- sorry -- more orders come in if you've
   14   for the number of people that we had working for           14   got more stores in that area.
   15   that particular manager in the division.                   15       Q. So, when you asked Mr. Stukel to help
   16      Q. Now, you used the word "order," "number              16   you pull whatever charts or graphs it was, how
   17   of orders my team was reviewing." What do you mean         17   would it come to you?
   18   by that?                                                   18       A. Generally came in a -- I can't
   19      A. So, when the ordering system creates an              19   remember -- either a pie chart or one of those
   20   order based on usage at store level, the way the           20   waterfall charts or the bars.
   21   order -- the order monitoring system works is it           21       Q. Okay. So, it would come in in some sort
   22   gets reviewed and hits up against the algorithm            22   of a chart or a graph?
   23   that Wayne built.                                          23       A. Yeah, yeah, a graph of some sort.
   24      Q. Okay.                                                24       Q. Did you ever go and sit with Mr. Stukel
                                                      Page 123                                                   Page 125
    1       A. And if that order exceeds that                       1   and look over his shoulder at the Tableau
    2   threshold, then we would look at it to ensure               2   interface?
    3   that -- well, no. It's not even allowed to exceed           3       A. No.
    4   the threshold.                                              4       Q. Did your group ever use the Tableau
    5           The stores have to submit a form that               5   interface within Pharmaceutical Integrity?
    6   has all the documentation as to why they would need         6       A. I don't -- I don't know if they used it.
    7   more than what the algorithm says that it should.           7   It required a license, and I can't remember how
    8       Q. Okay.                                                8   many licenses we had.
    9       A. And then once it's reviewed, then we                 9       Q. So, Walgreens was constrained just by
   10   release the order. We released it at the time to           10   the number of licenses?
   11   our distribution center and now we release it to           11       A. Yes.
   12   our wholesaler.                                            12       Q. And you're obviously familiar if
   13       Q. When you say they submit a form, is that            13   Walgreens wanted to spend a little more money on
   14   the override form?                                         14   licenses, more people could have had it?
   15       A. Yes.                                                15       A. I don't know how that worked.
   16       Q. So, you wanted help looking at the                  16       Q. You don't know. Let me make sure we're
   17   number of orders that were assigned to each one of         17   on the same page still.
   18   your managers to review so that you knew how many          18           So, Tableau is an interface that is able
   19   override forms they were looking at?                       19   to extract specific Walgreens data and could be
   20       A. Override forms and just work in general,            20   used for monitoring purposes for Walgreens to fill
   21   to make sure that we could get to all of the work          21   its role as a distributor and a pharmacy?
   22   appropriately so that the stores were taken care of        22       MR. HOUTZ: Object on foundation.
   23   if they needed anything.                                   23   BY THE WITNESS:
   24       Q. Were you trying to make sure that the               24       A. I don't know.

   Golkow Litigation Services                                                            Page 32 (122 - 125)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further33Confidentiality
                                                       of 98. PageID #: 470052
                                                                           Review
                                                    Page 126                                                      Page 128
    1   BY MR. MOUGEY:                                            1       A. Yes.
    2      Q. You don't know what Tableau is?                     2       Q. And depending on the project, they would
    3      A. Well, I know Tableau is a -- is a user              3   be different war rooms?
    4   interface for data.                                       4       A. Yes.
    5      Q. Okay.                                               5       Q. And maybe a conference room just like
    6      A. But I don't know what all it was used               6   this where everybody could go and meet and the
    7   for. I know what I used it for.                           7   material was already gathered and laid out there.
    8      Q. Well, that's fair enough. I'm not                   8   Is that fair?
    9   asking you for a crystal ball. I'm asking what you        9       A. Yes.
   10   and your group used Tableau for.                         10       Q. So, in late 2012, there were some
   11      A. Okay.                                              11   references to a war room with Pharmaceutical
   12      Q. You and your group used Tableau to                 12   Integrity. Do you recall that?
   13   extract Walgreens data. Yes?                             13       A. Yeah, I was -- it was called lots of
   14      A. Yes.                                               14   things. So, yes.
   15      Q. And put it into a chart or a form,                 15       Q. Okay. So, did you have, you meaning
   16   correct?                                                 16   Pharmaceutical Integrity, have a -- I'm going to
   17      A. Yes.                                               17   call it an educational process where people that
   18      Q. That would assist you in determining               18   came into your group on a rolling basis where you
   19   whether or not Walgreens was meeting its                 19   educated them on what the system was prior to the
   20   responsibilities as a distributor?                       20   creation of Pharmaceutical Integrity?
   21      A. No.                                                21       MR. HOUTZ: Object to form.
   22      Q. You used the data extracted from                   22   BY THE WITNESS:
   23   Mr. Stukel through Tableau to help you in your           23       A. When you say "system," can you be more
   24   day-to-day job in Pharmaceutical Integrity?              24   specific?
                                                      Page 127                                                      Page 129
    1      A. Yes.                                                1   BY MR. MOUGEY:
    2      Q. Okay. Now, late 2012, early 2013, are               2       Q. Really just anything.
    3   you familiar with the word "war room"?                    3       A. Oh.
    4      A. Yes.                                                4       Q. How did you get people up to speed --
    5      Q. And that you and the team as it was                 5       A. Yeah.
    6   developing worked out of a war room frequently,           6       Q. -- with what Walgreens' system was prior
    7   correct?                                                  7   to 2013?
    8      A. Yes.                                                8       MR. HOUTZ: Object to form.
    9      Q. And would you describe, as you all used             9   BY THE WITNESS:
   10   the term "war room" internally, what you meant by        10       A. We would give a very short overview, but
   11   war room?                                                11   we would -- listen, we had a lot of work and a lot
   12      A. There are lots of war rooms, you know,             12   of things going on. We didn't have a lot of time
   13   depending on what the thing was and, you know, my        13   to educate for days and days.
   14   definition of it -- of a war room was a task force       14          So, depended on what the project was.
   15   of some sort that has one specific room that they        15   Was it the learning and development team, was it
   16   can go to to finish solving the problem of whatever      16   the communications team, which team was coming in,
   17   the problem is.                                          17   we'd give them a high level overview, tell them
   18          There were lots of war rooms. There was           18   what we needed to do and then we'd get to work.
   19   a war room for Hurricane Katrina. There were, you        19   BY MR. MOUGEY:
   20   know, lots of war rooms.                                 20       Q. When you say the learning and
   21      Q. So, material, documents, things would be           21   development team and the communications team, what
   22   gathered in a room where people could go and meet        22   do you mean?
   23   and it was spread out on a table for quick and easy      23       A. So, learning and development, that team
   24   access. Is that fair?                                    24   helps us launch policies and documents our

   Golkow Litigation Services                                                           Page 33 (126 - 129)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further34Confidentiality
                                                       of 98. PageID #: 470053
                                                                           Review
                                                   Page 130                                                          Page 132
    1   pharmacists acknowledging those policies that they       1      A. Hydrocodone.
    2   saw them, that they understand them.                     2      Q. All right. And you wanted to know how
    3           The communication team helps us take the         3   many dosage units per script so you could perform
    4   information that we're trying to get down to store       4   some analysis. Is that what you're asking?
    5   level and put it into consistent format so the           5      A. Yes.
    6   stores can read it efficiently and, you know, get        6      Q. And if you needed data like that, is
    7   it to the point.                                         7   that a typical exchange between you and Mr. Stukel
    8           People that are not communication                8   as you were trying to gather information?
    9   specialists sometimes can be wordy. Stores don't,        9      A. Yes, at the time, yes.
   10   you know, want to read all that. They just need to      10      Q. And Mr. Stukel responds. He said,
   11   understand what the point is of whatever it is          11   "Hi Tasha - the standard Tableau workbook is now on
   12   you're sending out.                                     12   the shared drive in the Rx Integrity folder under
   13       Q. Let me stick on this Tableau for a               13   'Ad Hoc Analyses.' The file is called 'District
   14   minute. Do you know -- are you familiar with what       14   116' because I pulled info for all the district
   15   a Tableau workbook is?                                  15   stores that we could compare 11137 to its local
   16       A. No. I may have seen one, but I don't             16   peers."
   17   know.                                                   17           Do you see that, sir?
   18       Q. Are you familiar with what a shared              18      A. Yes.
   19   drive is at Walgreens?                                  19      Q. "A quick review of the dashboard
   20       A. Yes.                                             20   suggests that this store is pretty similar to the
   21       Q. And that Rx Integrity had their own              21   others within the district and there are a few
   22   folder?                                                 22   doctors who are writing substantial proportions of
   23       A. Yes.                                             23   the store's Rx for some of the high volume
   24       Q. And people from around Walgreens would           24   hydrocodone products (seen most clearly on the PBR

                                                     Page 131                                                       Page 133
    1   include material in that shared Rx Integrity folder      1   scatter page)."
    2   so your team could access it?                            2           Do you see that, sir -- ma'am?
    3      A. My team, yes.                                      3       A. Yes.
    4      Q. Okay. I hand you what I will mark as               4       Q. So, this type of e-mail exchange with
    5   Polster 6.                                               5   Mr. Stukel was fairly common where you were asking
    6             (WHEREUPON, a certain document was             6   him to pull the underlying data through the Tableau
    7              marked as Walgreens-Polster Exhibit           7   interface and asking him to organize it so that it
    8              No. 6: 2/8/13 e-mail string;                  8   kind of made sense for you?
    9              WAGMDL00101769 - 00101770.)                   9       A. Yes.
   10   BY MR. MOUGEY:                                          10       Q. You'd agree that the amount of data at
   11      Q. This is an e-mail exchange from the               11   Walgreens, you know, with 5,000 plus stores is a
   12   beginning of 2013, February 7 to February 8,            12   little overwhelming?
   13   between you and Mr. Stukel, the same gentleman we       13       A. Yes.
   14   were just referring to out of loss prevention.          14       Q. And having it organized in some sort of
   15           Do you see that?                                15   a chart or a graph or a scatterplot is very
   16      A. Yep.                                              16   helpful, correct?
   17      Q. The data guy. So, you had asked him --            17       A. Yes.
   18   I'm in the middle of the page, Bates No. 1769 --        18       Q. And did you have the ability as director
   19   "Ray, would you run all HC products for this store.     19   of Pharmaceutical Integrity in 2013 to just pull
   20   I need to be able to see quantities per Rx for what     20   data from Walgreens' server so you could organize
   21   is written."                                            21   pills and dosage units and find hot spots or any of
   22           Do you see that?                                22   that?
   23      A. Yes.                                              23       A. No, I could not do it.
   24      Q. Now, HC stands for?                               24       Q. And you couldn't do it because you

   Golkow Litigation Services                                                           Page 34 (130 - 133)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further35Confidentiality
                                                       of 98. PageID #: 470054
                                                                           Review
                                                        Page 134                                                 Page 136
    1   didn't have the technical know-how or because there         1   between you and Mr. Mills, correct?
    2   wasn't an interface established for you to just             2       A. Yes.
    3   kind of click on what you wanted to pull?                   3       Q. And it's dated February 14, 2013,
    4      A. Both.                                                 4   correct?
    5      Q. All right. So, there was ultimately a                 5       A. Yes.
    6   dashboard that was created for Pharmaceutical               6       Q. And another reference to Tableau in the
    7   Integrity, correct?                                         7   third section down, correct?
    8      A. I don't remember dashboard. I know                    8       A. Yep.
    9   that -- I mean -- and this was a long time ago. I           9       Q. And Mr. Mills -- and what was Mr. Mills'
   10   remember working with Ray and having him pull data         10   role within Pharmaceutical Integrity?
   11   and helping me understand the data. But when you           11       A. He was an analyst that reported up into
   12   say dashboard, I don't remember going in and               12   one of the managers.
   13   looking at a dashboard or anything like that.              13       Q. So, more -- more of a data guy?
   14      Q. He references even dashboard here, "a                14       A. Yeah.
   15   quick review of the dashboard."                            15       Q. And "This week I gained access to the
   16           Do you see that?                                   16   queries Ray uses to create the Tableau tables."
   17      A. Yes.                                                 17           Do you see that?
   18      Q. All right. What would you call it if                 18       A. Yep.
   19   you pull it up and there were a lot of graphs and          19       Q. "I just need Tableau and we will be able
   20   charts organizing data like quantities for                 20   to access" -- "and we will be able to create the
   21   hydrocodone for the store?                                 21   tables as needed basis without going to Ray."
   22      A. Again, I don't remember this exact pull.             22           That would make sense, right?
   23   I don't remember what he gave me. But I never went         23       A. Yep.
   24   into my shared drive, ever. My people, they messed         24       Q. Your group should be able to do that
                                                       Page 135                                                  Page 137
    1   with the shared drive. I did not. If I needed               1   internally as you were building out and the process
    2   something, I asked them to send it to me directly.          2   was being able to build out within your own group,
    3      Q. Okay. Who is somebody on your staff                   3   correct?
    4   that -- that you felt like had a good command of            4       A. Yes.
    5   the Tableau workbook and knew what information was          5       Q. Bullet, the next bullet under "Tableau
    6   there?                                                      6   Reporting Dashboards, Rx checklist data is ready to
    7      A. We didn't use Tableau much past 2013. I               7   be deployed to the field. We just need to agree on
    8   mean, after -- after Ray left his job and went to           8   a day to send out the reports."
    9   whatever job he went to, I relied pretty heavily on         9          Do you have an understanding what "Rx
   10   Ed Bratton to put together graphs and charts for           10   checklist data" is?
   11   me. But I don't remember if he used Tableau or if          11       A. I don't remember what that was.
   12   he used some other form.                                   12       Q. Let's go to the "Cardinal SOM."
   13      Q. And Steve Mills was a member of your                 13       A. Okay.
   14   group too, correct?                                        14       Q. A part of your job description was third
   15      A. Yes, he was.                                         15   party -- I can't remember the exact terminology.
   16      Q. Hand you what I will mark as -- it's                 16       A. Third party operations.
   17   P-WAG-2619.                                                17       Q. Third party operations. Did that
   18              (WHEREUPON, a certain document was              18   include overseeing Walgreens' relationships with
   19               marked as Walgreens-Polster Exhibit            19   third-party vendors who were distributors?
   20               No. 7: 4/19/13 e-mail with                     20       A. No.
   21               attachment; WAGMDL00245768 -                   21       Q. Okay. What was that?
   22               00245769.)                                     22       A. Third party operations is the billing of
   23   BY MR. MOUGEY:                                             23   insurance cards. So, when a patient comes in and
   24      Q. Do you see this is another internal memo             24   brings in insurance -- it has nothing to do with

   Golkow Litigation Services                                                            Page 35 (134 - 137)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further36Confidentiality
                                                       of 98. PageID #: 470055
                                                                           Review
                                                      Page 138                                                 Page 140
    1   Pharmacy Integrity. Completely different                  1      Q. ANDA was another, correct?
    2   workstream entirely.                                      2      A. I don't remember when ANDA came on
    3            So, when you or a patient comes in with          3   board, but they are a distributor for us now.
    4   your insurance card from Cigna or whatever, hand it       4      Q. Yes, ma'am. And ABC as well, correct?
    5   to the pharmacy. Pharmacy has to enter in the data        5      A. Yes.
    6   and then you have a -- when the prescription gets         6      Q. AmerisourceBergen. Now, we're going to
    7   processed, the co-pay comes out, and we ensure that       7   get into the specifics of the suspicious order
    8   it's billed correctly.                                    8   monitoring policy, but while we are on this doc,
    9       Q. If you had --                                      9   just bear with me for a second.
   10       A. Patients are taken care of.                       10          You've mentioned and just in the last
   11       Q. Sorry. Didn't mean to interrupt you.              11   series of questions we talked about the number of
   12            If you had -- do you have an estimate in        12   orders that your team was reviewing, correct?
   13   2013 of how much of your time went to                    13      A. Yes.
   14   Pharmaceutical Integrity and how much of your time       14      Q. And if an order exceeded a certain
   15   went to the third party operations you just              15   threshold, Walgreens reduced that order, correct?
   16   described?                                               16      A. No, we didn't reduce it.
   17       A. The majority of the work -- of the time           17      MS. FIX MEYER: Objection.
   18   went to Pharmaceutical Integrity because it was new      18   BY MR. MOUGEY:
   19   and just getting up to speed and I'm still hiring        19      Q. That you canceled the order and told the
   20   people and making sure they know what to do.             20   pharmacy that it had to be -- couldn't be any
   21       Q. Did your pay come from two different              21   higher than X, correct?
   22   groups within Walgreens?                                 22      MR. HOUTZ: Object to form.
   23       A. My paycheck?                                      23   BY THE WITNESS:
   24       Q. Your paycheck.                                    24      A. Not exactly.
                                                    Page 139                                                   Page 141
    1       A. No.                                                1   BY MR. MOUGEY:
    2       Q. Was it split between budget items                  2       Q. You just tell me what you think you did.
    3   between two different groups?                             3       A. Well, I can tell you what I know I did.
    4       A. Oh. No.                                            4       Q. Go ahead.
    5       Q. So, when you say majority of your time,            5       A. So, when the order exceeded the limit,
    6   is that 55, 60% went to Pharmaceutical Integrity?         6   the store was not shipped product. And then we
    7       A. I'd say probably 75%.                              7   developed a tool to let the stores know if they
    8       Q. Was that consistent all the way through            8   were reaching their ceiling, and we gave them
    9   '13 or did it get -- lighten up?                          9   visibility into the number of bottles that they
   10       A. No, it stayed pretty consistent. A                10   would be able to order but they couldn't go over
   11   lot -- the majority of the time that I spent was on      11   the order unless they filled out the controlled
   12   Pharmaceutical Integrity because the third party         12   substance order form that had all the proper
   13   operations team was already up and running and I         13   documentation as to why they needed it.
   14   had leaders on that team.                                14       Q. Yes, ma'am. I'm sure they did.
   15       Q. So, let's just go down to the Cardinal            15           So, once you told them what the
   16   entry. I just want to understand.                        16   threshold was and told them what they could order,
   17       A. Sure.                                             17   then they ordered up to that amount, correct, and
   18       Q. You would agree that in addition to               18   that's called -- that's called a threshold?
   19   Walgreens as a distributor, Walgreens also used the      19       MR. HOUTZ: Object to form.
   20   services of other third party distributors,              20       MS. FIX MEYER: Objection; form.
   21   correct?                                                 21   BY THE WITNESS:
   22       A. Yes.                                              22       A. In some cases they used it. In a lot of
   23       Q. Cardinal was one of them, correct?                23   cases they didn't. It took a long time to get them
   24       A. Yes.                                              24   trained.

   Golkow Litigation Services                                                          Page 36 (138 - 141)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further37Confidentiality
                                                       of 98. PageID #: 470056
                                                                           Review
                                                  Page 142                                                        Page 144
    1   BY MR. MOUGEY:                                         1   telling you the truth. I mean, you got to take
    2       Q. I'm sure it did. So, under "Cardinal            2   care of the patients. And so --
    3   SOM," that stands for suspicious order monitoring,     3   BY MR. MOUGEY:
    4   correct?                                               4       Q. The question I asked you was simple.
    5       MS. FIX MEYER: Object to form.                     5           Does the store have the ability to go to
    6   BY THE WITNESS:                                        6   another vendor and order controlled substances
    7       A. Yes.                                            7   after they hit the ceiling at Walgreens?
    8   BY MR. MOUGEY:                                         8       MR. HOUTZ: Next time please let her finish
    9       Q. On the third bullet down, "About 60% of         9   her answer before you interrupt.
   10   these orders are legitimate orders that should be     10       MR. MOUGEY: The next time I'd like to have an
   11   canceled."                                            11   answer to the question that I asked.
   12          The last sentence says, "These are             12   BY MR. MOUGEY:
   13   stores who are over their corporate ceiling." And     13       Q. The vendors --
   14   corporate ceiling is Walgreens' corporate ceiling,    14       MR. HOUTZ: If you allow her to finish your
   15   correct?                                              15   answer, you may get an answer.
   16       A. Yes.                                           16   BY MR. MOUGEY:
   17       Q. Means that they weren't allowed to order       17       Q. The vendors -- I'm sorry.
   18   any more, correct?                                    18           The pharmacies are allowed to order
   19       A. Without proper documentation, yes.             19   additional controlled substance, highly addictive,
   20       Q. And -- but "they are going to Cardinal         20   like OxyContin that we talked about earlier, once
   21   to request the product."                              21   they hit the ceiling, that store can go to Cardinal
   22          Do you see that?                               22   and order additional oxycodone, correct?
   23       A. Yep.                                           23       MS. FIX MEYER: Objection; form, foundation.
   24       MS. FIX MEYER: Objection to form.                 24       MR. HOUTZ: Same objection.

                                                  Page 143                                                      Page 145
    1   BY MR. MOUGEY:                                         1   BY MR. MOUGEY:
    2       Q. So, Walgreens' system, if a store               2      Q. Yes or no.
    3   exceeded the ceiling, they were told no more           3      A. I'm not going to yes or no answer that.
    4   Schedule II or Schedule III controlled substances      4   I'm going to tell you what happened.
    5   from us, correct, Walgreens?                           5      Q. No, I want to know if they have the
    6       A. They didn't know. So --                         6   ability. That's all I asked.
    7       Q. They knew they couldn't order any more,         7      A. Yes.
    8   correct?                                               8      Q. Do they have the ability to order --
    9       A. They wouldn't know because -- they              9      A. Yes.
   10   wouldn't know until the order was due to show up.     10      Q. -- more oxycodone from another vendor
   11       Q. And it didn't show up and they knew they       11   like Cardinal after Walgreens' ceiling has been
   12   didn't get it, correct?                               12   hit?
   13       A. Right, but they didn't know why.               13      MS. FIX MEYER: Objection; form, foundation.
   14       Q. So, they knew they didn't get the order        14   BY THE WITNESS:
   15   from Walgreens, correct?                              15      A. On this date, yes.
   16       A. Correct.                                       16   BY MR. MOUGEY:
   17       Q. And they didn't know why, but they             17      Q. Yes. Thank you.
   18   didn't get it from Walgreens but then Walgreens       18      MR. MOUGEY: Les, if it's okay with you, it's
   19   allowed up until a period in time for that store to   19   a good stopping point for me for lunch.
   20   put it in an order from another vendor, correct?      20      MR. HOUTZ: Sure.
   21       MR. HOUTZ: Object to form and foundation.         21      MR. MOUGEY: I am planning on using the seven
   22   BY THE WITNESS:                                       22   hours today. So, I just want to give everybody a
   23       A. Walgreens -- any pharmacy has secondary        23   heads-up as we go through. I'm happy to take a
   24   wholesalers if the one wholesaler -- I'm just         24   shorter or longer lunch as you and Ms. Polster

   Golkow Litigation Services                                                         Page 37 (142 - 145)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further38Confidentiality
                                                       of 98. PageID #: 470057
                                                                           Review
                                                         Page 146                                                    Page 148
    1 would like with that.                                          1       A. No, we focused on the system that we
    2     MR. HOUTZ: Let's do the 45 minutes lunch.                  2   were using at the time for suspicious order
    3     MR. MOUGEY: 45? How much time have we used?                3   monitoring.
    4     THE VIDEOGRAPHER: We have been on the record               4       Q. On Day 1, it didn't -- was there a
    5 for 2 hours and 32 minutes.                                    5   Day 1, when Pharmaceutical Integrity started?
    6     MR. MOUGEY: 2-1/2 hours. Thank you. We will                6       A. Well, the task force was doing its work
    7 take a 45-minute lunch. So, it means, let's just               7   and then my team started getting hired and brought
    8 come back in at 1:00. How's that?                              8   in and then they handed over the suspicious order
    9     MR. HOUTZ: We'll back at 1:00.                             9   monitoring to my team once I had people in place.
   10     MR. MOUGEY: Thank you.                                    10       Q. But the question I asked you was: You
   11     THE VIDEOGRAPHER: We are off the record at                11   all focused on the previous system. You said no,
   12 12:13 p.m.                                                    12   we were using the system that was in place.
   13           (WHEREUPON, a recess was had                        13          So, was there a clean line of on Monday
   14           from 12:13 to 1:05 p.m.)                            14   morning we began with our system and there was no
   15     THE VIDEOGRAPHER: We are back on the record               15   more previous system?
   16 at 1:05 p.m.                                                  16       A. No, but there was tweaks along the
   17 BY MR. MOUGEY:                                                17   system. So, I need to understand which system you
   18     Q. Ms. Polster, you're familiar with Edward               18   were talking about, but --
   19 Bratton, correct?                                             19       Q. Actually I need to understand which
   20      A. Yes.                                                  20   system you're talking about.
   21      Q. And he's a member of your team, correct?              21       A. Okay.
   22      A. Yes.                                                  22       Q. So, when you say there are tweaks, the
   23      Q. And he came on with Pharmaceutical                    23   previous system, our system, I'm not quite
   24   Integrity in the beginning of 2013, correct?                24   understanding. Okay?

                                                     Page 147                                                      Page 149
    1       A. Yes.                                                  1      A. Okay.
    2       Q. And I think you mentioned that your                   2      Q. The basis for the system that
    3   group was busy with its charge of working on issues          3   Pharmaceutical Integrity used was the algorithm
    4   related to Walgreens as a distributor and a                  4   that Wayne Bancroft wrote, correct?
    5   pharmacy ensuring that it was in compliance with             5      A. Yes.
    6   federal regs and statutes, correct?                          6      Q. How about we'll call that the "Wayne
    7       A. Yes.                                                  7   Bancroft algorithm"?
    8       Q. And the frequent meetings continued as                8      A. Okay.
    9   you brought new people on board like Mr. Bratton,            9      Q. Okay. And that was the foundation of
   10   correct?                                                    10   the system from 2008 all the way until Walgreens
   11       A. Yes.                                                 11   stopped distributing, correct?
   12       Q. And Mr. Bratton was part of the process              12      MR. HOUTZ: Object to form.
   13   of getting up to speed about what was necessary to          13   BY THE WITNESS:
   14   fill your group's mission, correct?                         14      A. I don't know.
   15       A. Yes.                                                 15   BY MR. MOUGEY:
   16       Q. And just like all the members of your                16      Q. What part of that do you not know, from
   17   group, you all had regular meetings covering the            17   the 2008 part?
   18   topics that were necessary for you all to ensure            18      A. Correct.
   19   Walgreens was in compliance as a distributor,               19      Q. So, how about from 2012 when you became
   20   correct?                                                    20   part of the controlled substance task force until
   21       A. Yes.                                                 21   Walgreens stopped distributing, you're comfortable
   22       Q. And part of the topic of those meetings              22   that the Bancroft algorithm was the foundation?
   23   was that you all looked at Walgreens' previous              23      A. Yes.
   24   system before your group was in place, correct?             24      Q. And there were, I think in your words,

   Golkow Litigation Services                                                              Page 38 (146 - 149)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further39Confidentiality
                                                       of 98. PageID #: 470058
                                                                           Review
                                                       Page 150                                                        Page 152
    1   tweaks to the Bancroft algorithm from the                    1   does not have previous sales for that particular
    2   controlled substance task force until Walgreens              2   drug, the system would not order in quantities as
    3   stopped distributing. Is that fair?                          3   readily as what they would need it.
    4       A. We're still using that system today, but              4       Q. Okay.
    5   yes.                                                         5       A. So, for example, if a new manufacturer
    6       Q. Right. But you're not distributing                    6   became our primary for a certain NDC number, if we
    7   today, correct?                                              7   didn't make a tweak in the system, none of the
    8       A. Correct.                                              8   stores would have gotten more than one bottle even
    9       Q. So, that's why in my questions, so I                  9   if they started dispensing it.
   10   didn't have the confusion and the objections from           10           So, we would have to make a tweak in the
   11   Mr. Les over there about continuing past the time           11   system in order to basically move the reordering
   12   you were no longer distributing.                            12   from the old NDC number to the new NDC number.
   13           Walgreens stopped distributing late                 13       Q. Okay. Can I stop you there? Am I
   14   2014. Fair enough?                                          14   interrupting anything?
   15       A. Yes.                                                 15       A. Yeah.
   16       Q. Okay. So, I'm talking about from when                16       Q. So, what I'd like you to do is kind of
   17   you joined the task force in September of 2012 to           17   give me a laundry list that you can remember about
   18   the point when Walgreens stopped distributing in            18   the modifications that were made.
   19   late '14, the Bancroft algorithm was the                    19       A. Sure.
   20   foundation?                                                 20       Q. Or the controls.
   21       A. Yes.                                                 21       A. Sure.
   22       Q. Is that fair?                                        22       Q. And then we'll drill down a little bit
   23       A. Yes.                                                 23   more specifically.
   24       Q. Okay. And there were modifications or                24           So, what would you call what you just

                                                         Page 151                                                    Page 153
    1   tweaks made along the way, correct?                          1   described? The new manufacturer, is that --
    2       A. Yes.                                                  2      A. Yeah, yeah. New manufacturer --
    3       Q. Now, so, when we were talking about what              3      Q. New manufacturer.
    4   system's in place, the core is Mr. Bancroft's                4      A. -- was a tweak.
    5   algorithm?                                                   5      Q. What was another tweak?
    6       A. Okay.                                                 6      A. Ensuring that every order went through
    7       Q. All right. So, was part of the mission                7   the system first before a store could get a product
    8   of the controlled substance task force to look at            8   regardless of where they were getting it from.
    9   the algorithm that was in place from Mr. Bancroft            9      Q. Okay. So, whether they got it from
   10   and add or tweak or modify?                                 10   another vendor or interstore, it had to go through
   11       A. Not exactly in terms of looking at the               11   the algorithm?
   12   algorithm.                                                  12      A. Correct.
   13       Q. That the algorithm itself wasn't                     13      Q. So, what do you want to call that, that
   14   changed, but there were kind of add-ons?                    14   the algorithm reviewed all controlled substance
   15       A. Yes.                                                 15   orders?
   16       Q. Some controls. Is that fair?                         16      A. Yes.
   17       A. Yes.                                                 17      Q. Is that fair?
   18       Q. So, is one of those controls -- why                  18      A. Yep.
   19   don't you just walk me through what your                    19      Q. Okay. So, what other modifications?
   20   understanding or your recollection of the controls          20      A. I don't remember. Those are -- those
   21   were?                                                       21   were the main ones that come to mind.
   22       A. So, the -- the system is designed to do              22      Q. How about the modification about that --
   23   a historical lookback by NDC number, and one of the         23   that was pre-you -- that an order that was flagged
   24   controls that is put in place is that if the store          24   by the Bancroft algorithm was cut?

   Golkow Litigation Services                                                               Page 39 (150 - 153)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further40Confidentiality
                                                       of 98. PageID #: 470059
                                                                           Review
                                                    Page 154                                                   Page 156
    1      A. You mean not shipped?                              1   made based on that new information.
    2      Q. Yes, ma'am.                                        2      Q. So, as you learned more and as you got
    3      A. What about it?                                     3   up to speed, there were a different -- there were
    4      Q. That's pre-you, though, wasn't it?                 4   additional controls that needed to be implemented?
    5      A. Yes.                                               5      A. There were -- there were changes that
    6      Q. Yes. When you got there, if an order               6   needed to be made, yes.
    7   was flagged by the Bancroft algorithm, it was -- is      7      Q. All right. And it didn't all happen at
    8   the word "cut"? Are you okay with that? Or what's        8   once --
    9   the right terminology you'd use?                         9      A. Right.
   10      A. It was not shipped at all.                        10      Q. -- is what you're saying. It was over a
   11      Q. Not shipped?                                      11   period of time?
   12      A. Right.                                            12      A. Right.
   13      Q. But the store was allowed to order up to          13      Q. And when -- and I'm trying not to use --
   14   that threshold, correct? They had to enter a new        14   I'm trying to use the word you feel comfortable
   15   order in?                                               15   with. Is control, an additional control? What
   16      A. Yes.                                              16   term would you use?
   17      Q. So, it was not shipped, but then the              17          You didn't like the modification to the
   18   store could reenter an order up to the ceiling          18   algorithm. So, I'm trying to find a word you're
   19   level, correct?                                         19   comfortable with.
   20      A. Yes, but the store didn't have                    20      A. Yeah, controls, that's fine.
   21   visibility into that ceiling level.                     21      Q. Is control okay?
   22      Q. I understand.                                     22      A. Yeah.
   23      A. Okay.                                             23      Q. That there were issues that your team
   24      Q. I understand that's your drumbeat.                24   was identifying along the way, they were trying to
                                                     Page 155                                                  Page 157
    1       A. Yeah.                                             1   find solutions and then implementing a control to
    2       Q. But right now if the order wasn't                 2   kind of close --
    3   shipped, they were allowed to ship up to that            3      A. The goal was to have consistency on how
    4   ceiling level, correct?                                  4   the stores would order; and as things popped up
    5       A. Sure.                                             5   that created confusion for patient care and was
    6       Q. Okay. Now, your team knew that there              6   happening at store level, then we made adjustments
    7   were modifications that needed to be made to the         7   along the way to, you know, decrease any type of
    8   Bancroft algorithm, correct?                             8   confusion a store would have in getting a product.
    9          Actually, you corrected me before about           9      Q. Would you feel comfortable with the word
   10   the Bancroft. Let's use your language, whatever         10   that when Pharmaceutical Integrity started, that
   11   you feel comfortable with.                              11   there were loopholes in the system that needed to
   12          So, rather than me saying changing the           12   be closed with additional controls to ensure
   13   algorithm, how about your team was aware that there     13   compliance with Walgreens' duties as a distributor?
   14   were -- that controls were needed to ensure that        14      A. Those -- I think there were gaps. I
   15   all orders were going through the Walgreens             15   don't know about loopholes.
   16   suspicious order monitoring system?                     16      Q. Let's use the word "gaps." I'm
   17       MR. HOUTZ: Object to form.                          17   comfortable with "gaps."
   18   BY THE WITNESS:                                         18      A. Okay.
   19       A. I don't agree when you say they were             19      Q. So, there were gaps in Walgreens'
   20   aware.                                                  20   policies and procedures with its distribution of
   21   BY MR. MOUGEY:                                          21   controlled substances that your team was
   22       Q. Okay.                                            22   identifying and addressing throughout '13 and early
   23       A. I think as time progressed, things would         23   '14?
   24   pop up and then we would ask for a change to be         24      A. Yes.

   Golkow Litigation Services                                                         Page 40 (154 - 157)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further41Confidentiality
                                                       of 98. PageID #: 470060
                                                                           Review
                                                   Page 158                                                       Page 160
    1      Q. Now, would you agree that those gaps               1          Did I read that correctly?
    2   enabled some stores to have significant growth in        2      A. Yes.
    3   shipments of Schedule II and Schedule III opiates        3      Q. And this was at the time that
    4   without being flagged and stopped as part of             4   Mr. Bratton had been in your group for several
    5   Walgreens' system?                                       5   months in Pharmaceutical Integrity, correct?
    6      A. No.                                                6      A. Yes.
    7      Q. Let me hand you what we're going to mark           7      Q. And he was managing an entire geographic
    8   as P-WAG-1988, Bates No. WAGMDL429440.                   8   region in Pharmaceutical Integrity, correct?
    9          And I apologize. I'm going to change.             9      A. Yes.
   10   Shift gears. It's P-WAG-1146, WAGMDL21425.              10      Q. He was part of the process for reviewing
   11          I will hand you what we will mark as             11   suspicious orders, correct?
   12   Polster 8.                                              12      A. Yes.
   13             (WHEREUPON, a certain document was            13      Q. He was part of the process in looking at
   14              marked as Walgreens-Polster Exhibit          14   overrides, correct?
   15              No. 8: 8/9/13 e-mail string;                 15      A. Yes.
   16              WAGMDL00021425 - 00021427.)                  16      Q. He was part of the process of
   17   BY MR. MOUGEY:                                          17   identifying gaps and specific controls to fill
   18      Q. Mr. Bratton is a manager in                       18   those gaps, correct?
   19   Pharmaceutical Integrity, correct?                      19      A. Yes.
   20      A. Yes.                                              20      Q. And based upon his work and what he
   21      Q. And has remained in Pharmaceutical                21   relayed to Ms. Patel is that the lack of those
   22   Integrity for quite some time, correct?                 22   controls allowed runaway growth for drugs like
   23      A. Yes.                                              23   OxyContin. Do you see that?
   24      Q. And had an area of significant                    24      A. I see what he wrote, but I don't know
                                                     Page 159                                                       Page 161
    1   responsibility in Pharmaceutical Integrity,              1   what he meant.
    2   correct?                                                 2       Q. Yes, ma'am. It's confusing, isn't it,
    3      A. Yes.                                               3   where he says, "The previous system would continue
    4      Q. And was an important component of the              4   to send additional product to the store without
    5   Pharmaceutical Integrity team, correct?                  5   limit or review which made possible the runaway
    6      A. Yes.                                               6   growth of dispensing of products like oxycodone."
    7      Q. And was part of the educational process            7          It's crystal clear what he meant, is it
    8   from the beginning of Pharmaceutical Integrity           8   not?
    9   throughout the summer of 2013, correct?                  9       A. There were a lot of tweaks to the system
   10      A. Yes.                                              10   and the system got changed many times. So, yeah,
   11      Q. And this is -- what I put in front of             11   he is correct that the system was designed and
   12   you is an e-mail from Mr. Bratton dated August 19,      12   built way back in the day to ensure that the store
   13   2003 -- I'm sorry -- 2013.                              13   was able to get the product in that they needed to
   14          Do you see that?                                 14   take care of their patients.
   15      A. Yes.                                              15       Q. Yes, ma'am. And the lack of controls up
   16      Q. And I'm at the very top of the e-mail in          16   and to when your group took over in '13 allowed for
   17   the second paragraph.                                   17   runaway growth of drugs like OxyContin, correct?
   18          And Mr. Bratton, when speaking with              18       A. I don't -- I don't agree with his --
   19   another Walgreens employee or exchanging e-mails,       19   with his language there.
   20   relayed to her that "The previous system would          20       Q. That was one of your managers in your
   21   continue to send additional product to the store        21   group responsible for an entire geographic region,
   22   without limit or review which made possible the         22   that was his assessment, correct?
   23   runaway growth of dispensing of products like           23       A. That was his words.
   24   oxycodone."                                             24       Q. I hand you -- it's P-WAG-5140, Bates

   Golkow Litigation Services                                                           Page 41 (158 - 161)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further42Confidentiality
                                                       of 98. PageID #: 470061
                                                                           Review
                                                 Page 162                                                     Page 164
    1   No. 77015 and Polster 9.                              1   document and see if this kind of comports with your
    2             (WHEREUPON, a certain document was          2   understanding of the system that you inherited in
    3              marked as Walgreens-Polster Exhibit        3   Pharmaceutical Integrity. Okay?
    4              No. 9: 7/2/12 e-mail with                  4      A. Okay.
    5              attachment; WAGMDL00077015 -               5      Q. All right. So, the date, as we just
    6              00077023.)                                 6   went through, is July 12th -- I'm sorry --
    7   BY MR. MOUGEY:                                        7   July 2012.
    8      Q. Now, this is an e-mail from Raymond             8           Do you see that?
    9   Stukel, right? Did I pronounce that correct?          9      A. No.
   10      A. Yeah.                                          10      Q. Very first page in the e-mail. I'm
   11      Q. And Mr. Stukel, as you just identified,        11   sorry.
   12   was the gentleman that was in loss prevention and    12      A. Oh, sorry. Yeah. I was looking at
   13   using the Tableau interface to review Walgreens'     13   June 22. Okay.
   14   data, correct?                                       14      Q. So, this is approximately 60 days before
   15      A. Yes.                                           15   the controlled substance task force that you're a
   16      Q. And the subject is "Discussion of              16   part of when you start attending the frequent
   17   ceiling limits."                                     17   meetings, correct?
   18          Do you see that?                              18      A. Yes.
   19      A. Yep.                                           19      Q. And this is what I could find as kind of
   20      Q. And the ceiling limits are part of the         20   the last kind of culmination, right when you start,
   21   Bancroft algorithm that was used in Pharmaceutical   21   of what the system looked like. Okay?
   22   Integrity, correct?                                  22      A. Okay.
   23      A. Yes.                                           23      Q. So, what I want you to do is tell me
   24      Q. That was just -- that was one of the           24   yes, this kind of comports with my understanding or

                                                 Page 163                                                    Page 165
    1   lingos, ceiling limits and thresholds were two of     1   my recollection of the -- of the Bancroft algorithm
    2   the tests, correct?                                   2   and the controls in place when I inherited it. Is
    3      A. Yes.                                            3   that -- is that fair?
    4      Q. And ceiling limits replaced the                 4       A. Sure.
    5   frequency?                                            5       Q. Okay. So, underneath the first top of
    6      A. I think you're right there, but I'm not         6   Bates No. 16, under "Ordering" do you see those
    7   100% sure.                                            7   kind of wheels or gears, A, B and C.
    8      Q. You're not sure. Pre-Tasha Polster?             8           Do you see that?
    9      A. Right.                                          9       A. Yes.
   10      Q. How does that sound?                           10       Q. And then off on the side it's
   11      A. Yeah, that sounds great.                       11   referencing phases and there is phase 3, phase 4
   12      Q. Okay. So, Mr. Stukel is sending out an         12   and phase 5. Okay? Do you see that in the first
   13   e-mail to Mr. Merritello, Kristie Provost, Wayne     13   box?
   14   Bancroft and Ferdinand Dungca.                       14       A. Oh, yes, yes.
   15           Do you see that?                             15       Q. Okay. So, phase 3, it says "In QA,"
   16      A. Yes.                                           16   which I would mean quality assurance?
   17      Q. And if you would turn to Bates No. 16,         17       A. Yeah, testing.
   18   this appears to be an overview of the controlled     18       Q. Testing.
   19   substance order review web-based exception report,   19           "Phase 4: In design."
   20   correct?                                             20           And then you see in the upper right-hand
   21      A. That's what it appears. I have never           21   side, "Phase 5: In design, ceilings trump step A
   22   seen this document before.                           22   below if/when necessary."
   23      Q. I understand. So, what I want to --            23           And you recall that ceilings were
   24   what I want you to do is help me look at this        24   ultimately put in place, correct?

   Golkow Litigation Services                                                       Page 42 (162 - 165)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further43Confidentiality
                                                       of 98. PageID #: 470062
                                                                           Review
                                                 Page 166                                                  Page 168
    1      A. Yes.                                            1           So, let's say they placed the order for
    2      Q. Okay. So, if you go to A, "Ongoing              2   two bottles, but the ceiling was only one bottle.
    3   Controlled Substance Order Review Logic includes      3      Q. Okay.
    4   PSE."                                                 4      A. So, if they placed an order for two
    5           Do you see that?                              5   bottles or three bottles or whatever, they wouldn't
    6      A. Yes.                                            6   get it at all. If they placed it for one bottle,
    7      Q. All right. And then B is "Manual Line           7   in addition to what the order algorithm was already
    8   Limits for select drugs" and C is "Automated          8   ordering, then it would allow them to get it as
    9   Ceilings."                                            9   long as they weren't above the ceiling.
   10           Did I get all that?                          10      Q. So, let's use your example. All right.
   11      A. Yes.                                           11           So, the -- I think your example said the
   12      Q. And off to the left it says, "Interim          12   ceiling was one bottle, right?
   13   solution until automated ceilings are deployed."     13      A. Allowed them to get it, yes.
   14   Correct?                                             14      Q. Okay. But they ordered -- there was an
   15      A. I see that here.                               15   order entered for three bottles.
   16      Q. Now, when you took over in late '12,           16      A. Okay.
   17   early '13, were the automated solutions deployed?    17      Q. So then what happens? You tell me.
   18      MR. HOUTZ: Object on foundation.                  18      A. They don't get an order at all.
   19   BY THE WITNESS:                                      19      Q. No order?
   20      A. I don't know.                                  20      A. Right.
   21   BY MR. MOUGEY:                                       21      Q. Not one, not two, not three. Zero?
   22      Q. You don't know. Okay. So, the                  22      A. Correct.
   23   right-hand side -- do you know what automated        23      Q. Okay. So, how does the store become
   24   ceilings are?                                        24   alerted that they're not going to get anything?
                                                 Page 167                                                  Page 169
    1      A. No.                                             1        A. Well, that was a gap that we had to
    2      Q. Do you know what ceilings are?                  2   close to better communicate so that if they had a
    3      A. Yes.                                            3   patient waiting, that they weren't telling the
    4      Q. What is your understanding of what a            4   patient, "Please come back tomorrow, Mrs. Jones,
    5   ceiling is?                                           5   I'll have your prescription ready for you,"
    6      A. A ceiling is the amount of drug that a          6   Mrs. Jones shows up and they didn't get the product
    7   store can have at a -- at a point in time.            7   because they were over their ceiling.
    8      Q. So, when it hits that point in time, and        8           So, we had to train the stores not to
    9   you and I discussed this earlier, that order is       9   order. We had to train the stores, leave your
   10   canceled and a pharmacy is allowed to enter an       10   orders alone. Let the orders generate by
   11   order up to the ceiling limit, correct?              11   themselves based on the algorithm and if you feel
   12      MR. HOUTZ: Object to form and foundation.         12   that you need more, fill out the controlled
   13   BY THE WITNESS:                                      13   substance override form so that we can look at it,
   14      A. You're making generalizations and you're       14   make sure we have proper documentation as to the
   15   not really accurate. So, can I tell you how it       15   reason why you need it, and then we will place the
   16   worked?                                              16   order for you.
   17   BY MR. MOUGEY:                                       17        Q. Okay. So, if there was -- they only had
   18      Q. Go ahead. You educate me on how this           18   one bottle left before they hit the ceiling and
   19   works.                                               19   they ordered three, was the store allowed to order
   20      A. All right. So, yes, if the store hit           20   one bottle without the override form?
   21   the ceiling or maybe the store didn't hit the        21        A. They didn't know what they were allowed
   22   ceiling and they tried to order above the ceiling,   22   to order. So, we had to -- we had to give them a
   23   the order never got shipped. But they wouldn't       23   tool to help them, but that was much later in the
   24   know what the ceiling was.                           24   process. At that point in time they didn't know.

   Golkow Litigation Services                                                      Page 43 (166 - 169)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further44Confidentiality
                                                       of 98. PageID #: 470063
                                                                           Review
                                                    Page 170                                                      Page 172
    1   They just got nothing.                                   1   "Reduce order quantity for subset of flagged
    2       Q. Okay. So, how would the store know that           2   orders," right?
    3   they could order one more bottle?                        3       A. Right.
    4       A. They couldn't. That was the problem.              4       Q. So, when you said earlier "I didn't
    5       Q. So, when you fixed it, how did the                5   understand it," maybe I'm not the only one, right?
    6   store?                                                   6   I mean, it says here that "Reduce order quantity
    7       A. Oh. We have a ceiling tool and they               7   for subset of flagged orders," right?
    8   have to go into the tool. It tells them how many         8       A. That's what it says, but I don't know
    9   bottles that they can order until they hit the           9   what -- what that means because when I took over
   10   ceiling.                                                10   the system, we were not reducing orders. If
   11       Q. Okay.                                            11   they -- if the store tried to order outside of the
   12       A. And if they need more, then they have to         12   system, the order got cut.
   13   fill out the controlled substance override form.        13       Q. All right. Let me make sure you and I,
   14       Q. So, the override form wasn't necessary           14   the lingo, we're saying the same thing because I'm
   15   until they went over the ceiling. They asked to go      15   a little confused when you say "outside the
   16   over the ceiling?                                       16   system." What do you mean by that?
   17       A. Correct.                                         17       A. If they tried to order above their
   18       Q. Okay. So, but when did the gap -- when           18   ceiling --
   19   was the gap fixed that the store would know how         19       Q. Yes.
   20   many bottles, in your example, it had left before       20       A. -- the order got cut.
   21   it hit the ceiling?                                     21       Q. The whole order?
   22       A. I don't remember the exact date that the         22       A. That's right.
   23   tool --                                                 23       Q. And the process that you and I just
   24       Q. Give me a ballpark.                              24   talked about where they would use the override tool
                                                     Page 171                                                       Page 173
    1      A. It was either -- man, I'm guessing. I              1   would let them know what they could order up to the
    2   don't know. It was late 2013, early 2014.                2   ceiling, but that was later into '13, early '14?
    3      Q. Okay. That's -- can't have been too                3      A. Right.
    4   large a period of time. Pharmaceutical Integrity         4      Q. Okay. By the time you got in, there was
    5   really got off the ground in the beginning of '13        5   no reducing order quantity for subset of flagged
    6   and was out of the distribution business by --           6   orders, correct?
    7      A. Right.                                             7      A. Right.
    8      Q. -- late '14, right?                                8      Q. Okay. So, let's go back to your
    9      A. Right.                                             9   understanding. We're talking about the Bancroft
   10      Q. So, if you would, turn to the next page,          10   algorithm.
   11   Bates No. 17, titled "Ongoing Controlled Drug Order     11      A. Okay.
   12   Review Logic."                                          12      Q. If an order came in, stick with your
   13          It has three boxes across the top,               13   example, with three bottles that are over the
   14   "Review all Controlled Drug and PSE orders," "Flag      14   ceiling, was that order flagged as suspicious?
   15   select orders as suspicious," "Reduce order             15      A. When I came in, no. If it ordered
   16   quantity for subset of flagged orders." Okay.           16   above -- if they were trying to order above their
   17          Do you understand those three boxes? Do          17   ceiling, they would just not get it.
   18   you understand what's being referenced?                 18      Q. Okay. So, that order, because it was
   19      A. Give me just a second.                            19   not shipped, Walgreens considered that order not
   20      Q. Of course.                                        20   suspicious?
   21      A. I -- I see the words on the page, but             21      MR. HOUTZ: Object on foundation and form.
   22   when I took over the system, we weren't reducing        22   BY THE WITNESS:
   23   order quantities.                                       23      A. No, they were ordering outside of what
   24      Q. You are referring to the third box,               24   our policy was and therefore we didn't ship it.

   Golkow Litigation Services                                                           Page 44 (170 - 173)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further45Confidentiality
                                                       of 98. PageID #: 470064
                                                                           Review
                                                       Page 174                                                         Page 176
    1   BY MR. MOUGEY:                                             1   in? Those are popping up all over the place. Was
    2       Q. Okay.                                               2   there a surgical center that just opened by your
    3       A. Whether it was suspicious or not did not            3   pharmacy? Why do you need more product than what
    4   even come into play because we had an algorithm and        4   the system is generating for you? Tell us why.
    5   we told them that they weren't supposed to go over         5           We don't know. We don't know what's
    6   it and if they needed to go over it, they had to           6   going on in that specific area. We have to leave
    7   supply the necessary information so that we could          7   it to the leader of the store and the leader of the
    8   have the documentation we needed.                          8   district, and that's why it goes through those
    9       Q. Let's make -- let's go back to what the             9   layers of approval before it comes to my team.
   10   overarching rules and regulations are from the            10       Q. Okay. I didn't want to interrupt you,
   11   Federal Government and what your understanding is.        11   but you just gave about a three-paragraph answer
   12   Okay.                                                     12   and the simple question I asked you was: What do
   13           Do you have an understanding that an              13   you call an order flagged by the Wayne Bancroft
   14   order that is flagged as suspicious by Walgreens          14   algorithm?
   15   has to be reported to the DEA?                            15       A. I call it an order that was over the
   16       MR. HOUTZ: Object to form.                            16   algorithm that was designed for that specific store
   17   BY THE WITNESS:                                           17   and it didn't conform to the -- what we thought the
   18       A. That's not the regulation. It's if an              18   store needed. It's not a simple answer.
   19   order is flagged, you have to investigate it and          19       Q. So, if -- let's go back to the rules.
   20   then if you deem it suspicious, then you report it.       20           Do you understand that an order that's
   21   BY MR. MOUGEY:                                            21   flagged as suspicious needs to be reported to the
   22       Q. Okay. So, you don't think that an order            22   DEA?
   23   flagged as part of the Wayne Bancroft algorithm is        23       MR. HOUTZ: Object to form.
   24   suspicious?                                               24   BY THE WITNESS:

                                                     Page 175                                                         Page 177
    1       A. No.                                                 1       A. An order that's flagged has to be
    2       Q. Okay. What do you call an order flagged             2   determined whether or not it's suspicious, but then
    3   by the Wayne Bancroft algorithm?                           3   the answer to your question is yes.
    4       A. It was designed so that we could ensure             4   BY MR. MOUGEY:
    5   that the number of tablets or whatever that goes           5       Q. Yes. Okay.
    6   into any one store makes sense for the peer group          6       A. But you have to investigate it first.
    7   and the business of that store.                            7       Q. I understand. But I didn't ask you
    8           I never felt like any pharmacy manager             8   anything about investigating or your steps. All I
    9   or pharmacist was doing anything nefarious to get          9   simply asked you was: Is an order that's deemed to
   10   more product into the store. What I -- the whole          10   be suspicious, does that have to be reported to the
   11   point behind it was to have simplicity.                   11   DEA, and the simple answer is yes, right?
   12           When you have that many locations,                12       MR. HOUTZ: That wasn't your question.
   13   you've got to figure out how are you going to train       13   BY MR. MOUGEY:
   14   all these 26,000 pharmacists in order to use a            14       Q. Yes. Simple answer is yes, correct?
   15   system to get products in.                                15       A. An order that's deemed suspicious has to
   16           So, it wasn't necessarily considered              16   be reported to the DEA.
   17   suspicious or even an order of interest, to be            17       Q. Fair enough. Now, do you agree that an
   18   honest with you. It was, hey, you're trying to            18   order that's deemed suspicious and then sent to the
   19   order above what we think your store needs. You           19   DEA cannot be shipped until Walgreens performs due
   20   have to explain to us why our algorithm doesn't           20   diligence on that order?
   21   make sense for the business of your location.             21       A. No, that's not correct.
   22   What's going on in your location that makes it            22       Q. Okay.
   23   different? Was there a new hospice doctor that            23       A. If the -- if the order -- if we reported
   24   moved in? Was there a new urgent care that moved          24   to the DEA that the order was deemed suspicious,

   Golkow Litigation Services                                                              Page 45 (174 - 177)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further46Confidentiality
                                                       of 98. PageID #: 470065
                                                                           Review
                                                       Page 178                                                 Page 180
    1   then you can't ship it at all and it has to be              1   decided to change the definition in order to not
    2   reported.                                                   2   call an order suspicious, you'd agree that that
    3      Q. So, if you deem an order suspicious,                  3   does not fill Walgreens' obligations as a
    4   when you say "you," Pharmaceutical Integrity deems          4   distributor?
    5   an order suspicious, you don't ship it at all?              5      MR. HOUTZ: Object to form and foundation.
    6      A. Right.                                                6   BY THE WITNESS:
    7      Q. So, is it fair to say that you don't                  7      A. I don't agree with what you're saying or
    8   perform any due diligence, then, on those orders            8   asking.
    9   deemed suspicious?                                          9   BY MR. MOUGEY:
   10      MR. HOUTZ: Object to form.                              10      Q. Have you seen any internal documents at
   11   BY MR. MOUGEY:                                             11   Walgreens that identify an order flagged by
   12      Q. You just don't ship?                                 12   Mr. Bancroft's algorithm as suspicious?
   13      MR. HOUTZ: Object to form and foundation.               13      A. Not that I recall off the top of my
   14   BY THE WITNESS:                                            14   head.
   15      A. I don't know what you mean. You're                   15      Q. I will hand you what we will mark as
   16   generalizing things and this is so complicated.            16   Polster 10.
   17   So, if you want me to go through the -- how                17             (WHEREUPON, a certain document was
   18   everything is done, I am happy to do that. But the         18              marked as Walgreens-Polster Exhibit
   19   way you're answering -- asking the question is not         19              No. 10: 6/23/08 memo;
   20   necessarily yes or no.                                     20              WAGMDL00624503 - 00624509.)
   21   BY MR. MOUGEY:                                             21   BY MR. MOUGEY:
   22      Q. And I appreciate that, and I will work               22      Q. You see this is a memorandum dated
   23   on my questioning and maybe some day I'll get              23   June 23, 2008, "DEA Suspicious Order Reporting"
   24   better at it. But right now I'm stuck with just            24   from Wayne Bancroft and Tracy Morris.
                                                        Page 179                                                Page 181
    1   bad questions from maybe a bad lawyer. Okay.                1          Do you see that?
    2             So, I mean, we've just identified one             2      A. Yes.
    3   example where the internal documents say something          3      Q. Do you know who Tracy Morris is?
    4   60 days before you get there that you said was              4      A. No.
    5   wrong. So, I'm kind of left with Walgreens'                 5      Q. But you know who Wayne Bancroft is,
    6   documents. All right. Let's go back to my...                6   correct?
    7             You don't think that if an order is               7      A. Yes.
    8   flagged as suspicious that any amount of due                8      Q. And if you had questions about the
    9   diligence can enable or allow that order to be              9   algorithm, he's one of the guys you brought in,
   10   shipped?                                                   10   right?
   11       MR. HOUTZ: Object to form.                             11      A. Yes.
   12   BY THE WITNESS:                                            12      Q. And he is extremely knowledgeable about
   13       A. That's correct because if it's not a --             13   what the algorithm is and how it's deployed,
   14   if it's -- if you do your due diligence and you            14   correct?
   15   determine it's not suspicious, then you ship.              15      A. Yes.
   16   BY MR. MOUGEY:                                             16      Q. And do you see the deliverable,
   17       Q. So, the determination of whether an                 17   "Proposal for defining 'suspicious orders' in the
   18   order is suspicious is critical when Walgreens is          18   Walgreen distribution system"?
   19   implementing its duty as a distributor, correct?           19      A. Yes.
   20       A. Sorry. Can you read that back faster?               20      Q. And the very first paragraph under
   21       Q. The question of whether an order or not             21   "Overview," "The DEA is requiring Walgreens to
   22   is suspicious is very important, correct?                  22   monitor the orders, for control substances, that
   23       A. Yes.                                                23   our stores place on our distribution centers for
   24       Q. And if Walgreens has parsed words or                24   suspicious activity."

   Golkow Litigation Services                                                            Page 46 (178 - 181)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further47Confidentiality
                                                       of 98. PageID #: 470066
                                                                           Review
                                                      Page 182                                                     Page 184
    1           Do you see that?                                    1   this was compared to what we had.
    2      A. Yes.                                                  2           What we had, we went with and we went
    3      Q. The next sentence says, "The document                 3   from there; and then we made changes as we -- or
    4   proposes a methodology for identifying suspicious           4   asked for changes as we saw things that needed to
    5   orders in terms of order size and order frequency.          5   come up.
    6   The reasoning behind the method is described.               6   BY MR. MOUGEY:
    7   Followed by the steps needed to perform the                 7      Q. And you don't know if this algorithm is
    8   analysis."                                                  8   the algorithm used in -- you have no idea?
    9           Did I read that right?                              9      A. Correct.
   10      A. Yes.                                                 10      Q. So, previously when you testified that
   11      Q. The next paragraph, "To monitor the                  11   Mr. Bancroft's algorithm was the foundation for
   12   orders size, tolerance limits will be established          12   what your group was using, you weren't really sure?
   13   for each store/item combination. If an order is            13      A. Foundation, yes. But how many versions
   14   placed on the DC that exceeds its tolerance limit,         14   between '08 and 2012, I couldn't tell you.
   15   the order is flagged as suspicious."                       15      Q. So, according to this version, orders
   16           Do you see that?                                   16   that are flagged were deemed suspicious, correct?
   17      A. Yes.                                                 17      A. I see --
   18      Q. So, according to Mr. Bancroft and his                18      MR. HOUTZ: Object to form.
   19   algorithm, if an order exceeds its tolerance               19   BY THE WITNESS:
   20   limits, it's flagged as suspicious, correct?               20      A. I see his language here.
   21      A. That's what it says here.                            21   BY MR. MOUGEY:
   22      Q. Do you agree with that?                              22      Q. So the answer to my question is yes, the
   23      A. I don't know anything about this. I've               23   orders flagged by the system by Mr. Bancroft's 2008
   24   never seen this document.                                  24   memo are deemed suspicious, correct?

                                                        Page 183                                                        Page 185
    1      Q. I understand, but you were in charge of               1       A. I see his document.
    2   implementing Walgreens' policies and procedures for         2       Q. Yes, ma'am. And I'm asking you, reading
    3   reporting suspicious orders with Mr. Bancroft's             3   the document that you understand that he, as part
    4   algorithm as the foundation, correct?                       4   of part of his deliverable, that orders are flagged
    5      A. In 2012. This was written in 2008.                    5   by the system are deemed suspicious, correct?
    6      Q. I understand. What I'm asking you is:                 6       MR. HOUTZ: Object on foundation and asked and
    7   Do you see where Mr. Bancroft as part of the                7   answered.
    8   deliverable, if an order is placed on the DC that           8   BY THE WITNESS:
    9   exceeds its tolerance limit, the order is flagged           9       A. In my opinion there is a difference
   10   as suspicious. No one from Walgreens ever told you         10   between "flagged" and "deemed."
   11   that?                                                      11   BY MR. MOUGEY:
   12      A. That's correct. No one -- we did not                 12       Q. "If an order is placed on the DC that
   13   talk about this. This is four years after -- or            13   exceeds its tolerance limit, the order is flagged
   14   before I even took over.                                   14   as suspicious."
   15      Q. I understand. And it would have been                 15           Do you see that?
   16   helpful if someone from Walgreens as part of your          16       A. Yes.
   17   education process when coming in in 2012 had told          17       Q. That's what his memo says, if an order
   18   you that an order flagged by Mr. Bancroft's                18   is flagged, it's suspicious, correct? And that's
   19   algorithm was considered suspicious, correct?              19   different than the understanding you had in
   20      MR. HOUTZ: Object to form.                              20   Pharmaceutical Integrity, correct?
   21   BY THE WITNESS:                                            21       MR. HOUTZ: Object to form.
   22      A. I don't agree with you. I mean, the                  22   BY THE WITNESS:
   23   system that we had in place that my team took over,        23       A. I am not understanding what you're
   24   there -- it was -- I don't even know what version          24   asking.

   Golkow Litigation Services                                                              Page 47 (182 - 185)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further48Confidentiality
                                                       of 98. PageID #: 470067
                                                                           Review
                                                     Page 186                                                       Page 188
    1   BY MR. MOUGEY:                                           1   sorry to interrupt, but I don't think we got the
    2       Q. An order that's flagged by                        2   WAG and Bates number for Exhibit 10. Would you
    3   Mr. Bancroft's algorithm in late 2012, early 2013        3   mind reading that for the record, please.
    4   is not deemed suspicious, correct?                       4      MR. MOUGEY: 624503.
    5       MR. HOUTZ: Object on foundation. Object;             5      MR. WATTS: Thank you.
    6   asked and answered.                                      6   BY MR. MOUGEY:
    7   BY THE WITNESS:                                          7      Q. If you'd look at the last paragraph of
    8       A. It is deemed as something we need to              8   Mr. Bancroft's memo in 2008, "In either case, if
    9   look at and look into and then we determine whether      9   the order quantity does not exceed the SIMS
   10   or not it's suspicious and going to be reported to      10   suggested order quantity then the order should no
   11   the DEA.                                                11   longer be considered suspicious. If the order is
   12   BY MR. MOUGEY:                                          12   identified as suspicious, a detailed report should
   13       Q. The order isn't shipped, correct?                13   be created to aid the analysis that has to make a
   14           In 2013, Tasha Polster, Pharmaceutical          14   quick decision to allow or stop the order."
   15   Integrity, if an order is flagged by Mr. Bancroft's     15           Did I read that correctly?
   16   algorithm, it's not shipped, correct?                   16      A. Yes.
   17       A. You're --                                        17      Q. In Pharmaceutical Integrity, the order
   18       Q. We just went through this.                       18   identified by Mr. Bancroft's algorithm just was
   19       A. You're generalizing. You're putting              19   simply not shipped, correct?
   20   words in my mouth. So, can I tell you how it            20      A. That is correct.
   21   worked?                                                 21      Q. There was no detailed analysis to make a
   22       Q. An order -- you've already explained it.         22   decision to allow or stop the order as indicated in
   23       A. Okay.                                            23   Mr. Bancroft's memorandum, correct?
   24       Q. The order that's flagged by                      24      A. Ask the question one more time.

                                                   Page 187                                                      Page 189
    1   Mr. Bancroft's algorithm in 2013, Pharmaceutical         1       Q. There's no detailed analysis in
    2   Integrity, was not shipped, correct?                     2   Pharmaceutical Integrity to make a decision to
    3      MR. HOUTZ: Object to form.                            3   allow or stop the order as indicated in
    4   BY THE WITNESS:                                          4   Mr. Bancroft's memorandum, correct?
    5      A. But it isn't even flagged. So, if the              5       MR. HOUTZ: Object to form.
    6   order went over what the algorithm was, it didn't        6   BY MR. MOUGEY:
    7   even get shipped at all. It didn't even get              7       Q. The order just simply isn't shipped?
    8   flagged because it didn't generate. The order did        8       A. Right, yes.
    9   not generate.                                            9       Q. Now, do you see on the "To" Mr. Piñon
   10   BY MR. MOUGEY:                                          10   identified?
   11      Q. The order is identified by Bancroft's             11       A. Yes.
   12   algorithm and it's not shipped, correct,                12       Q. So, in your meetings with him, you don't
   13   Ms. Polster?                                            13   ever recall Mr. Piñon advising you and your team
   14      A. Yes, correct.                                     14   that orders flagged by Mr. Bancroft's system were
   15      Q. The third paragraph, "To monitor orders           15   suspicious?
   16   frequency, the geometric distribution can be used       16       MR. HOUTZ: You're calling for advice from an
   17   to determine the probability," and gives the            17   attorney. That's attorney-client privilege
   18   formula.                                                18   information. So, I'd instruct you not to answer
   19          He goes on in the last sentence of that          19   what Dwayne Piñon told you or didn't tell you.
   20   paragraph, "If the next order is placed earlier         20       MR. MOUGEY: You're instructing Ms. Polster
   21   than expected, the order is flagged as suspicious."     21   not to answer about how she was educated about
   22   Correct?                                                22   Walgreens' suspicious order monitoring policies and
   23      A. Yes. I see he wrote that there.                   23   procedures?
   24      MR. WATTS: Counsel, this is Ryan Watts. I'm          24       MR. HOUTZ: I'm instructing her not to answer

   Golkow Litigation Services                                                           Page 48 (186 - 189)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further49Confidentiality
                                                       of 98. PageID #: 470068
                                                                           Review
                                                    Page 190                                                   Page 192
    1   about advice she was given to legal questions by a         1   here. This is the first witness I haven't had in a
    2   legal member of the staff of Walgreens, yes.               2   week that didn't start with a medical warning.
    3       MR. MOUGEY: So, the fact that 100 percent of           3           Today I get to start off and find out
    4   her education on the distribution, Walgreens'              4   there is minutes and agendas and meetings and
    5   responsibilities came from a lawyer, I'm not               5   communications that we don't have either.
    6   allowed to ask because Walgreens has attempted to          6   Impressive.
    7   protect all that communication because it came from        7           Exhibit 51 -- I'm sorry. P-WAG-5179,
    8   a lawyer.                                                  8   Bates No. 119542, Polster 10. Polster 11. I'm
    9       MR. HOUTZ: First of all, it's not 100 percent          9   sorry.
   10   and, correct, you may not ask.                            10             (WHEREUPON, a certain document was
   11       MR. MOUGEY: It's abundantly clear that                11              marked as Walgreens-Polster Exhibit
   12   Walgreens has taken the minutes, the agendas, the         12              No. 11: 10/27/11 e-mail with
   13   e-mails, the communications, they are all buried on       13              attachment; WAGMDL00119542 -
   14   some privilege log somewhere. We haven't seen any         14              00119548.)
   15   of the documents Ms. Polster has referenced this          15   BY MR. MOUGEY:
   16   morning because an attorney is copied on the              16      Q. Now, do you know Barb Martin?
   17   communication. So --                                      17      A. Yes.
   18       MR. HOUTZ: It's not obvious at all. Have you          18      Q. How do you know Barb Martin?
   19   received a privilege log?                                 19      A. She used to be a pharmacist for me when
   20       MR. MOUGEY: Yeah, the 48,000 entries on the           20   I worked in the field, and then she took a
   21   privilege log. So, where are all the minutes?             21   corporate position in the pharmacy inventory team.
   22   Where are all the agendas from all of these               22      Q. Do you know what, if any, role
   23   meetings? Every deposition we come into we hear a         23   Ms. Martin had with Walgreens' suspicious order
   24   witness talk about references to documents and            24   monitoring policy and programs?
                                                       Page 191                                                Page 193
    1 meetings and minutes and we don't see them in the            1       A. I don't know.
    2 production. Everything has been scrubbed and                 2       Q. You don't know. Did you ever interview
    3 cleaned and the lawyers copied on all of it to               3   or talk to her when you started Pharmaceutical
    4 avoid production.                                            4   Integrity to find out what, if anything, her role
    5       MR. HOUTZ: So you say.                                 5   was?
    6       MR. MOUGEY: Where are the agendas? Where are           6       A. Not in regards to suspicious order
    7   the minutes from all these meetings? This task             7   monitoring.
    8   force.                                                     8       Q. How about Marcella Ranick?
    9       MR. HOUTZ: Don't ask me where the agendas              9       A. Marcie worked in loss prevention.
   10   are. I don't know where the agendas are.                  10       Q. Right. Do you have any understanding of
   11       MR. MOUGEY: You don't know anything. There            11   what her job or her role was in relation to
   12   is an order in place from ten days ago for you all        12   suspicious order monitoring policies?
   13   to identify the fields of the database that we have       13       A. No.
   14   gone through in all of the information and your           14       Q. This is a memo from Rakesh Khanna from
   15   crack team of lawyers over the past ten days has          15   10/17/2011. Do you see that?
   16   not given us one peep of information.                     16       A. Yes.
   17          I'm sitting here continuing to take                17       Q. And the subject is "DEA Business Reason"
   18   depos and no one has complied with Judge -- Special       18   and the attachments are "DEA Presentation."
   19   Master Cohen's order about identifying the fields         19           Do you see that?
   20   and what the history was.                                 20       A. Okay.
   21       MR. HOUTZ: You are continuing to burn your            21       Q. If you turn, it appears to be a
   22   seven hours if you want to complain more.                 22   couple-page memo regarding "DEA Intercepts
   23       MR. MOUGEY: Thank you, Les. I appreciate              23   Suspicious Order."
   24   that. You are continuing to waste my time sitting         24           Do you see that?

   Golkow Litigation Services                                                           Page 49 (190 - 193)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further50Confidentiality
                                                       of 98. PageID #: 470069
                                                                           Review
                                                 Page 194                                                      Page 196
    1      A. Yes.                                             1   Act.
    2      Q. And the overview references the                  2       A. So, any order of unusual size or unusual
    3   Controlled Substance Act. You know what that is,       3   frequency needs to be investigated or not shipped.
    4   right?                                                 4   And if it's deemed suspicious, then you report it
    5      A. Yes.                                             5   to the DEA.
    6      Q. And how did you find out about what the          6       Q. So, the determination of when an order
    7   requirements were for Walgreens under the              7   is deemed suspicious is the catalyst for when an
    8   Controlled Substance Act?                              8   order is relayed to the DEA as suspicious?
    9      A. Well, which requirements, for --                 9       A. Correct.
   10      Q. Thank you. Walgreens as a distributor.          10       Q. Do you have any understanding that
   11      A. As a distributor. I found out about it          11   Walgreens has changed its determination of when an
   12   during getting me up to speed in the task force       12   order was considered as suspicious to avoid
   13   meeting starting in September or whatever.            13   reporting to the DEA?
   14      Q. And who got you up to speed on the              14       A. No, we didn't -- we didn't do things to
   15   Controlled Substance Act as your job as director of   15   avoid reporting.
   16   Pharmaceutical Integrity so Walgreens could abide     16       Q. I'm on Bates No. 43.
   17   by its obligations under the Controlled Substance     17          "The Controlled Substance Act is the
   18   Act?                                                  18   primary federal law regulating the flow of
   19      A. It was in the task force, which had a           19   controlled substances into the marketplace for
   20   whole bunch of people. So, there were lots of         20   medical purposes."
   21   people talking. I don't remember exactly.             21          Are you following me, first page?
   22      Q. So, who had a command, who understood           22       A. Sorry. I was looking at page 43 back
   23   what Walgreens' responsibilities were under the       23   here which -- all right. Say again. Which
   24   Controlled Substance Act?                             24   paragraph are you on?

                                                 Page 195                                                    Page 197
    1       MR. HOUTZ: Object on foundation.                   1       Q. The first sentence. Go ahead and read
    2   BY THE WITNESS:                                        2   it to yourself.
    3       A. Lots of people. I don't know.                   3       A. And what did you want to know about it?
    4   BY MR. MOUGEY:                                         4       Q. Keep going. I am on the sentence that
    5       Q. Lots of people?                                 5   begins with "The DEA."
    6       A. Right.                                          6           Do you see it on the right-hand side?
    7       Q. Name one. Name one.                             7           "The DEA is requiring that Walgreens
    8       A. You're not going to like my answer.             8   monitor orders for controlled substances that are
    9   Dwayne.                                                9   placed at the stores and sent to our DCs for
   10       Q. Mr. Piñon is the one that had the              10   filling."
   11   understanding of what the obligations were for        11           Do you see that?
   12   Walgreens under the Controlled Substance Act?         12       A. Yep.
   13       A. Dwayne honestly helped me translate some       13       Q. "Such drugs are to be monitored for
   14   of these documents. Some of these legal jargon        14   suspicious activity."
   15   documents are not the easiest to understand.          15           Do you agree with that?
   16       Q. We're not talking about legal jargon           16       A. I agree with that's what that -- I agree
   17   documents. What I'm talking is understanding what     17   with that is what is written, but I don't know who
   18   Walgreens' duties and obligations were under the      18   this guy is. So, he might be making
   19   Controlled Substance Act, and your understanding      19   generalizations.
   20   came from Mr. Piñon, correct?                         20       Q. He's making generalizations, too.
   21       A. Yes.                                           21           So, what I'm asking you is: Do you
   22       Q. So, again, please explain to me what           22   understand what his sentence that "The DEA is
   23   your understanding is of Walgreens' duties and        23   requiring that Walgreen monitor orders for
   24   responsibilities under the Controlled Substance       24   controlled substances that are placed at the stores

   Golkow Litigation Services                                                        Page 50 (194 - 197)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further51Confidentiality
                                                       of 98. PageID #: 470070
                                                                           Review
                                                      Page 198                                                  Page 200
    1   and sent to our DCs for filling"?                         1   procedure used in Pharmaceutical Integrity was
    2       A. Yes, I agree with that.                            2   considering orders that were identified in the
    3       Q. "Such drugs are to be monitored for                3   Bancroft algorithm as suspicious?
    4   suspicious activity."                                     4      MR. HOUTZ: Object to form.
    5           Do you agree with that?                           5   BY THE WITNESS:
    6       A. I agree that's what was written.                   6      A. I don't know if I know enough about what
    7       Q. I understand. But do you agree with                7   this was versus what -- I don't know the
    8   that statement?                                           8   differences between the system that I took over and
    9       A. Not necessarily.                                   9   this.
   10       Q. What do you not agree with?                       10   BY MR. MOUGEY:
   11       A. Any controlled substance could be --              11      Q. It's not the question I asked.
   12   falls into this place.                                   12      A. I misunderstood, then.
   13           So, "Such drugs are to be monitored for          13      Q. The question I simply asked you was that
   14   suspicious activity," what drugs is he talking           14   orders that are identified in Mr. Bancroft's
   15   about? All controlled substances? I mean...              15   algorithm in Pharmaceutical Integrity, are they
   16       Q. It's confusing to you?                            16   flagged as suspicious?
   17       A. The way he's got it worded, yes. And I            17      MR. HOUTZ: Object to form.
   18   don't know who this guy is.                              18   BY THE WITNESS:
   19       Q. I understand. You've already said that.           19      A. My understanding is they're flagged as
   20       MR. HOUTZ: Hold on. We lost the transcript a         20   orders of interest.
   21   few minutes back. At least I lost the transcript.        21   BY MR. MOUGEY:
   22   Can we take a second to try to fix that.                 22      Q. So, the answer to my question would be
   23              (Clarification by the reporter.)              23   no, they're not flagged as suspicious, correct?
   24       THE VIDEOGRAPHER: We'll go -- we're off the          24      A. No. Yes, you're correct. I'm sorry.
                                                    Page 199                                                    Page 201
    1 record at 1:58 p.m.                                         1      Q. Orders of interest are not reported to
    2             (WHEREUPON, a recess was had                    2   the DEA, correct?
    3              from 1:58 to 2:13 p.m.)                        3      A. Correct.
    4       THE VIDEOGRAPHER: We are back on the record           4      Q. Now, in these -- in the sentence that we
    5   at 2:13 p.m.                                              5   just read, in this memo, now we're into 2011,
    6   BY MR. MOUGEY:                                            6   orders identified by the Bancroft formula are
    7       Q. Ms. Polster, we are on Exhibit 12, Bates           7   referred to as suspicious, correct?
    8   No. -- I'm sorry -- 11, Bates No. 543. I'd like to        8      A. It's referred to as that in this
    9   direct your attention to the second paragraph.            9   document, yes.
   10          "The purpose of this project is to                10      Q. Yes, ma'am. And I don't see any
   11   create a process to systematically identify and          11   reference to "orders of interest." Do you?
   12   prevent suspicious orders based on a formula used        12      A. No.
   13   to determine inconsistent (suspicious) ordering          13      Q. Instead, the next sentence goes on and
   14   patterns for controlled drugs."                          14   says that "The order that is flagged as suspicious
   15          Do you see that?                                  15   on the store side will be intercepted and the order
   16       A. Yes.                                              16   quantity will be reduced to a non-suspicious (order
   17       Q. The next sentence begins, "Any Control            17   limit) level."
   18   Drug Orders that are deemed suspicious will be           18           Do you see that?
   19   flagged as suspicious and populated in a file to be      19      A. Yes.
   20   sent up centrally to loss prevention and                 20      Q. But sitting here today, you don't have
   21   prescription services for review/analysis."              21   any information or know whether or not the order
   22          What I'd like you to do is focus on that          22   that was flagged as suspicious but intercepted and
   23   second sentence.                                         23   the quantity reduced was reported to the DEA,
   24          Do you believe that the policy and                24   correct?

   Golkow Litigation Services                                                          Page 51 (198 - 201)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further52Confidentiality
                                                       of 98. PageID #: 470071
                                                                           Review
                                                     Page 202                                                       Page 204
    1       A. Correct.                                            1   2011 were identified as suspicious, correct?
    2       Q. Do you believe based on your                        2       MR. HOUTZ: Object to form and foundation and
    3   understanding of the requirements of the Controlled        3   asked and answered.
    4   Substance Act as director of pharmaceutical that an        4   BY THE WITNESS:
    5   order that's flagged as suspicious be reported to          5       A. They were identified as going outside of
    6   the DEA even if it's reduced?                              6   the limits and therefore not generated. That's
    7       MR. HOUTZ: Object to form.                             7   what I'm reading.
    8   BY THE WITNESS:                                            8   BY MR. MOUGEY:
    9       A. My understanding and what my team does              9       Q. "Any Control Drug Orders that are deemed
   10   is we do not report to the DEA or we did not report       10   suspicious will be flagged as suspicious."
   11   to the DEA unless we did our due diligence and            11           Do you see that?
   12   determined that it was suspicious.                        12       A. Yes.
   13   BY MR. MOUGEY:                                            13       Q. And those were orders that were
   14       Q. But the sentence that we just read in              14   identified by the Bancroft algorithm, correct?
   15   this memorandum in 2011 says that an order is             15       A. Yes.
   16   flagged as suspicious as a result of the Bancroft         16       Q. No one's ever showed you this memorandum
   17   algorithm and then it's reduced.                          17   or anything similar where orders identified by the
   18          Do you believe the fact that the order             18   Wayne Bancroft algorithm were determined or
   19   that was initially flagged as suspicious needs to         19   identified as suspicious, correct?
   20   be reported to the DEA?                                   20       A. Correct.
   21       MR. HOUTZ: Object to form, foundation.                21       MR. HOUTZ: Object to form.
   22   BY THE WITNESS:                                           22   BY MR. MOUGEY:
   23       A. I don't know.                                      23       Q. I hand you what we will mark as Polster
   24   BY MR. MOUGEY:                                            24   12.

                                                       Page 203                                                    Page 205
    1       Q. But you'd agree with me that the                    1            (WHEREUPON, a certain document was
    2   language that we are reading from this 2011                2             marked as Walgreens-Polster Exhibit
    3   e-mail -- memorandum that you've never been shown          3             No. 12: 4/27/12 e-mail with
    4   that it appears that Walgreens was -- were treating        4             attachment; WAGMDL00119539 -
    5   orders that were identified by the Bancroft formula        5             00119541.)
    6   as suspicious as late as 2011, correct?                    6   BY MR. MOUGEY:
    7       MR. HOUTZ: Object to form and foundation.              7      Q. Do you see this is an e-mail generated
    8   BY THE WITNESS:                                            8   by Wayne Bancroft, the gentleman that wrote the
    9       A. I don't know how this worked.                       9   algorithm, correct?
   10       MR. MOUGEY: I'm sorry.                                10      A. Yes.
   11             (WHEREUPON, there was a short                   11      Q. And it's dated 4/27/2012. Correct?
   12              interruption.)                                 12      A. Yes.
   13       THE VIDEOGRAPHER: We are off the record at            13      Q. So, this is a matter of four and a half
   14   2:18 p.m.                                                 14   months, five months before you were part of the
   15             (WHEREUPON, discussion was had off              15   controlled substance task force at Walgreens,
   16              the record.)                                   16   correct?
   17       THE VIDEOGRAPHER: We are back on the record           17      A. Yes.
   18   at 2:19 p.m.                                              18      Q. This is within eight or nine months of
   19   BY MR. MOUGEY:                                            19   you becoming director of Pharmaceutical Integrity,
   20       Q. And I'm not asking you, Ms. Polster, how           20   correct?
   21   the whole system worked. I'm not asking you --            21      A. Yes.
   22   what I'm asking you is: From the plain language of        22      Q. And if you turn the page, it's Bates
   23   this memo, the orders that were identified or             23   No. 119540, it's titled "DEA Suspicious Store
   24   flagged by the Wayne Bancroft algorithm as late as        24   Ordering Application Proposed Enhancement."

   Golkow Litigation Services                                                            Page 52 (202 - 205)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further53Confidentiality
                                                       of 98. PageID #: 470072
                                                                           Review
                                                      Page 206                                                    Page 208
    1           Do you see that?                                  1 deviation."
    2      A. Yes.                                                2         Now, he continues on the next page,
    3      Q. And the first sentence of this memo,                3 "Comparing the average order size across time."
    4   "The DEA Suspicious Store Ordering application was        4         Do you see the paragraph below where he
    5   developed based on DEA requirements for our DCs,"         5 is referencing a DEA crackdown on Florida
    6   distribution centers, "to monitor for suspicious          6 pharmacies?
    7   orders of control substances."                            7       A. Oh, okay. Yes.
    8           Did I read that right?                            8       Q. "Where the market is notorious for
    9      A. Yes.                                                9   illicit prescription painkillers."
   10      Q. The second sentence, "To monitor for               10            Do you see that?
   11   order size, tolerance limits are established by          11       A. Yes.
   12   store/item," correct?                                    12       Q. And he takes a block quote out of the
   13      A. Yes.                                               13   Miami Herald indicating that Walgreen pharmacies
   14      Q. And the tolerance limits, that's                   14   now account for 53 of the top 100 retailers of
   15   language similar to what you were using in               15   oxycodone in the state, correct?
   16   Pharmaceutical Integrity, correct?                       16       A. Yes.
   17      A. Yes.                                               17       Q. And he is citing to an affidavit filed
   18      Q. Along with the ceiling limits, correct?            18   by the DEA in court, correct?
   19      A. Correct.                                           19       A. Yes.
   20      Q. Along with the Bancroft algorithm as               20       Q. And he goes on to explain "Three years
   21   kind of the foundation for what your group was           21   ago, on Walgreens pharmacies were among the top 100
   22   doing, correct?                                          22   sellers of the drug, 'One Walgreens pharmacy in
   23      A. Yes.                                               23   Fort Myers now under investigation sold more than
   24      Q. The second -- the last sentence in the             24   2.1 million oxycodone pills in 2011 - more than 22

                                                    Page 207                                                      Page 209
    1   first paragraph, "Orders placed on the distribution       1   times the oxycodone sales at the same pharmacy two
    2   center that exceed its tolerance limits are flagged       2   years earlier, the DEA said.'"
    3   as suspicious."                                           3          Do you see that?
    4           Do you see that?                                  4      A. Yes.
    5       A. Yes.                                               5      Q. Now, would you consider 22 times what
    6       Q. Did anyone ever tell you that months               6   that pharmacy did two years earlier the same
    7   before you took over as Pharmaceutical Integrity          7   runaway growth that was referenced in a previous
    8   that orders placed on distribution centers that           8   e-mail?
    9   exceed tolerance limits are flagged as suspicious?        9      MR. HOUTZ: Object on foundation.
   10       A. Not that I recall.                                10   BY THE WITNESS:
   11       Q. Once Pharmaceutical Integrity started             11      A. What was your question?
   12   into 2013, orders that were flagged by                   12   BY MR. MOUGEY:
   13   Mr. Bancroft's algorithm were referred to as             13      Q. 22 times growth. Do you consider that
   14   "orders of interest," correct?                           14   to be runaway growth?
   15       A. Yes.                                              15      A. Not necessarily. You have to understand
   16       Q. Until a few months before you came in,            16   what's happening in the market at that point in
   17   do you see any reference from Mr. Bancroft about         17   time.
   18   "orders of interest"?                                    18      Q. Pardon me for one second.
   19       A. No.                                               19          I missed a document. Maybe you can help
   20       Q. Second paragraph, "This process allows            20   with the name. The gentleman that wrote the e-mail
   21   for any single order to be compared to the last 26       21   with the runaway growth from your group.
   22   weeks of order history. A critical design element        22      A. Ed Bratton.
   23   is that it removes outliers from the order history       23      Q. Ed Bratton. Thank you.
   24   used to calculate the mean order size and standard       24          Mr. Bancroft's cite to the Miami Herald

   Golkow Litigation Services                                                           Page 53 (206 - 209)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further54Confidentiality
                                                       of 98. PageID #: 470073
                                                                           Review
                                                          Page 210                                                     Page 212
    1   and DEA affidavit that one of the Florida Walgreens           1   your group?
    2   pharmacies sold 22 times pills from one year to the           2      A. Yes.
    3   next, is that the type of runaway growth that                 3      Q. Again, a valued member, correct?
    4   Mr. Bratton was referring to?                                 4      A. Yes.
    5      MR. HOUTZ: Object to form, foundation.                     5      Q. Knows what's -- knows the details of
    6   BY THE WITNESS:                                               6   what your group was doing, correct?
    7      A. I don't agree with the way you're                       7      A. Yes.
    8   wording the question. There is way more to the                8      Q. Went under the same educational process
    9   story than just the number of tablets dispensed.              9   as Mr. Bratton and the runaway growth, correct?
   10   You have to understand what's happening in the               10      MR. HOUTZ: Object to form.
   11   market. You have to understand what's happening in           11   BY THE WITNESS:
   12   the industry and why we were seeing these                    12      A. She went under -- yeah, she was part of
   13   prescriptions come into the stores.                          13   the team.
   14   BY MR. MOUGEY:                                               14   BY MR. MOUGEY:
   15      Q. So, as of 2012, April 2012,                            15      Q. So, August 9, 2017. Do you see the
   16   Mr. Bancroft, the one who had written the                    16   date?
   17   algorithm, was still referring to orders that were           17      A. Yes.
   18   identified as a result of his test as suspicious,            18      Q. And she was responding to a question on
   19   correct?                                                     19   a one-pager on how the suspicious order monitoring
   20      A. Yes, that's what he's got in the                       20   works in the system.
   21   document.                                                    21          Do you see that?
   22      Q. So, we have now seen multiple documents                22      A. Yes.
   23   beginning in 2008 through 2009 through 2010 through          23      Q. And if you would, turn the page.
   24   2011, all the way into months before you begin in            24          "Walgreens, DEA Suspicious Store
                                                       Page 211                                                          Page 213
    1   Pharmaceutical Integrity, where orders that are               1   Ordering Application Proposed Enhancement."
    2   identified by Mr. Bancroft's algorithm as                     2           Do you see that?
    3   suspicious, correct?                                          3       A. Yes.
    4      A. That's what he has in the document.                     4       Q. Very similar to the document that we
    5      Q. But no one ever told you as part of the                 5   just looked at from Mr. Bancroft in April of 2012,
    6   task force or the beginning of Pharmaceutical                 6   correct?
    7   Integrity that for the last few years, since 2008,            7       A. Right.
    8   orders flagged in Mr. Bancroft's algorithm were               8       Q. In fact, the date on the bottom of this,
    9   considered suspicious?                                        9   April 26, 2012.
   10      MR. HOUTZ: Object to form.                                10           Do you see that in the bottom right-hand
   11   BY THE WITNESS:                                              11   corner?
   12      A. That's correct.                                        12       A. Yes.
   13   BY MR. MOUGEY:                                               13       Q. Is he the author, Wayne Bancroft?
   14      Q. I hand you what we will mark as Polster                14       A. Yes.
   15   13.                                                          15       Q. And one of your managers is forwarding a
   16             (WHEREUPON, a certain document was                 16   portion of this memorandum when someone is asking
   17              marked as Walgreens-Polster Exhibit               17   for a one-page summary, correct?
   18              No. 13: 8/9/17 e-mail string;                     18       A. Yes.
   19              WAGMDL00006645 - 00006652.)                       19       Q. And as part of this one-page summary,
   20   BY MR. MOUGEY:                                               20   all the way until 2017 beginning in 2008, continues
   21      Q. This is an e-mail from Patricia                        21   to be the language, "Orders placed on the DC that
   22   Daugherty. She is a member of your group, correct?           22   exceed its tolerance limit are flagged as
   23      A. Yes.                                                   23   suspicious."
   24      Q. She is one of the regional managers of                 24           Do you see that in the very -- the third

   Golkow Litigation Services                                                                Page 54 (210 - 213)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further55Confidentiality
                                                       of 98. PageID #: 470074
                                                                           Review
                                                Page 214                                                     Page 216
    1   sentence in the very first paragraph?                1      Q. So, when you found out at the
    2       A. In the document that Wayne wrote?             2   conference, NACD, that was one of the first times
    3       Q. Yes, ma'am.                                   3   you heard of it?
    4       A. Yes.                                          4      A. Correct.
    5       Q. The document that Wayne wrote and sent        5      Q. No one from Walgreens came and told you
    6   around by one of your managers when asked for a      6   about Buzzeo?
    7   one-page summary, correct?                           7      A. No.
    8       A. Yes. She sent this document.                  8      Q. I will hand you what we will mark as
    9       Q. But your testimony here today is that's       9   Polster 14.
   10   inaccurate; that orders -- that orders placed on    10            (WHEREUPON, a certain document was
   11   the DC that exceed its tolerance limits are not     11             marked as Walgreens-Polster Exhibit
   12   flagged as suspicious but instead they are orders   12             No. 14: 10/12/12 e-mail with
   13   of interest, correct?                               13             attachments; WAGMDL00319129 -
   14       A. Correct.                                     14             00319239.)
   15       Q. Do you think that Steve Bamberg              15   BY MR. MOUGEY:
   16   understood the difference between orders of         16      Q. You see the date of this e-mail is
   17   interest or suspicious orders?                      17   October 12, 2012, correct?
   18       MR. HOUTZ: Object on foundation.                18      A. Yes.
   19   BY THE WITNESS:                                     19      Q. And it's from -- do you know who Leslie
   20       A. I don't know.                                20   Lowry is?
   21   BY MR. MOUGEY:                                      21      A. No.
   22       Q. Have you ever talked to him about the        22      Q. And do you see in the bottom right-hand
   23   distinction between orders of interest and          23   corner that this has a Walgreens --
   24   suspicious orders?                                  24      MS. LEWIS: This is Sarah Lewis. Excuse me.
                                                Page 215                                                       Page 217
    1       A. No.                                           1   I don't think we have the Bates numbers for the
    2       Q. Are you familiar with a third-party           2   last two exhibits.
    3   vendor Buzzeo?                                       3       MR. MOUGEY: The one I have in front of me is
    4       A. Yes.                                          4   319129.
    5       Q. And who do you understand that Buzzeo         5       MS. LEWIS: Thank you.
    6   is?                                                  6       MR. MOUGEY: Certainly.
    7       A. It is a vendor that put together a            7   BY MR. MOUGEY:
    8   suspicious order monitoring system that I learned    8       Q. And this appears to be a PowerPoint sent
    9   about in late 2013 or 2014 at NACDS.                 9   to a list of individuals that attended a Buzzeo
   10       Q. And NACDS is the acronym for the             10   seminar, correct? That's what's indicated in the
   11   National Association of Chain Drug Stores?          11   first paragraph, correct?
   12       A. Correct.                                     12       A. Yes.
   13       Q. No one ever told you that Buzzeo was a       13       Q. And if you would, we don't have to go
   14   third-party vendor that had a kind of a             14   through the entire thing, have you seen this
   15   pre-packaged suspicious order monitoring system?    15   document --
   16       A. No. I learned it at the trade show.          16       A. No.
   17       Q. And I think you said in late 2013?           17       Q. -- in preparation for today?
   18       A. I can't remember which year I went to        18           Have you ever seen it before?
   19   the meeting, but that's when I learned of it.       19       A. No.
   20       Q. It wasn't in the beginning of your           20       Q. Let's just start on the very first
   21   tenure at Walgreens on the controlled substance     21   page of the PowerPoint, which is the back side of
   22   task force or the beginning of Pharmaceutical       22   the e-mail. It says, "Welcome, Suspicious Order
   23   Integrity, right?                                   23   Monitoring Seminar, Regulatory Issues and Handling
   24       A. No.                                          24   Increased Enforcement."

   Golkow Litigation Services                                                      Page 55 (214 - 217)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further56Confidentiality
                                                       of 98. PageID #: 470075
                                                                           Review
                                                    Page 218                                                       Page 220
    1       A. Okay.                                              1   Challenges and Responses." Follow me?
    2       Q. Hyatt Regency O'Hare. Right here in                2      A. Yes.
    3   Chicago, right?                                           3      Q. It says, "'Cutting' orders to a volume
    4       A. Yep.                                               4   that puts the order under a threshold is not
    5       Q. October 11, 2012, correct?                         5   acceptable."
    6       A. Yep.                                               6           Were you aware that Walgreens prior to
    7       Q. Approximately around a month after the             7   you coming on board in Pharmaceutical Integrity was
    8   controlled substance task force was created, right?       8   cutting orders that came in to below what it
    9       A. Yes.                                               9   believed was a suspicious level?
   10       Q. Would it have been helpful to have as a           10      A. I was not --
   11   consultant an outside vendor that had experience in      11      MR. HOUTZ: Object to form.
   12   suspicious order monitoring and what the rules and       12   BY THE WITNESS:
   13   regulations were in late 2012 when you were on the       13      A. I was not aware until you showed --
   14   task force?                                              14   started showing me all these documents that I had
   15       A. I don't know. I never -- I honestly               15   not seen before.
   16   never thought of it. We had a system and we were         16   BY MR. MOUGEY:
   17   using that system that we had built.                     17      Q. So, sitting here today, you didn't know
   18       Q. But the system that Walgreens had in              18   that Walgreens was cutting orders to below what it
   19   late 2012, you were acutely aware that Walgreens         19   believed was a suspicious order -- suspicious
   20   was under investigation at both the distribution         20   level?
   21   side and the dispensing side, right?                     21      A. I was not aware that we were cutting
   22       A. Yes.                                              22   orders.
   23       Q. And, so, clearly the system that                  23      Q. And this third-party consultant gave a
   24   Walgreens had in place in late 2012 was still open       24   PowerPoint right here in Chicago indicating that

                                                      Page 219                                                      Page 221
    1   to question, correct?                                     1   cutting orders to a volume that puts the order
    2       A. I don't know if I agree with that. I               2   under a threshold is not acceptable. Correct?
    3   think there is a lot of things happening in the           3       A. I see that here, yes.
    4   industry and there were changes that we learned and       4       Q. And under your tenure, under your time
    5   made along the way.                                       5   with Pharmaceutical Integrity, Walgreens was not
    6       Q. On October 12, 2012, if you turn to                6   filling orders that came in over suspicious and
    7   page 29 of this PowerPoint, Bates No. 164. It's           7   they were not filled, correct?
    8   titled "Investigative Challenges and Responses."          8       A. We were not filling orders that exceeded
    9           Do you see "Common SOM Pitfalls,"                 9   the ceiling and the tolerance that Wayne Bancroft's
   10   suspicious order monitoring pitfalls, on page 165?       10   system designed.
   11       A. Oh, 165.                                          11       Q. Let me make sure I understand.
   12       MR. HOUTZ: You said 164.                             12           An order that was not filled, is that
   13       MR. MOUGEY: I did.                                   13   order an order of interest?
   14       MR. HOUTZ: Which is I think what you mean.           14       A. No. It was an order that didn't --
   15   BY MR. MOUGEY:                                           15   didn't get generated because it was over an amount
   16       Q. It's the beginning of the section.                16   that the store should have had.
   17   "Common SOM Pitfalls."                                   17       Q. So, it wasn't even -- it was not
   18       A. I'm sorry. I wasn't looking at the                18   considered even an order of interest?
   19   header.                                                  19       A. Right.
   20       Q. That's okay. I wasn't clear.                      20       Q. And it also clearly -- you all did not
   21           And then on page 165 it continues. Do            21   believe that it was a suspicious order, correct?
   22   you see that?                                            22       A. That's correct.
   23       A. Yeah.                                             23       Q. Now, I'm a little confused by that. So,
   24       Q. And the subheading is "Investigative              24   let me try and think of an analogy that maybe would

   Golkow Litigation Services                                                            Page 56 (218 - 221)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further57Confidentiality
                                                       of 98. PageID #: 470076
                                                                           Review
                                                  Page 222                                                      Page 224
    1   help.                                                  1   the ordinary is if somebody tried to go outside of
    2           Let's assume that I have somebody on my        2   the system meaning one of the pharmacists at the
    3   front porch looking through my windows to see if       3   location tried to order in excess. Those are the
    4   someone was home and, if not, was potentially going    4   ones that would be deemed orders of interest and
    5   to break in my house. Okay. Are we on the same         5   therefore reviewed and/or reported to the DEA if it
    6   page?                                                  6   was deemed suspicious.
    7      A. Sure.                                            7      Q. So, the fact an order came in that
    8      Q. But I have an alarm system on my house           8   exceeded the Wayne Bancroft algorithm but was not
    9   and as he puts his head up to my door, or she, and     9   shipped automatically converted that order to a
   10   looks through the window, the movement on the door    10   non-suspicious level, correct?
   11   sets off an alarm.                                    11      MR. HOUTZ: Object to form.
   12      A. Okay.                                           12   BY THE WITNESS:
   13      Q. And as a result of that alarm going off,        13      A. Not when I had it. Not when I had the
   14   that person doesn't break into my house. All          14   system. We just didn't ship.
   15   right. Still on the same page?                        15   BY MR. MOUGEY:
   16      A. Um-hmm.                                         16      Q. That's right. By not shipping --
   17      Q. And flees. Nothing bad happens to me            17      A. Right.
   18   because I have that alarm.                            18      Q. -- it converted an order that exceeded
   19      A. Okay.                                           19   the ceiling, by not shipping it, it wasn't
   20      Q. Okay. Now, would you consider the fact          20   suspicious. Correct?
   21   that I have a potential intruder on my front porch    21      MR. HOUTZ: Object to form.
   22   looking through my windows, do you think that's       22   BY THE WITNESS:
   23   suspicious activity?                                  23      A. It wasn't even an order because it never
   24      A. Yes.                                            24   generated.

                                                  Page 223                                                      Page 225
    1       Q. And the fact that I had a system in             1   BY MR. MOUGEY:
    2   place preventing him from breaking into my house,      2       Q. That's referred to as shipment, correct,
    3   does that change his conduct looking through the       3   an order comes in and it wasn't shipped, correct?
    4   windows and all of a sudden automatically turn that    4       A. An order came in. It exceeded the
    5   into unsuspicious activity?                            5   threshold. It never even generated. And therefore
    6       A. You're asking me if just because he             6   it was never shipped.
    7   didn't break into your house, does it not become       7       Q. So, the order comes in and because it
    8   suspicious?                                            8   exceeds the threshold, now it's no longer even an
    9       Q. Right.                                          9   order?
   10       A. No, it's still suspicious.                     10       A. That's right.
   11       Q. Of course not. He is still looking             11       Q. I hand you P-WAG-1050, Bates No. 658246.
   12   through my windows, still...                          12   Polster 15.
   13           Now, Walgreens' system, similar to my         13            (WHEREUPON, a certain document was
   14   alarm, is there to detect a potential red flag.       14             marked as Walgreens-Polster Exhibit
   15   Would you agree with that?                            15             No. 15: 11/9/12 e-mail string;
   16       A. It was put in place to ensure that the         16             WAGMDL00658246 - 00658248.)
   17   stores had the proper quantities. Not necessarily     17   BY MR. MOUGEY:
   18   to -- did you just call it a red flag?                18       Q. Rex Swords is your boss, right?
   19       Q. Yes, ma'am.                                    19       A. Was my boss, yes.
   20       A. Not necessarily to detect a red flag.          20       Q. Was your boss. During your time during
   21           The whole idea was to make sure that the      21   Pharmaceutical Integrity you reported directly to
   22   stores were getting the quantities that they needed   22   him, correct?
   23   based on their peer group. What made it suspicious    23       A. Yes.
   24   or what would make it something, you know, out of     24       Q. And he is fairly senior at Walgreens,

   Golkow Litigation Services                                                        Page 57 (222 - 225)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further58Confidentiality
                                                       of 98. PageID #: 470077
                                                                           Review
                                                    Page 226                                                        Page 228
    1   correct?                                                1       A. Yes.
    2      A. Yes.                                              2       Q. And what is NABP acronym again?
    3      Q. Was he fairly knowledgeable about the             3       A. National Association of Boards of
    4   suspicious order monitoring process?                    4   Pharmacy.
    5      A. He became knowledgeable probably right            5       Q. And he says, "I have the sense that
    6   about the time I did.                                   6   today's meeting was a condensed version of the
    7      Q. And he was brought in to oversee the              7   regional meetings the DEA is holding throughout the
    8   Pharmaceutical Integrity group, correct?                8   country for pharmacists. Although no attendance
    9      A. Yes.                                              9   list was available, I believe most, if not all, of
   10      Q. Similar to you, correct?                         10   the major chain operators were there."
   11      A. Yes.                                             11           Correct?
   12      Q. And he was part of the same kind of              12       A. Yes.
   13   meeting and educational process as your group was,     13       Q. And he references also who showed up
   14   correct?                                               14   from the DEA, including Mr. Rannazzisi, correct?
   15      A. Yes.                                             15       A. Yes.
   16      Q. And you see here that Mike Bleser sent           16       Q. And you recognize that Mr. Rannazzisi is
   17   Denman Murray, Barb Martin and Frank DeStefano an      17   one of the senior folks from the DEA, correct?
   18   e-mail at the top, correct?                            18       A. At the time, yes.
   19      A. Yes.                                             19       Q. That's right. And that Mr. Rannazzisi
   20      Q. And that was a forward from an initial           20   presented a PowerPoint deck on prescription drug
   21   e-mail from Rex Swords that's copied to you,           21   trafficking and abuse for almost two hours?
   22   correct?                                               22       A. Yes.
   23      A. Yes.                                             23       Q. Were you here at this presentation?
   24      Q. And Rex Swords' e-mail went to Kermit            24       A. No.

                                                  Page 227                                                       Page 229
    1   Crawford, correct?                                      1      Q. And -- but Mr. Swords apparently went?
    2      A. Yes.                                              2      A. Yes.
    3      Q. And you know who Kermit Crawford is,              3      Q. And he was passing along his thoughts to
    4   correct?                                                4   you, amongst others, correct?
    5      A. Yes.                                              5      A. Yeah.
    6      Q. What was his title back in 2012?                  6      Q. Including Patty Zagami, correct?
    7      A. I don't remember exactly, but probably            7      A. Yes.
    8   president of pharmacy services or operations or         8      Q. And if you would turn the page,
    9   something.                                              9   Mr. Swords cites to 21 CFR 1301.74.
   10      Q. Not -- not too far from the top of               10          Do you see where I am?
   11   Walgreens --                                           11      A. Yes.
   12      A. Right.                                           12      Q. And that is the applicable reg that for
   13      Q. -- correct?                                      13   Walgreens as a distributor that it should "design
   14      A. Right.                                           14   and operate a system to disclose to the registrant
   15      Q. So, this was about as senior as you get          15   suspicious orders of controlled
   16   at Walgreens short of the CEO, correct?                16   substances...suspicious orders include orders of
   17      A. Yes.                                             17   unusual size, orders deviating substantially from a
   18      Q. So, you have Rex Swords and you would            18   normal pattern and orders of unusual nature."
   19   agree that he is fairly senior, correct?               19          Do you see that?
   20      A. Yep.                                             20      A. Yes.
   21      Q. To his boss, correct?                            21      Q. And he says, "If suspicious - you don't
   22      A. Yes.                                             22   ship. Decreasing the order and shipping is not
   23      Q. And he relayed some thoughts after a             23   complying with the regulation."
   24   November 8th DEA meeting at NABP, correct?             24          Follow me?

   Golkow Litigation Services                                                          Page 58 (226 - 229)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further59Confidentiality
                                                       of 98. PageID #: 470078
                                                                           Review
                                                   Page 230                                                         Page 232
    1      A. Yep.                                                 1              00574825.)
    2      Q. "Ignoring suspicious orders will result              2   BY MR. MOUGEY:
    3   in civil penalties. Cited Cardinal, ABC and                3      Q. Ms. Polster, this is an e-mail from you
    4   McKesson fines."                                           4   to Mr. Stahmann, Ms. Daugherty, Christopher Dymon
    5           Did I read that right?                             5   and Edward Bratton. Those are members of your
    6      A. Yes.                                                 6   team, right?
    7      Q. Was there any concerted effort within                7      A. Yes.
    8   Walgreens that you're aware of that Walgreens made         8      Q. Dated 3/20/2013, correct?
    9   a determination to change orders flagged by                9      A. Yes.
   10   Mr. Bancroft's algorithm from suspicious into             10      Q. And attached is a memorandum from you to
   11   orders of interest?                                       11   Mr. Swords, correct?
   12      A. I don't know.                                       12      A. Yes.
   13      Q. You have never had any conversations                13      Q. And the second bullet down says, "SOM
   14   with anyone trying to determine how we can move           14   meeting," suspicious order monitoring meeting,
   15   orders flagged by Mr. Bancroft's system from              15   correct?
   16   suspicious to orders of interest?                         16      A. Yes.
   17      MR. HOUTZ: Object to form.                             17      Q. So, November 30, 2012, right at the
   18   BY THE WITNESS:                                           18   beginning of Pharmaceutical Integrity, you and
   19      A. That's correct.                                     19   Mr. Swords, your boss, are discussing putting
   20   BY MR. MOUGEY:                                            20   together a work group to begin the determination
   21      Q. Because if in fact there were orders                21   between a suspicious order and an order of
   22   that were suspicious and flagged at Walgreens, they       22   interest, correct?
   23   had to be reported to the DEA, correct?                   23      A. Yes.
   24      MR. HOUTZ: Object.                                     24      Q. Because prior to this time, November 30,

                                                       Page 231                                                       Page 233
    1 BY THE WITNESS:                                              1   2012, Walgreens had identified orders flagged by
    2      A. After they were investigated they had to             2   Mr. Bancroft's algorithm as suspicious and you and
    3 be reported. An order isn't deemed suspicious                3   Mr. Swords put a working group together to figure
    4 until after you have -- you've looked into it.               4   out what we're going to call or what's going to
    5 BY MR. MOUGEY:                                               5   fall into the orders of interest bucket, correct?
    6      Q. Although we've just looked at document               6       MR. HOUTZ: Object to form.
    7 after document after document from 2008 all the way          7   BY THE WITNESS:
    8 from a member of your own department in 2017 saying          8       A. No, not correct.
    9 that an order flagged by the Bancroft algorithm was          9   BY MR. MOUGEY:
   10 deemed suspicious, correct?                                 10       Q. So, after November 30, 2012, from this
   11       A. That's what the document said.                     11   meeting, the discussion internally was the orders
   12       Q. Yes, ma'am. But sitting here today                 12   flagged by Walgreens' Bancroft algorithm were now
   13   testifying in front of this jury, those several           13   going to be called orders of interest, correct?
   14   years' worth of internal documents at Walgreens, we       14       A. No.
   15   should just disregard those because that really           15       Q. I hand you what we are going to mark as
   16   isn't the system that was in place, correct?              16   Polster 17. Bates No. 659270.
   17       A. That wasn't the system I know about.               17              (WHEREUPON, a certain document was
   18   The system that I know about is what was in place         18               marked as Walgreens-Polster Exhibit
   19   when I -- when I took over it.                            19               No. 17: 12/16/12 e-mail string
   20       MR. MOUGEY: Bates No. 574824, Polster 16.             20               with attachments; WAGMDL00659270 -
   21              (WHEREUPON, a certain document was             21               00659274.)
   22               marked as Walgreens-Polster Exhibit           22   BY MR. MOUGEY:
   23               No. 16: 3/20/13 e-mail with                   23       Q. The bottom of this e-mail begins with an
   24               attachment; WAGMDL00574824 -                  24   e-mail from you to Dan Doyle, correct?

   Golkow Litigation Services                                                             Page 59 (230 - 233)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further60Confidentiality
                                                       of 98. PageID #: 470079
                                                                           Review
                                                  Page 234                                                  Page 236
    1       A. Yes.                                            1       A. No.
    2       Q. Who is Dan Doyle?                               2       Q. You go on to tell Mr. Doyle, "In
    3       A. He is a vice president of finance.              3   response, the company has enhanced its suspicious
    4       Q. And it's dated December 16, 2012,               4   order monitoring system for controlled substances
    5   correct?                                               5   in an effort to convince DEA that the proposed
    6       A. Yes.                                            6   penalty is excessive."
    7       Q. You relay to Mr. Doyle that "The DEA has        7           Correct, Ms. Polster?
    8   alleged that Walgreens suspicious order monitoring     8       A. Where are you even reading that?
    9   program for controlled substances is inadequate and    9       Q. I am reading that in the second
   10   has taken aggressive enforcement actions against      10   paragraph, and I'll read it for you again.
   11   three Florida pharmacies and the Jupiter              11           "In response, the company has enhanced
   12   distribution center."                                 12   its suspicious order monitoring program for
   13           Correct?                                      13   controlled substances in an effort to convince the
   14       A. Yes.                                           14   DEA that the proposed penalty is excessive."
   15       Q. And that three Florida pharmacies was          15           Did I read that right?
   16   actually increased at the end of 2012 to six,         16       A. It's in there, yes.
   17   correct?                                              17       Q. So, this entire Pharmaceutical Integrity
   18       A. Yes.                                           18   group, the controlled substance task force was put
   19       Q. "In addition to the actions against            19   in place at the end of 2012 to try to convince the
   20   their registrations, DEA is demanding civil           20   DEA that the proposed penalty was excessive,
   21   penalties, potentially totaling hundreds of           21   correct?
   22   millions of dollars." Correct?                        22       A. I don't know that that was the reason
   23       A. Yes.                                           23   why it was put in place. There was a lot of work
   24       Q. And you were updating Mr. Doyle from           24   that needed to be done around the DEA.
                                                  Page 235                                                  Page 237
    1   finance so he could have an understanding of what      1      Q. You have an understanding that at this
    2   the financial impact was on these fines from the       2   point in time there are people dying all over the
    3   DEA?                                                   3   U.S. because of overdoses from controlled
    4       A. Yes.                                            4   substances, correct?
    5       Q. And you go on to tell Mr. Doyle that            5      A. Yes.
    6   "The DEA has confirmed that additional regulatory      6      Q. And that Walgreens is one of the largest
    7   actions are pending against other Walgreen             7   dispensers and distributors of controlled
    8   facilities due to the issues uncovered in their        8   substances, more specifically oxycodone,
    9   current investigation."                                9   hydrocodone, hydromorphone, in the United States,
   10           Is that correct?                              10   correct?
   11       A. Yes.                                           11      A. We have a large market share of pharmacy
   12       Q. And isn't it true, Ms. Polster, that the       12   business.
   13   reason that these enhancements were made at           13      Q. You have a large market share of the
   14   Walgreens to the suspicious order monitoring          14   distributor business, correct, Ms. Polster?
   15   policies was to try and convince the DEA that it      15      A. I don't know the answer to that.
   16   should reduce the amount of fines that it was ready   16      Q. So, this entire Pharmaceutical Integrity
   17   to impose?                                            17   group that was set up in late '12 and 2013 was to
   18       A. No.                                            18   put a happy face on Walgreens for the DEA
   19       Q. You've never said that?                        19   demonstrating that it was trying to comply,
   20       A. No.                                            20   correct?
   21       Q. You've never communicated with anyone          21      MR. HOUTZ: Object to form, asked and
   22   and said that the reason why we are doing the work    22   answered.
   23   we are was to try to convince the DEA that it         23   BY THE WITNESS:
   24   should reduce its fines?                              24      A. I don't agree with that.

   Golkow Litigation Services                                                       Page 60 (234 - 237)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further61Confidentiality
                                                       of 98. PageID #: 470080
                                                                           Review
                                                       Page 238                                                      Page 240
    1   BY MR. MOUGEY:                                               1           Correct?
    2       Q. And we have just looked through several               2       A. Correct.
    3   documents going from 2008 all the way up to 2017             3       Q. How many people were in Pharmaceutical
    4   that orders that were flagged by Bancroft's system           4   Integrity group as of the end of 2012?
    5   were not reported to the DEA, correct?                       5       A. I did not have many, which is -- which
    6       A. I don't remember it saying that we never              6   was the point. I was building my team.
    7   reported to the DEA.                                         7       Q. Less than five.
    8       Q. When your system reduced an order below               8       A. Okay.
    9   a suspicious -- what was deemed suspicious, that             9       Q. And at its peak how many people did you
   10   order was not reported to the DEA, correct?                 10   all have in Pharmaceutical Integrity?
   11       A. Correct.                                             11       A. 11.
   12       MR. HOUTZ: Object on foundation.                        12       Q. 11. With 14,000 items that the stores
   13   BY MR. MOUGEY:                                              13   across the chain would have to be investigated.
   14       Q. When an order was not shipped and then               14   Correct?
   15   magically became not an order, that was not relayed         15       A. Yep.
   16   to the DEA, correct?                                        16       Q. Or we can magically call orders "orders
   17       A. Right.                                               17   of interest" and not have to investigate them,
   18       Q. You go on in the third paragraph of this             18   correct?
   19   memorandum to relay to him that "The updated                19       A. I don't agree with you.
   20   suspicious order monitoring program is currently            20       Q. And that is ultimately what happened,
   21   being piloted. Once turned on for all controlled            21   correct?
   22   medications nationwide, it is expected to generate          22       A. No.
   23   thousands of 'orders of interest,'" and you put             23       Q. The orders were taken out of the
   24   those in quotes, correct?                                   24   suspicious category, put into an order of interest
                                                         Page 239                                                      Page 241
    1      A. Yes.                                                   1   category and those were not investigated, correct?
    2      Q. Orders of interest, correct? The same                  2       A. No, they were investigated.
    3   orders of interest that you and Mr. Swords in a              3       Q. So, between the five and ten people that
    4   memorandum needed to form a working group to help            4   Walgreens allocated to your department in 2013,
    5   define, correct?                                             5   their job was to go through these 14,000 orders of
    6      MR. HOUTZ: Object to form.                                6   interest to investigate those, correct?
    7   BY THE WITNESS:                                              7       A. No. These were on tracking. This was
    8      A. Yes.                                                   8   the updated system. And these were on tracking,
    9   BY MR. MOUGEY:                                               9   and they did not investigate these particular
   10      Q. Within a month of that memorandum,                    10   14,000 because they were on tracking.
   11   "orders of interest," in air quotes, to the finance         11           By that time we had to get the stores
   12   side.                                                       12   trained to understand that they were not to do any
   13          And you relayed that "These 'orders of               13   ordering outside of what SIMS ordered for them, and
   14   interest' will all require review prior to allowing         14   any order that did get generated or placed or
   15   the drugs to be shipped to our pharmacies."                 15   whatever outside of SIMS ultimately became what
   16          Correct?                                             16   orders that we deemed as orders of interest and
   17      A. Yes.                                                  17   then they went into being determined whether or not
   18      Q. And you went on at the bottom of this                 18   they were suspicious or whether they were deemed
   19   memorandum to the finance side saying, "The SOM             19   okay to ship.
   20   system has been turned on to 'tracking' for the             20       MR. MOUGEY: Take a break.
   21   chain for all controlled substances, per the chart          21       THE VIDEOGRAPHER: We are off the record at
   22   below, for last week we had 14,000 items that the           22   3:00 p.m.
   23   stores ordered across the chain that would have to          23              (WHEREUPON, a recess was had
   24   be investigated."                                           24               from 3:00 to 3:29 p.m.)

   Golkow Litigation Services                                                              Page 61 (238 - 241)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further62Confidentiality
                                                       of 98. PageID #: 470081
                                                                           Review
                                                        Page 242                                                 Page 244
    1      THE VIDEOGRAPHER: We are back on record at               1   point. Okay?
    2   3:29 p.m.                                                   2      A. Okay.
    3      MR. MOUGEY: I apologize for the delay. I was             3      Q. So, what I want to do is just have an
    4   just on the hearing with Special Master Cohen.              4   understanding of what you know and don't know.
    5          Les, while we are here today, would you              5           So, under key point 1, from August of
    6   mind having someone from upstairs that knows -- we          6   '09 to 9 of 2010, "Reviews WAG DC orders only."
    7   have been asking -- is it Sharon Desh? Is that her          7   Correct? Did I read that right?
    8   name?                                                       8      A. Yes.
    9      MR. HOUTZ: Yes.                                          9      Q. Okay. And WAG is obviously Walgreens
   10      MR. MOUGEY: We have been asking Sharon for              10   and DC is distribution center, correct?
   11   five days whether or not it intends to comply with         11      A. Yes.
   12   the Special Master Cohen's order on the 27 or 28           12      Q. Do you have an understanding that the
   13   documents that privilege was waived, and I've asked        13   Bancroft algorithm only reviewed Walgreens
   14   repeatedly when we can expect to get those                 14   distribution center orders only?
   15   documents and I've never -- I don't think, I might         15      A. That's what it says here.
   16   be mistaken, but I don't believe I have even had           16      Q. Do you have an understanding, do you
   17   the courtesy of a response.                                17   know that?
   18          Would you mind asking her if she can                18      A. I don't know any different than this.
   19   come or tell you and you can let me know?                  19      Q. We were talking about gaps earlier. And
   20      MR. HOUTZ: Yes. I can ask her.                          20   were you aware that up and until June of 2012 that
   21      MR. MOUGEY: Thank you.                                  21   the -- that the only systems going through the
   22   BY MR. MOUGEY:                                             22   Bancroft algorithm were orders that were sent to
   23      Q. Ms. Polster, would you please go back to             23   the Walgreens distribution centers?
   24   Polster 9, and it was the -- okay. I'd like to go          24      MR. HOUTZ: Object to form.
                                                     Page 243                                                    Page 245
    1   to Bates No. 17.                                            1   BY THE WITNESS:
    2      A. Okay.                                                 2       A. It's not a cut-and-dry answer for your
    3      Q. And it's up on the monitor behind you.                3   yes and no. I know you think it is, but it's not.
    4          What I'd like to do is, we went through              4           It wasn't going through the order, but
    5   the boxes on top, but we didn't go through the key          5   it was adding to the inventory quantity at the
    6   points; and I'd like you to go through those with           6   store level.
    7   me. Okay.                                                   7   BY MR. MOUGEY:
    8      A. Sure.                                                 8       Q. The question that I asked, though, was
    9      MR. HOUTZ: You can also feel free to look at             9   that it was going through the Bancroft algorithm
   10   the paper, whichever is more convenient.                   10   that was used to detect orders that needed further
   11      THE WITNESS: Okay.                                      11   review, correct?
   12      MR. MOUGEY: Whichever is easiest.                       12       MR. HOUTZ: Object to form.
   13      MR. HOUTZ: It's the same thing.                         13   BY THE WITNESS:
   14      MR. MOUGEY: Absolutely.                                 14       A. I don't know.
   15      THE WITNESS: Okay.                                      15   BY MR. MOUGEY:
   16   BY MR. MOUGEY:                                             16       Q. You don't know?
   17      Q. So, you see in "Phase" it has 1, 2, 3                17       A. All I know is what's here because you're
   18   and 4. Do you see that?                                    18   not letting me answer the question with all the
   19      A. Yes.                                                 19   information I do know.
   20      Q. And I believe ultimately there were 5.5              20       Q. I haven't interrupted any of your
   21   phases of the Wayne Bancroft algorithm, correct?           21   answers today, Ms. Polster. I'm not really sure
   22      A. Yes.                                                 22   what you're referring to.
   23      Q. So, this document I believe is from                  23           What I simply asked is: Were you aware
   24   July of '12 and captures the modifications to that         24   that the Bancroft algorithm used to detect

   Golkow Litigation Services                                                            Page 62 (242 - 245)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further63Confidentiality
                                                       of 98. PageID #: 470082
                                                                           Review
                                                  Page 246                                                  Page 248
    1   suspicious orders only reviewed orders that went to    1   that?
    2   the Walgreens distribution center?                     2       A. When -- when I -- when I got the system
    3       MR. HOUTZ: Object to form.                         3   and it was -- my understanding was it was included
    4   BY THE WITNESS:                                        4   in there.
    5       A. That's what it says here.                       5       Q. So, when you look at 4, "Both WAG
    6   BY MR. MOUGEY:                                         6   distribution center and vendor orders reduced if
    7       Q. But you sitting here today you don't            7   thresholds exceeded"?
    8   know that. You didn't know that --                     8       MR. HOUTZ: Object to form.
    9       A. No.                                             9   BY MR. MOUGEY:
   10       Q. -- before looking at this document?            10       Q. Do you see that?
   11       A. No.                                            11       A. Yeah, I see it.
   12       Q. You haven't seen this document before we       12       Q. So that -- the fact that orders were
   13   sat here today?                                       13   going from both Walgreen orders and orders that
   14       A. I have not.                                    14   were sent to outside vendors, for example,
   15       Q. Did anyone as part of your educational         15   Cardinal, for the first time in July of 2012, they
   16   process when you started at Pharmaceutical            16   were being reduced pursuant to the algorithm?
   17   Integrity walk you through the different              17       MS. FIX MEYER: Objection; foundation.
   18   reiterations of the Walgreens suspicious order        18   BY THE WITNESS:
   19   monitoring policies?                                  19       A. I don't know.
   20       A. No, I was walked through what was              20   BY MR. MOUGEY:
   21   currently in place and what I was taking over.        21       Q. You don't know?
   22       Q. But not what the reiterations were?            22       A. Other than what's here. That's all I
   23       A. Correct.                                       23   know.
   24       Q. So, you don't know that in the box             24       Q. So, when Mr. Bratton was referring to
                                                  Page 247                                                  Page 249
    1   phase 1, August of 2009 to September of 2010, that     1   runaway growth, do you have an understanding if
    2   there were no order reductions in phase 1?             2   Mr. Bratton knew these gaps were in place until
    3      A. I did not know that.                             3   late 2012?
    4      Q. You didn't know from September '10 to            4       A. I don't --
    5   the current that the reductions begin in phase 2       5       MR. HOUTZ: Objection; foundation.
    6   but only applies to WAG, Walgreens distribution        6   BY THE WITNESS:
    7   center orders?                                         7       A. I don't know.
    8      MR. HOUTZ: Object to form.                          8   BY MR. MOUGEY:
    9   BY THE WITNESS:                                        9       Q. You'd agree with me, the fact that a
   10      A. Correct.                                        10   pharmacist -- a pharmacy, that order had been
   11   BY MR. MOUGEY:                                        11   reduced by Walgreens system but then they could
   12      Q. And from June of 2012 to July of 2012           12   then order that same drug from another vendor like
   13   that -- that the algorithm reviewed WAG               13   Cardinal is a gap in Walgreens' system, correct?
   14   distribution center orders but for the first time     14       MS. FIX MEYER: Objection; form, foundation.
   15   checks to see if vendor order placed within 48        15   BY THE WITNESS:
   16   hours for same drug?                                  16       A. It's a gap that my team didn't see it.
   17      MR. HOUTZ: Object to form.                         17   I don't necessarily agree that it was a gap in the
   18   BY THE WITNESS:                                       18   Walgreens system.
   19      A. I did not know that.                            19   BY MR. MOUGEY:
   20   BY MR. MOUGEY:                                        20       Q. Well, if the Walgreens system detects an
   21      Q. And then July of 2012, "Walgreens               21   order from a pharmacy and reduces it but then the
   22   distribution center orders plus applies to same       22   pharmacy is free to order it from another vendor,
   23   logic to vendor orders making them eligible for       23   that exception or gap kind of swallows the rule,
   24   flagging and order reduction." Were you aware of      24   does it not?

   Golkow Litigation Services                                                       Page 63 (246 - 249)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further64Confidentiality
                                                       of 98. PageID #: 470083
                                                                           Review
                                                        Page 250                                                    Page 252
    1       A. I don't agree with that statement.                   1       A. We never told them no. They just didn't
    2       Q. So, you don't see any problem with                   2   know.
    3   Walgreens telling a pharmacy that order is not              3       Q. Ms. Polster, you cut the order down to
    4   going to get filled but allowing that pharmacy to           4   zero. You didn't fill it. The Walgreens pharmacy
    5   go to Cardinal and fill it there. There is no               5   orders it from an outside vendor.
    6   problem as far as you're concerned?                         6       MR. HOUTZ: The question?
    7       MS. FIX MEYER: Objection; form, foundation,             7   BY MR. MOUGEY:
    8   calls for speculation.                                      8       Q. You don't -- you don't see that as a
    9   BY THE WITNESS:                                             9   problem?
   10       A. We never said there was -- there was no             10       A. The problem that I saw was that we
   11   problem. We never communicated to the store. They          11   didn't do a good job of communicating to the stores
   12   just didn't get the order. And, so, they're trying         12   why they didn't get their order. That is why we
   13   to take care of a patient that has a prescription          13   changed the whole procedure and let them know,
   14   and they don't have the product. It didn't come in         14   listen, if you try to order outside of the
   15   through the warehouse. So they ordered it through          15   system-generated order, you have to go through the
   16   the wholesaler. The wholesaler has their own               16   processes so that we have the documentation that we
   17   suspicious order responsibilities.                         17   need. Otherwise you're not going to get the order.
   18   BY MR. MOUGEY:                                             18   And that's what happened.
   19       Q. So, you don't see any -- we are not --              19   BY MR. MOUGEY:
   20   you are not trying to pass your responsibilities --        20       Q. And that was a gap in Walgreens' system
   21       A. Of course not.                                      21   until your group closed it, correct?
   22       Q. -- off to Cardinal, correct?                        22       A. What was the gap?
   23       A. Of course not.                                      23       Q. The gap that the pharmacy could go to a
   24       Q. You are not trying to pass your                     24   third-party vendor and order oxycodone that

                                                       Page 251                                                   Page 253
    1   responsibilities over to AmerisourceBergen,                 1   Walgreens had told it or pushed the order down to
    2   correct?                                                    2   zero.
    3       MS. SCHUCHARDT: Objection; form.                        3      A. Again, I don't agree with you in the
    4   BY THE WITNESS:                                             4   gap. The gap was there in that we had not good
    5       A. Of course not.                                       5   communication between the support center and the
    6   BY MR. MOUGEY:                                              6   stores to let them know that they've reached the
    7       Q. We're talking about Walgreens' system.               7   limits that we set for them.
    8           What I'm asking you is the fact that                8           But until I had the documentation that I
    9   Walgreens can identify an order, flag it and take           9   needed or information that I needed and also
   10   it to zero, but then that pharmacy can then place          10   information that the wholesaler sometimes needs in
   11   it with another vendor, you don't see that as a gap        11   order to deem whether or not that order is
   12   in Walgreens' system?                                      12   suspicious or not, there was no way for me to get
   13       A. It was a gap that my team didn't have               13   that information. They just didn't get the order.
   14   the visibility. But if that vendor did ship into           14      Q. So they went and got it from another
   15   the store, I had visibility and the quantities went        15   vendor?
   16   into the store and I was able to see that they had         16      A. So they went and got it from the other
   17   exceeded their ceiling that we set for them.               17   vendor.
   18           Just because we set the ceiling does not           18      Q. Are you familiar with PDQ at Walgreens?
   19   mean we were right. That's why we changed our              19      A. Yes.
   20   policies and procedures to get the documentation we        20      Q. And what does PDQ stand for?
   21   needed to go -- if they wanted it over the ceiling         21      A. I don't remember what the Walgreens
   22   limit, we had to understand the reason why.                22   acronym was, but we used it, I mean, in general
   23       Q. So, you tell the pharmacy no and they're            23   just -- I've also known it as PDQ, and my
   24   free to go get it from another vendor?                     24   definition is pretty darn quick.

   Golkow Litigation Services                                                             Page 64 (250 - 253)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further65Confidentiality
                                                       of 98. PageID #: 470084
                                                                           Review
                                                    Page 254                                                      Page 256
    1      Q. Hand you what we are going to mark as              1   the previous process contributed to the runaway
    2   Polster 18.                                              2   growth, this -- of OxyContin, this is one of the
    3             (WHEREUPON, a certain document was             3   gaps in Walgreens' system that contributed to the
    4              marked as Walgreens-Polster Exhibit           4   runaway growth, correct?
    5              No. 18: 10/1/12 e-mail string;                5      MR. HOUTZ: Object to form and foundation.
    6              WAGMDL00705318 - 00705320.)                   6   BY THE WITNESS:
    7   BY MR. MOUGEY:                                           7      A. I don't know.
    8      Q. It's an e-mail dated October 1, 2012               8   BY MR. MOUGEY:
    9   from Rex Swords, again, to senior people at              9      Q. Are you familiar with what 340B is?
   10   Walgreens, including Kermit Crawford, correct?          10      A. A little bit.
   11      A. Yes.                                              11      Q. Explain to me what your general
   12      Q. And Mr. Swords, as you can see in the             12   understanding of what 340B is.
   13   e-mail dated October 1, 2012 in the middle of the       13      A. 340B is when prescriptions are paid for
   14   page, that he is discussing oxycodone no longer         14   for the underprivileged or underserved communities.
   15   being ordered via PDQ, pretty darn quick?               15      Q. It's a Federal Government program that
   16      A. Okay.                                             16   folks that don't have enough money to pay for their
   17      Q. And "PDQ orders did not aggregate to the          17   own prescriptions are paid for by the Federal
   18   monthly cumulative limits," Mr. Swords is relaying      18   Government, correct?
   19   to Mr. Kermit, correct?                                 19      A. Yes.
   20      A. Yes.                                              20      Q. And do you have an understanding of
   21      Q. "Although line limits are still imposed           21   whether or not Walgreens' 340B program was run
   22   on the individual order. Without this edit, stores      22   through its suspicious order monitoring policies
   23   could order PDQ every day for Oxy and as long as        23   and procedures?
   24   they didn't trip the line order limit edit, they        24      A. At the time when I took over the team,

                                                     Page 255                                                        Page 257
    1   would receive the product and end up exceeding our       1   no, but it is now.
    2   monthly cumulative order limits."                        2      Q. That is another gap that Pharmaceutical
    3           Correct?                                         3   Integrity closed after it got started, correct?
    4       A. Yes.                                              4      A. After we were made aware, yes.
    5       Q. And that was a gap in Walgreens' system,          5      Q. Are you familiar with the term of art
    6   correct?                                                 6   within Walgreens "interstoring"?
    7       A. I would agree.                                    7      A. Yes.
    8       Q. "As Dave mentions, stores still have              8      Q. And interstoring is when one pharmacy
    9   access to growth if needed outside their normal          9   that needed additional Schedule II or Schedule III
   10   order process using the controlled substance            10   including oxycodone could go to a nearby Walgreens
   11   override form on Storenet."                             11   and take its inventory for sale in its store,
   12           This form allows for a manual order to          12   correct?
   13   take place, but provides the documentation and          13      A. Yes.
   14   review needed to ensure the order is appropriate,       14      Q. Now, interstoring was another gap that
   15   correct?                                                15   was identified by Pharmaceutical Integrity in early
   16       A. Yes.                                             16   2013 that was ultimately closed, correct?
   17       Q. Pharmaceutical Integrity closed the gap          17      A. I wouldn't use the term "gap" in
   18   in late '12, early '13 with the PDQ ordering,           18   terms -- when you say the gap that way, the way I'm
   19   correct?                                                19   interpreting the way you're asking the question is
   20       A. In terms of it not counting and the              20   that nobody had any oversight over interstores.
   21   limits being imposed?                                   21           There were policies in place around
   22       Q. Yes, ma'am.                                      22   controlled substance invoicing -- I mean
   23       A. Correct.                                         23   interstoring where it had to go through the
   24       Q. So, when Mr. Bratton was referring to            24   leadership. So, the leadership knew that it was

   Golkow Litigation Services                                                           Page 65 (254 - 257)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further66Confidentiality
                                                       of 98. PageID #: 470085
                                                                           Review
                                                  Page 258                                                         Page 260
    1   happening, but my team did not have visibility and     1       Q. Are you aware that stores could be
    2   so therefore we closed that.                           2   removed from Walgreens' suspicious order monitoring
    3      Q. The -- you would agree with me that the          3   policies if there was a functional reason for them
    4   federal code and regs require every registrant such    4   not to be reviewed by Pharmaceutical Integrity?
    5   as Walgreens to design a system to identify            5       A. We had the ability to turn on and off
    6   suspicious orders, correct?                            6   certain NDC numbers, but I don't know about a
    7      A. Yes.                                             7   specific store entirely.
    8      Q. And that the -- we went over this this           8       Q. I hand you P-WAG-1733. I hand you what
    9   morning. The foundation of Walgreens' suspicious       9   we will mark as Polster 20.
   10   order monitoring policy and procedure was the         10       MR. MOUGEY: 19? I'm sorry. Thank you.
   11   Bancroft algorithm, correct?                          11   Polster 19.
   12      A. Yes.                                            12              (WHEREUPON, a certain document was
   13      Q. And if one pharmacy interstores                 13               marked as Walgreens-Polster Exhibit
   14   oxycodone from another Walgreens pharmacy, that       14               No. 19: 8/26/09 Project Request
   15   interstoring, Oxy coming from one Walgreens to        15               Estimate; WAGMDL00492067 -
   16   another, is not run through Walgreens' suspicious     16               00492069.)
   17   order monitoring policy and the Bancroft algorithm,   17   BY MR. MOUGEY:
   18   correct?                                              18       Q. August 26, 2009, prior to Pharmaceutical
   19      MR. HOUTZ: Object to form.                         19   Integrity.
   20   BY THE WITNESS:                                       20           The bottom of the first paragraph under
   21      A. Yes, that's right.                              21   "Description," "Rx Services will have the ability
   22   BY MR. MOUGEY:                                        22   to remove items from the order limitation process
   23      Q. So, when I use the term "gap," I mean           23   or to remove an entire store from the order limit
   24   that Walgreens' system that was designed to           24   program for a limited amount of time."

                                                  Page 259                                                         Page 261
    1   identify suspicious orders, the foundation of which    1           Do you agree that that is a potential
    2   is the Bancroft algorithm, that's what I'm             2   gap in Walgreens' suspicious order monitoring
    3   referring to as a gap. Okay?                           3   policies and procedures?
    4       A. I understand what you're saying, but            4       A. Not necessarily. You don't have enough
    5   there is more than just what you're saying or          5   information to know whether or not it's a gap.
    6   implying to the actual system. So, ultimately the      6       Q. So, taking a store out of the suspicious
    7   quantity that was interstored is added to the          7   order monitoring policy, you don't believe that's a
    8   store's inventory, which is part of the algorithm.     8   gap?
    9   So, it's not that it never got considered. It just     9       A. You have to understand why the store was
   10   didn't get run through the system in the beginning    10   taken off. As I mentioned before, if you have a
   11   and -- but they still had oversight. Leadership       11   brand-new store that has no order history, brand
   12   knew about it.                                        12   new, just opened, you have no information on that,
   13       Q. Just not Pharmaceutical Integrity?             13   because the whole algorithm is working on previous
   14       A. My team did not, correct.                      14   data, and so if there is no sales at all and then
   15       Q. And your team was the team designed, put       15   all of a sudden there is product that comes in, you
   16   together and implemented to oversee the suspicious    16   have to be able to generate orders. If it's
   17   order monitoring policies and procedures at           17   generating on zeros, then no orders are going to
   18   Walgreens, correct?                                   18   generate.
   19       A. Exactly, which is why we now do not            19       Q. So, the answer is to take it off of the
   20   allow interstores of controlled substances.           20   system and is there a policy and procedure in place
   21       Q. And interstoring of controlled                 21   for how long they should stay off the system?
   22   substances was shut down, gap closed, in 2013,        22       A. I was not around for this time, but it
   23   correct?                                              23   says right here for a limited amount of time. So,
   24       A. Yes.                                           24   there must have been something, but I'm not aware.

   Golkow Litigation Services                                                         Page 66 (258 - 261)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further67Confidentiality
                                                       of 98. PageID #: 470086
                                                                           Review
                                                     Page 262                                                     Page 264
    1      Q. And are you aware -- I mean, when you              1      A. Yes.
    2   were at Pharmaceutical Integrity, did you have           2      Q. Was he an analyst or one of the
    3   stores that were off the system?                         3   managers?
    4      A. We had stores that we had switched to              4      A. Analyst.
    5   tracking, not off the system, but switched to            5      Q. I hand you what we are going to mark as
    6   tracking to watch to make sure that, you know, the       6   Polster 20, Bates No. 113808.
    7   orders made sense when they were brand-new stores.       7             (WHEREUPON, a certain document was
    8      Q. And how long -- did you have policies              8              marked as Walgreens-Polster Exhibit
    9   and procedures --                                        9              No. 20: 11/5/12 e-mail string;
   10      A. Yeah, we --                                       10              WAGMDL00113808 - 00113810.)
   11      Q. Let me finish the question, please.               11   BY MR. MOUGEY:
   12      A. Sorry.                                            12      Q. Let's start at the top of this e-mail
   13      Q. Did you have policies and procedures in           13   dated 11/5/2012 from Murray Jr. Denman. Did I read
   14   place of how long a store should remain on              14   that right?
   15   tracking?                                               15      A. Yes.
   16      A. Yes, we had them in place.                        16      Q. All right. And it's to you, correct?
   17      Q. And where were they?                              17      A. Yes.
   18      A. Where were what?                                  18      Q. And Mr. Murray is from inventory
   19      Q. Where were the policies and procedures            19   management drugstores, correct?
   20   of how long a store can stay on tracking?               20      A. Yes.
   21      A. The team had them. I don't know if it's           21      Q. And he relays to you -- and this is very
   22   on the shared drive. But I know we spoke about it.      22   fresh when you're on the task force for controlled
   23   I know we put quantity time -- sorry -- time limits     23   substances at Walgreens, correct?
   24   in place. But I don't know where the documents          24      A. That's right.

                                                   Page 263                                                      Page 265
    1   are.                                                     1      Q. Right as Pharmaceutical Integrity is
    2       Q. Was there criteria -- have you actually           2   being developed, correct?
    3   seen the policies and procedures that you think          3      A. That's correct.
    4   might be on the shared drive about how long a store      4      Q. And he relays to you, GFD, which stands
    5   can stay on tracking?                                    5   for good faith dispensing, correct?
    6       A. I don't remember seeing the actual                6      A. Yes.
    7   document. I remember talking about it in meetings        7      Q. "For store 2865 in Modesto, California.
    8   to train my team on what we need to do.                  8   Let me know if I am overstepping my boundaries by
    9       Q. But you don't recall seeing an actual             9   suggesting this course of action. I am trying to
   10   document?                                               10   keep some of the burden off of your shoulders until
   11       A. I never went to the shared drive.                11   you deem ready. We'll also need to discuss my
   12       Q. Or any policies or procedures at all             12   team's role in assisting your people. No need to
   13   about how long a store can stay on tracking?            13   rush that now, I am comfortable being point for
   14       A. Correct.                                         14   Cardinal."
   15       Q. Do you know who Michael Federico is?             15          Do you see that?
   16       A. I would have to see his signature title.         16      A. Yes.
   17       Q. District 293, pharmacy supervisor in             17      MS. FIX MEYER: Objection; form.
   18   Modesto and East Bay. Does that ring a bell?            18   BY MR. MOUGEY:
   19       A. Yeah. Yes.                                       19      Q. So, late 2012, Walgreens has an
   20       Q. Modesto was kind of -- that was an area          20   exclusive contract with Cardinal for distribution
   21   that was on you all's radar?                            21   services, correct?
   22       A. That I don't know. Sorry.                        22      MR. HOUTZ: Objection; foundation.
   23       Q. Steven Mills is a member of your group,          23      MS. FIX MEYER: Same objection.
   24   right?                                                  24   BY THE WITNESS:

   Golkow Litigation Services                                                          Page 67 (262 - 265)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further68Confidentiality
                                                       of 98. PageID #: 470087
                                                                           Review
                                                 Page 266                                                       Page 268
    1       A. I don't know if it was exclusive.              1   2865 and he's relaying to Mr. Murray, and let's
    2   BY MR. MOUGEY:                                        2   start under "GFD - Patient ID."
    3       Q. How about this. Are you aware that             3       A. Okay.
    4   Walgreens was in a contractual agreement with         4       Q. He relays that all C-II scripts were
    5   Walgreens -- I'm sorry -- with Cardinal for           5   audited and they had patient addresses written on
    6   distribution services?                                6   the hard copy as well as the name, phone number and
    7       A. Yes.                                           7   DOB. Did I get all that?
    8       Q. And let's continue down the e-mail that        8       A. Yes.
    9   Mr. Mills and yourself sent, the e-mail from          9       Q. If you read the rest of that paragraph,
   10   Mr. Denman, and he says, "Steve, is this store       10   he is passing along that everything appears to be
   11   still on the SOM report?"                            11   in compliance, correct?
   12           That's suspicious order monitoring,          12       A. Yes.
   13   correct?                                             13       Q. And if you go to the next paragraph,
   14       A. Yes.                                          14   "GFD - Prescriber," "Prescriber DEA and state
   15       Q. "If so, share with Cardinal, but crop         15   license number were on 100% of the scripts audited.
   16   out the last two paragraphs."                        16   Prescriptions written by out of town prescribers
   17           Do you see that?                             17   are called on for diagnosis and general
   18       A. Yeah.                                         18   validation."
   19       Q. Now, Cardinal is also a distributor,          19           Did I read that right?
   20   correct?                                             20       A. Yes.
   21       A. Yes.                                          21       Q. And just take your time to review the
   22       MS. FIX MEYER: Objection; foundation.            22   rest of that paragraph. And similar to the first
   23   BY MR. MOUGEY:                                       23   paragraph, Mr. Federico was passing along to
   24       Q. Cardinal as a distributor has similar         24   Mr. Murray that everything appears in order for the

                                                 Page 267                                                        Page 269
    1   obligations and responsibilities to Walgreens,        1   GFD-prescriber, correct?
    2   correct?                                              2       A. Yes.
    3      MR. HOUTZ: Object to form and foundation.          3       Q. The next section, "GFD - PDMP," that's
    4      MS. FIX MEYER: Objection; form.                    4   the state monitoring prescription system, correct?
    5   BY THE WITNESS:                                       5       A. Yes.
    6      A. The DEA regulations apply to all                6       Q. And "Pharmacy Manager uses PDMP system
    7   distribution centers.                                 7   extensively to verify out of town scripts, new
    8   BY MR. MOUGEY:                                        8   patients and cash scripts."
    9      Q. The last sentence says, "Tasha can              9           Similar to the first two paragraphs, he
   10   consult prn." What does prn stand for?               10   is passing along to Mr. Murray that everything
   11      A. As needed.                                     11   is -- seems to be in order, right?
   12      Q. Pardon me?                                     12       A. Yes.
   13      A. As needed.                                     13       Q. And then the next section,
   14      Q. Okay. Now, if you turn to the next two         14   "GFD - Documentation," similar to the first three
   15   pages of this document, Bates No. 09 and 10, and     15   paragraphs, he is relaying that the documentation
   16   Michael Federico is relaying his findings about      16   is in order, correct?
   17   visiting store 2865, correct?                        17       A. Yes.
   18      A. Yeah.                                          18       Q. The next section, "GFD - Notification of
   19      Q. And let's just walk through each one of        19   the DEA." "The store is maintaining a log of all
   20   these. I forgot to ask you this. I apologize.        20   scripts sent to the DEA. They do have scripts they
   21          Mr. Murray, what's his title?                 21   have sent in as well as an explanation of what was
   22      A. He's director of pharmacy inventory.           22   sent."
   23      Q. Okay. And, so, Michael Federico who is         23           And just as the previous few paragraphs,
   24   the district pharmacy supervisor has visited store   24   Mr. Federico is passing along to Mr. Murray that

   Golkow Litigation Services                                                        Page 68 (266 - 269)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further69Confidentiality
                                                       of 98. PageID #: 470088
                                                                           Review
                                                       Page 270                                                    Page 272
    1   GFD, good faith dispensing, notification of the              1       Q. "This increase in interstores has led to
    2   DEA, that that's in order, correct?                          2   short supplies at other locations in town."
    3       A. Yes.                                                  3           Do you see that?
    4       Q. Now, the second-to-last paragraph, "This              4       A. Yes.
    5   store's average movement."                                   5       Q. "We need to get Cardinal back on
    6           Do you see where I am?                               6   shipping this location additional controls."
    7       A. Where in the paragraph does it say                    7           Correct?
    8   "average movement"? Sorry.                                   8       A. That's what it says.
    9       Q. It's okay. It's the very first sentence               9       Q. Now, let's go back to Mr. Denman's
   10   of the second-to-last paragraph.                            10   e-mail to Mr. Mills copied to you at the bottom of
   11       A. Oh, I'm sorry. I was up here. I look                 11   that -- of the first page, Bates No. 08. Okay?
   12   at that as a sentence, not a paragraph down there.          12   Are you there with me?
   13   So...                                                       13       A. Yes, yes.
   14       Q. "This store's average movement on                    14       Q. He says, "Is this store still on the SOM
   15   hydro," has the strength and the combo product, "is         15   report? If so, share with Cardinal, but crop out
   16   17,500 tabs," and that's essentially tablets or             16   the last two paragraphs."
   17   dosage units, right?                                        17           So, Walgreens has information that this
   18       A. Yes.                                                 18   store is moving 17,500 tabs a week. Do the math
   19       Q. "A week put them over the corporate                  19   with me. 4 times 17-5 is 70,000. Do I have that
   20   limit." And that would be Walgreens' corporate              20   right?
   21   limit, correct?                                             21       A. Yes.
   22       A. Yes.                                                 22       Q. 70,000 tabs a month dosage units of
   23       Q. "This changed their ordering habits with             23   hydrocodone; and hydrocodone, Schedule III that
   24   Cardinal, which then led to an SOM with them."              24   ultimately was Schedule II, correct?
                                                         Page 271                                                  Page 273
    1           SOM, suspicious order monitoring,                    1       A. Yes.
    2   correct?                                                     2       Q. And he is relaying that this store is --
    3       A. Yes.                                                  3   this pharmacy is interstoring to the point where it
    4       Q. "I submitted a report which was approved              4   is causing other stores to be out of supply,
    5   by WAG but denied by Cardinal. As such, this                 5   correct?
    6   location has had a large increase in interstores."           6       A. Yes.
    7           And interstores is what you and I were               7       Q. And he suggests the way to fix this is
    8   discussing earlier as a potential gap that if a --           8   to get Cardinal back shipping to this location
    9   one Walgreens store needed oxycodone, hydrocodone,           9   again, correct?
   10   it could simply interstore from a store down the            10       A. The way I am reading it is that he is
   11   street, correct?                                            11   asking we've got to get this information to
   12       A. Yes. But not without leadership                      12   Cardinal so that they have whatever they need for
   13   approval.                                                   13   their due diligence so they resume shipping.
   14       Q. When you say "leadership," who was                   14       Q. But he says cut out the paragraph where
   15   leadership?                                                 15   he relays that they're interstoring, correct?
   16       A. It would have been Michael.                          16       A. Yes.
   17       Q. And Michael is where, in which                       17       Q. So, Cardinal, when it's making its
   18   department?                                                 18   decision of whether or not to ship because it's
   19       A. Michael -- he is the guy who wrote the               19   suspicious, he is saying cut that information out
   20   e-mail.                                                     20   and keep Cardinal in the dark, correct?
   21       Q. "This increase" -- but not from your                 21       MR. HOUTZ: Object to form and foundation.
   22   department that's charged with suspicious order             22   BY THE WITNESS:
   23   monitoring, right?                                          23       A. I -- I don't know.
   24       A. Right.                                               24   BY MR. MOUGEY:

   Golkow Litigation Services                                                             Page 69 (270 - 273)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further70Confidentiality
                                                       of 98. PageID #: 470089
                                                                           Review
                                                 Page 274                                                   Page 276
    1      Q. By not telling Cardinal that they're             1      Q.    You're right. Thank you.
    2   interstoring, he's keeping Cardinal in the dark        2           Mr. Murray said cut out the last
    3   about that fact, is he not?                            3   paragraph and keep Cardinal in the dark about the
    4      A. I don't know what he meant by that, but          4   interstoring, correct?
    5   I don't see where it's Walgreens' place or his         5       A. Nowhere does it say to keep Cardinal in
    6   place to tell Cardinal to get back shipping on this    6   the dark.
    7   location to add controls.                              7       Q. By cutting out that last paragraph,
    8           That's Cardinal's responsibility and           8   Cardinal would not have the ability to see the
    9   their decision as to whether or not they will ship     9   interstoring, correct?
   10   or not ship based on the information that we can      10       MR. HOUTZ: Object on foundation.
   11   give them.                                            11   BY THE WITNESS:
   12      Q. And Walgreens through Mr. Federico is           12       A. I don't know.
   13   consciously making the decision to cut out            13   BY MR. MOUGEY:
   14   important information like interstoring when          14       Q. You don't know. You don't know what
   15   relaying the results of his visit to Store 2865,      15   Cardinal's visibility is?
   16   correct?                                              16       A. I don't.
   17      MR. HOUTZ: Object to form, mischaracterizes.       17       Q. Can you see what CVS is distributing to
   18   BY THE WITNESS:                                       18   its own pharmacies?
   19      A. He's saying to cut out the paragraph,           19       A. No.
   20   yes.                                                  20       Q. Can you see what Cardinal is
   21   BY MR. MOUGEY:                                        21   distributing to CVS?
   22      Q. Yes, ma'am. And keep Cardinal in the            22       A. No.
   23   dark about the interstoring, correct?                 23       Q. Do you think that Cardinal can see what
   24      MR. HOUTZ: Object to form.                         24   this store is interstoring?
                                                 Page 275                                                   Page 277
    1   BY THE WITNESS:                                        1       A. I don't -- I don't know what they can
    2      A. He is saying to cut out the paragraph.           2   see and what they can't see.
    3   BY MR. MOUGEY:                                         3       Q. But you think it's entirely appropriate,
    4      Q. Yes, ma'am. And keep Cardinal in the             4   based on your 36 years at Walgreens starting from
    5   dark about the interstoring, correct?                  5   when you were in high school until sitting here
    6      A. I don't think it's keeping Cardinal in           6   today, this is the Walgreens you know that says cut
    7   the dark.                                              7   out the paragraph about interstoring when telling
    8      Q. Cardinal --                                      8   Cardinal that everything is A-okay from the
    9      A. It's keeping Cardinal, you know -- it's          9   previous paragraphs?
   10   not our place to tell Cardinal to start shipping      10       MR. HOUTZ: Object to form.
   11   again.                                                11   BY THE WITNESS:
   12      Q. I'm not asking you if it's your place.          12       A. I don't agree that we are saying
   13      A. I don't agree with you.                         13   everything is A-okay. I think we're documenting
   14      Q. What I'm asking you, Ms. Polster, is            14   that they went in and they did their due diligence
   15   that Mr. Federico made a conscious decision to        15   so Cardinal could have information.
   16   exclude material information to Cardinal about this   16           Cardinal had every right to go into any
   17   store interstoring from other Walgreens pharmacies,   17   store they wanted to go into and audit it and
   18   correct?                                              18   investigate it and, in fact, actually did make site
   19      A. It wasn't --                                    19   visits.
   20      MR. HOUTZ: Object to form.                         20   BY MR. MOUGEY:
   21   BY THE WITNESS:                                       21       Q. Find me one thing, one -- one sentence
   22      A. It wasn't Michael that said to do it.           22   in this letter, this e-mail that is negative about
   23   So, no.                                               23   Store 2865 other than the paragraphs that were
   24   BY MR. MOUGEY:                                        24   being cut out?

   Golkow Litigation Services                                                       Page 70 (274 - 277)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further71Confidentiality
                                                       of 98. PageID #: 470090
                                                                           Review
                                                      Page 278                                                      Page 280
    1      A. I don't even agree that the paragraph               1      MR. HOUTZ: Reading the draft transcript, she
    2   that's getting cut out is negative. What I'm              2   had an answer, "I don't -- you have to know the
    3   seeing is that the paragraph that was cut out was,        3   store and the area and what is around it and is
    4   hey, we're telling Cardinal we need to get them           4   there a surgical center, is there a hospice center.
    5   back on shipping controls. That is not our place          5   That's why we have store leaders on the ground."
    6   to do that.                                               6          You then said, "I didn't ask you --"
    7      Q. I have not asked you whether it's your              7          At which point I asked her -- I asked
    8   place to tell Cardinal to ship or not. What I'm           8   you to let her finish her answer and she started to
    9   suggesting and what I'm asking, and I think I'm           9   say, "That's why they are allow --"
   10   getting a partial answer, is: Is it appropriate to       10          I don't know where the rest of that
   11   take out information that Walgreens knows that a         11   answer was going. But if you have anything more to
   12   store moving 75 -- 70,000 dosage units a month of        12   say, say it.
   13   just hydrocodone and some of that volume is coming       13   BY THE WITNESS:
   14   from interstoring, getting it from other stores, is      14      A. So, that's why we had the store leaders
   15   that appropriate?                                        15   involved and they had to know about any interstore
   16      A. I don't --                                         16   of a controlled substance so that they could
   17      MR. HOUTZ: Object to form.                            17   determine if there was an issue that they could --
   18   BY THE WITNESS:                                          18   they could -- I'm sorry. I just lost my train of
   19      A. You have to know the store and the area            19   thought. But that they could get my team involved
   20   and what is around it and is there a surgical            20   so that we could help investigate it, make
   21   center, is there a hospice center. That's why we         21   determinations of quantity limits, et cetera.
   22   have store leaders on the ground.                        22   BY MR. MOUGEY:
   23   BY MR. MOUGEY:                                           23      Q. Is part of your investigation that's
   24      Q. I didn't ask you --                                24   important whether or not a store is interstoring?

                                                Page 279                                                             Page 281
    1        A. That's why they are aware --                      1       A. Part of our investigation is the total
    2        MR. HOUTZ: Allow her to finish.                      2   quantities that goes into the store. We ultimately
    3        MR. MOUGEY: Relax, Les. Relax. Every time            3   shut down, as you know, the interstore because it
    4 I --                                                        4   did muddy the waters and -- but we ultimately
    5      MR. HOUTZ: Let her finish an answer.                   5   always knew the total quantity that went into a
    6      MR. MOUGEY: Every time -- there hasn't been            6   location.
    7   an issue all day today about anybody interrupting         7       Q. So, the answer to my question is yes, it
    8   anybody. If she has an answer, I've stopped. So           8   is important to know the quantity that a store is
    9   just relax. So --                                         9   interstoring, correct?
   10      MR. HOUTZ: Well --                                    10       A. It's -- it's important for my team to
   11      MR. MOUGEY: Go ahead, Les. What do you want           11   know.
   12   to do now?                                               12       Q. I understand. So, the answer to my
   13      MR. HOUTZ: I would like her to have your              13   question is yes, it's important for your team
   14   question and her answer read back to the point           14   that's charged with implementing Walgreens'
   15   where you interrupted her so she can determine if        15   suspicious order monitoring policies to know
   16   she has anything more to say in response to the          16   whether or not a store is interstoring, correct?
   17   question.                                                17       A. It's important for my team, yes.
   18      MR. MOUGEY: Why don't you read it back for            18       Q. Yes, ma'am. So, the question I asked
   19   her, Les. If you want her to read it back, go            19   you about three questions ago was: Is it
   20   ahead and read Ms. Polster the question and let's        20   appropriate to take out information that Walgreens
   21   find out if her answer -- I didn't even get an           21   knows about a store interstoring when passing along
   22   answer to the question.                                  22   the results of an analysis from a store visit?
   23      MR. HOUTZ: I will be happy to do that.                23       MR. HOUTZ: Object to form.
   24      MR. MOUGEY: Thank you, Les.                           24   BY THE WITNESS:

   Golkow Litigation Services                                                            Page 71 (278 - 281)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further72Confidentiality
                                                       of 98. PageID #: 470091
                                                                           Review
                                                    Page 282                                                      Page 284
    1       A. When passing along to whom?                        1      A. But I did know.
    2   BY MR. MOUGEY:                                            2      Q. So, the answer to my question is, "Yes,
    3       Q. Cardinal in the context of this e-mail.            3   I would like to know"?
    4       A. I don't know what Cardinal used to                 4      A. My team found out when the order
    5   determine whether or not a store was allowed or not       5   quantity gets posted, it gets added to the ultimate
    6   allowed to get controlled substance shipped to            6   inventory into that location.
    7   them.                                                     7      Q. Yet when passing along the results of
    8       Q. I didn't ask you that. Okay. I didn't              8   the store audit, Walgreens cut the interstoring
    9   ask you what Cardinal.                                    9   information out when passing it along to Cardinal
   10           I said do you think it's appropriate             10   to ensure that we could get Cardinal back on
   11   based on your 36 years at Walgreens, you running         11   shipping to this location, correct?
   12   Pharmaceutical Integrity, is it appropriate for          12      MR. HOUTZ: Object.
   13   Walgreens to cut out information about a store           13   BY THE WITNESS:
   14   that's moving 70,000 dosage units of hydrocodone a       14      A. I don't --
   15   month that it's interstoring when passing along the      15      THE WITNESS: Sorry.
   16   results of a store visit to Cardinal?                    16      MR. HOUTZ: Object to form and foundation.
   17       MR. HOUTZ: Object to form, asked and                 17   BY THE WITNESS:
   18   answered.                                                18      A. I don't agree with that.
   19   BY THE WITNESS:                                          19   BY MR. MOUGEY:
   20       A. You have to know the entire picture of            20      Q. Is the fact the store is
   21   the store. You have to understand why they would         21   intersourcing -- I'm sorry -- interstoring a
   22   need that quantity. What's the business model            22   positive or negative to you?
   23   happening at that particular location because every      23      A. They're taking care of the patients.
   24   store is different.                                      24      MR. HOUTZ: Peter, can we take a quick break
                                                      Page 283                                                    Page 285
    1   BY MR. MOUGEY:                                            1 now?
    2       Q. I didn't ask you if the 70,000 dosage              2     MR. MOUGEY: Sure. Do you want to get me an
    3   units were appropriate. I didn't ask you to enter         3 answer from upstairs on whether or not -- I've been
    4   an edict about whether or not what the store was          4 asking for five days.
    5   doing was okay.                                           5       MR. HOUTZ: Downstairs.
    6          What I've now asked about four or five             6       MR. MOUGEY: Downstairs, upstairs, wherever.
    7   times and you have yet to answer: Is it                   7       MR. HOUTZ: I will ask the question.
    8   appropriate based on your perspective for Walgreens       8       MR. MOUGEY: Thank you.
    9   to cut out information about a store audit when           9       THE VIDEOGRAPHER: We are off the record at
   10   it's moving 70,000 dosage units of hydrocodone a         10   4:17 p.m.
   11   month --                                                 11             (WHEREUPON, a recess was had
   12       MR. HOUTZ: Object to form.                           12              from 4:17 to 4:37 p.m.)
   13   BY MR. MOUGEY:                                           13       THE VIDEOGRAPHER: We are back on the record
   14       Q. -- that it is interstoring?                       14   at 4:37 p.m.
   15       A. I don't know what Cardinal would need to          15   BY MR. MOUGEY:
   16   know whether or not it's appropriate or not              16       Q. Ms. Polster, I'm going to hand you what
   17   appropriate.                                             17   we've marked as Polster 21.
   18       Q. You and I are talking past each other.            18             (WHEREUPON, a certain document was
   19   I'm not asking you what Cardinal thinks, what            19              marked as Walgreens-Polster Exhibit
   20   Cardinal wants.                                          20              No. 21: 9/28/12 e-mail with
   21          Would you want to know in your analysis           21              attachment; WAGMDL00113816 -
   22   on this store that's moving 70,000 dosage units a        22              00113820.)
   23   month, that it is receiving its inventory via            23   BY MR. MOUGEY:
   24   interstoring? Would you want to know?                    24       Q. You're familiar with Walgreens' Focus on

   Golkow Litigation Services                                                           Page 72 (282 - 285)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further73Confidentiality
                                                       of 98. PageID #: 470092
                                                                           Review
                                                     Page 286                                                          Page 288
    1   Profit initiative, correct?                              1       A. This looks to me like it's a web form.
    2      A. Focus on Compliance?                               2       Q. Okay.
    3      Q. No. I think I said Focus on Profit.                3       A. And they would click on the link and
    4      A. I don't know what that is.                         4   then fill in the -- either the bubble or the free
    5      Q. You never heard of that?                           5   form type in the boxes.
    6      A. No.                                                6       Q. Do you know who at the store was
    7      Q. So, you're not familiar with Walgreens'            7   required to fill it out?
    8   Focus on Profit that morphed or changed into Focus       8       A. I haven't -- I don't know. I mean, when
    9   on Compliance?                                           9   we send it out, it's generally the pharmacy
   10      A. No.                                               10   manager.
   11      Q. Would you agree with me those are two             11       Q. Generally the pharmacy manager. And do
   12   separate things, right, focusing on profit and          12   you understand Focus on Compliance, compliance with
   13   focusing on compliance?                                 13   what?
   14      A. I guess it would -- it would -- you               14       A. My understanding was loss prevention had
   15   would need to give me more context around it. But,      15   many Focus on Compliance. So, it depended on what
   16   yeah, the words mean two different things to me.        16   the topic was during that -- I can't remember if it
   17      Q. Sometimes to do things that are                   17   was quarterly or every other month, they would send
   18   compliant with rules and regulations means              18   out a Focus on Compliance and the topics changed.
   19   sacrificing some profit on occasion, correct?           19       Q. Was there always a form for the
   20      A. Sometimes putting things in place                 20   pharmacies to fill out?
   21   does -- like system enhancements or whatever does       21       A. As far as I know.
   22   cost money to do that. So, yes.                         22       Q. So, there were different forms that went
   23      Q. But you are familiar with Focus on                23   to the pharmacies from loss prevention asking them
   24   Compliance?                                             24   to fill out or gather certain information?

                                                    Page 287                                                         Page 289
    1      A. Yes.                                               1       A. And it wasn't always pharmacy.
    2      Q. And what do you understand Focus on                2   Sometimes it could have been front of store too.
    3   Compliance was?                                          3       Q. Okay. Do you have an independent
    4      A. I knew that there was a -- I don't even            4   recollection that there was more than one time that
    5   know who developed this, but it was a way for us to      5   loss prevention asked pharmacies to fill out or
    6   have compliance checks at store level to ensure          6   pull information in relation to their dispensing
    7   that -- and we would -- the stores would have to         7   practices?
    8   answer a series of questions, and then we would be       8       A. We -- I didn't know about this until I
    9   able to get the aggregated data at the support           9   was on the task force, but since -- since that
   10   center.                                                 10   date, I have worked with loss prevention to send
   11      Q. What was your capacity when you received          11   out Focus on Compliance for different things
   12   this e-mail from Mike Umbleby in September 28,          12   around, you know, controlled substance dispensing,
   13   2012?                                                   13   following of policies, et cetera.
   14      A. I was the director of pharmacy                    14       Q. Let's walk through this form, if you
   15   operations optimization. This is right when the         15   would be so kind.
   16   task force started.                                     16           So, on Bates No. 113816, and I'm now on
   17      Q. Right around the same time period?                17   page 17 of the doc, which is the second page. The
   18      A. Yes.                                              18   initial box, "Focus on Compliance, Store
   19      Q. And the attachment is titled                      19   Information," is just the routine, is this the
   20   "FOC Survey - June 2012." Right?                        20   market, the district, the store, the month or the
   21      A. Yes.                                              21   date that they visited the store.
   22      Q. So, do you recall how stores would fill           22           Does that tell you, give you some
   23   this out, meaning was it a paper form? Was it           23   information about who might have filled this out
   24   online where someone filled it out? Was it pdf?         24   when asked to fill it out?

   Golkow Litigation Services                                                            Page 73 (286 - 289)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further74Confidentiality
                                                       of 98. PageID #: 470093
                                                                           Review
                                                 Page 290                                                        Page 292
    1        A. It might have been the loss prevention         1   to -- when analyzing dispensing and when analyzing
    2   manager that filled it out, not the pharmacy           2   suspicious orders as a distributor, correct?
    3   manager.                                               3       A. Yes.
    4        Q. So, it asks, "Is this a 24-hour                4       Q. All right. So, one example just might
    5   location?"                                             5   be the simple 24-hour location, correct?
    6           And why is that important, Ms. Polster?        6       A. Yes.
    7        A. Generally a 24-hour location was placed        7       Q. Because the next question is the average
    8   near a hospital and so any emergency room patient      8   number of prescriptions filled per day, and the
    9   that was discharged would, you know, likely go to a    9   24-hour location gives context, correct?
   10   24-hour pharmacy to get their prescription filled.    10       A. Yes.
   11        Q. Now, would that be important information      11       Q. And context both in the dispensing and
   12   in your job, in Pharmaceutical Integrity, whether     12   in the distributor, correct?
   13   it's a 24-hour store, when deciding whether or not    13       A. Yes.
   14   Walgreens was fulfilling its responsibilities as a    14       Q. So, when we are looking at that little
   15   distributor?                                          15   circle of diversion, that's just a very elementary
   16        A. It would -- it would be a consideration.      16   example meaning the 24-hour location that could be
   17   It would make sense as to why the volume was          17   used for both, right?
   18   different than a store that was doing 100             18       A. Yes.
   19   prescriptions per day.                                19       Q. And I say "both," I mean dispensing and
   20        Q. Now, we started off with that Ven             20   distributor, correct?
   21   diagram, my real fancy diagram, this morning with     21       A. Yes.
   22   dispensing and distributor.                           22       Q. All right. So, as this goes on, "Please
   23        A. On the yellow piece of paper.                 23   list the hospitals and pain management clinics from
   24        Q. Yes exactly. I think it's Exhibit 3?          24   which the store routinely receives prescriptions."

                                                 Page 291                                                       Page 293
    1       A. Yes.                                            1           And would your answer be the same under
    2       Q. And that you agreed with me that the            2   5 that that's information that could be used for
    3   diversion circle overlapped with both dispensing       3   both dispensing and distributor responsibilities?
    4   and distributor, correct?                              4      A. Yes.
    5       A. Yes.                                            5      Q. And No. 6, "What are the names and DEA
    6       Q. And you'd agree that often information          6   numbers of the top 3 prescribers of controlled
    7   could be used by Pharmaceutical Integrity with --      7   substance medications for this store?"
    8   to ensure that Walgreens is complying with its         8           And that also was information that you
    9   dispensing obligations, correct?                       9   would use in Pharmaceutical Integrity to analyze
   10       A. I didn't understand your question.             10   both dispensing and distributor, correct?
   11       Q. Information that you use in this circle        11      A. Yes.
   12   with the pharmacy, that was information that you      12      Q. And 7, "Is the pharmacist aware of any
   13   used to ensure that Walgreens was complying with      13   increase in pain management prescriptions coming
   14   its dispensing obligations --                         14   into the store?"
   15       A. Yes.                                           15           And that answer would also be helpful
   16       Q. -- correct?                                    16   when analyzing Walgreens' responsibility as both a
   17       A. Yes.                                           17   dispenser and a distributor, right?
   18       Q. And often that same information could          18      A. Yes.
   19   also be used if -- when analyzing whether or not      19      Q. 8, "When a prescriber is contacted
   20   Walgreens as a distributor was complying with its     20   regarding a pain management prescription, is the
   21   obligations under the federal code and regs,          21   interaction annotated in IntercomPlus or documented
   22   correct?                                              22   on the prescription hard copy?"
   23       A. Yes.                                           23           That too, No. 8, is information that
   24       Q. So, often that information could be used       24   would be helpful for both dispensing and

   Golkow Litigation Services                                                        Page 74 (290 - 293)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further75Confidentiality
                                                       of 98. PageID #: 470094
                                                                           Review
                                                     Page 294                                                      Page 296
    1   distributing from a Pharmaceutical Integrity                1      Q. Just negative adjustments?
    2   perspective, correct?                                       2      A. That's all I recall.
    3       A. Yes.                                                 3      Q. Okay.
    4       Q. All right. 9, "Has the pharmacist seen               4      A. From the version I used.
    5   a lot of pain management prescriptions from                 5      Q. Yes, ma'am. Now, there were different
    6   prescribers who practice in a different state?"             6   versions?
    7           Same answer, right? That information is             7      A. (Nodding head.)
    8   helpful in analyzing Walgreens' responsibilities as         8      Q. Could you opt in? How did you know
    9   a dispenser and as a distributor, correct?                  9   there were different versions?
   10       A. Yes.                                                10      A. I just know over the course of the years
   11       Q. No. 10, "Has the pharmacist seen a lot              11   they moved things or, you know, added more
   12   of patients with pain management prescriptions who         12   information. But when I used it, it was strictly
   13   reside in a different state?"                              13   negative adjustments.
   14           And that just like the previous 9,                 14      Q. Do you believe that loss prevention had
   15   helpful for both analyzing Walgreens as a dispenser        15   a role in Walgreens' suspicious order monitoring
   16   and Walgreens as a distributor, correct?                   16   policies prior to Pharmaceutical Integrity?
   17       A. Yes.                                                17      A. I don't know.
   18       Q. So, the next, No. 11, "Access the                   18      Q. You don't know?
   19   52-week report in LPxRx report in LPD."                    19      A. Uh-uh.
   20           So, can you help me with what those                20      Q. Did -- when you came in, you kind of
   21   acronyms stand for?                                        21   analyzed who was doing what, right?
   22       A. Sure. The LPD is the loss prevention                22      A. They were part of the meetings.
   23   dashboard.                                                 23      Q. Right.
   24           The LPxRx, I don't know what LP -- I               24      A. But I didn't know what their exact role
                                                        Page 295                                                     Page 297
    1   don't know what the Px stands for, but the premise          1   was.
    2   of the report showed the pharmacy manager or store          2       Q. But did you ask them, "What have you
    3   leadership, whether it was the store manager or the         3   guys been doing for" --
    4   loss prevention manager, if there was any drug that         4       A. I didn't.
    5   had excessive negative adjustments which would need         5       Q. You don't remember that being discussed
    6   to be looked into and investigated at store level.          6   at all?
    7       Q. And when you say "the loss prevention                7       A. I got to tell you, man, we just rolled
    8   dashboard," how are you familiar with the loss              8   up our sleeves and got busy. I did not ask what
    9   prevention dashboard?                                       9   exactly they were doing.
   10       A. Right when I was leaving field                      10       Q. All right. No. 12 -- I'm sorry. We are
   11   leadership, it was just starting to come out or            11   still on 11, "Does oxycodone 15 milligram or Oxy
   12   version 1 was starting to come out and so I used it        12   30 milligram appear on the LxRx report?" (As read.)
   13   as a tool when I had stores to supervise.                  13           And the -- I apologize. I was trying to
   14       Q. Tell me, when you say "a tool," what                14   follow you. But the LxRx (sic), was that something
   15   kind of tools were on there that you used?                 15   different than negative adjustments?
   16       A. So, it would show controlled substances             16       A. That would be the report that showed up
   17   and whether or not they were negative adjusted.            17   on the dashboard that would show the negative
   18   So, it would give -- give me where to look to see          18   adjustments.
   19   if it didn't -- if those negative adjustments              19       Q. Okay. And, again, that information,
   20   didn't make sense or whatever was going on, that we        20   similar to the previous ten, would be helpful from
   21   could investigate it further.                              21   both a dispensing and a distributor analysis,
   22       Q. Okay. Any other things that you --                  22   correct?
   23   information you can remember on the LP dashboard?          23       A. Yes.
   24       A. No.                                                 24       Q. All right. So then 12. What's WIC

   Golkow Litigation Services                                                             Page 75 (294 - 297)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further76Confidentiality
                                                       of 98. PageID #: 470095
                                                                           Review
                                                       Page 298                                                       Page 300
    1   stand for?                                                 1 information compiled, you might ask for someone to
    2       A. Walgreens item code.                                2 send you a chart or a graph or a report comprised
    3       Q. Okay. "Click on the Walgreens item code             3 of the underlying data. Is that fair?
    4   to view the 52-week information on the bottom of           4      A. The only other way that I knew how to
    5   the screen. Please enter the total 52-week net             5 get to the data that you're referencing is the
    6   adjustments and overbuys for oxycodone 15 milligram        6 52-week item movement which you could go into SIMS
    7   and oxycodone 30 milligram (using (-) to indicate a        7 to look at.
    8   negative adjustment)."                                     8      Q. I'm just -- I'm just -- I'm very
    9           Correct?                                           9 30,000-foot.
   10       A. Yes.                                               10      A. Okay.
   11       Q. And -- now, bear with me here.                     11      Q. I'm not asking about anything specific.
   12           The WIC where you click on it, was that           12      A. Okay.
   13   a link?                                                   13      Q. I'm just trying to understand --
   14       A. Yes.                                               14      A. Yeah.
   15       Q. Was it common when -- at Walgreens that            15      Q. -- how you gathered information if you
   16   if you wanted to look at data or look at charts or        16   wanted to look at something. Not in the context of
   17   graphs, that there were links that you went to?           17   12, but just generally.
   18       A. If you were on a dashboard that we                 18      A. So, at store level.
   19   were -- that we built at the support center, we           19      Q. Right.
   20   tried to take work out of the store so if they            20      A. There was a dashboard that had various
   21   wanted to see something, they could click on a link       21   KPIs and this was one of them.
   22   and drill in further versus having to manually type       22      Q. Okay.
   23   out the ten digits of the NDC number or the               23      A. One of the KPIs.
   24   six-digit Walgreens item code.                            24      Q. And KPI is again?

                                                     Page 299                                                         Page 301
    1       Q. So, there were -- you also got reports              1      A. Key performance indicator.
    2   that you asked for, right? Maybe it was just               2      Q. Okay. So, there were different kinds of
    3   combining data or looking at charts or graphs or           3   dashboards throughout Walgreens. Is that fair?
    4   something along those lines, right?                        4      A. Yes.
    5       A. When you say "you," you mean the store              5      Q. So, loss prevention you mentioned had a
    6   personnel?                                                 6   dashboard?
    7       Q. No, I mean -- I just mean whatever you              7      A. Yes.
    8   have knowledge of. You, Tasha Polster.                     8      Q. We mentioned the gentleman, I can't
    9       A. Well, there were various tools that were            9   remember his name, earlier this morning that used
   10   developed, and obviously they changed over the            10   Tableau as a dashboard, correct?
   11   course of the years. And this was one of the tools        11      A. Yes, but that was not at store level.
   12   and, yes, it did have a link and you could drill          12      Q. I understand. I'm just talking about
   13   in.                                                       13   Walgreens.
   14       Q. But what I'm -- I think my questions are           14      A. Yeah.
   15   just not very artful.                                     15      Q. I'm trying to understand.
   16          What I'm trying to understand is that              16      A. Got it.
   17   there were links and dashboards that you could            17      Q. We got Tableau. We have dashboards at
   18   click and drill down, right?                              18   the store level, correct?
   19       A. Yes.                                               19      A. Yes.
   20       Q. And that was fairly common at Walgreens,           20      Q. We have dashboards at loss prevention,
   21   right?                                                    21   correct?
   22       A. I would say it was just becoming common            22      A. Yes.
   23   at Walgreens.                                             23      Q. And you even had access to some links or
   24       Q. Okay. The other way to look at data or             24   dashboards on your computer in various capacities,

   Golkow Litigation Services                                                             Page 76 (298 - 301)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further77Confidentiality
                                                       of 98. PageID #: 470096
                                                                           Review
                                                   Page 302                                                    Page 304
    1   right?                                                   1   state prescription drug monitoring program?"
    2      A. Yes.                                               2           And you think that's for dispensing as
    3      Q. And the same thing is true with                    3   well?
    4   Pharmaceutical Integrity is that there were some         4       A. Yes.
    5   dashboards and links to gather some information,         5       Q. So, check for photo IDs is 18. 19, for
    6   right?                                                   6   controlled substance. Those are predominantly
    7      A. Yes.                                               7   dispensing, correct?
    8      Q. And then that there was also automated             8       A. Yes.
    9   reports being generated, correct?                        9       Q. Now, if we go to DEA notification, 22,
   10      A. I'm sure there were automated reports.            10   "Is the DEA notified within two business days of
   11      Q. Okay. But if you wanted a report with             11   any forged or altered controlled substance
   12   specific data, you could ask someone to run a           12   prescription?"
   13   specific query and someone could pull the data for      13           Do you see that?
   14   you, correct?                                           14       A. Yes.
   15      A. Yes.                                              15       Q. And that's helpful for both dispensing
   16      Q. All right. So, I guess what I'm trying            16   and distributor, correct?
   17   to get to is that there were numerous ways to           17       A. Yes.
   18   gather and organize data at Walgreens other than        18       Q. All right. Same thing for 23, correct?
   19   just a report?                                          19       A. Yes.
   20      A. Yes.                                              20       Q. And 24?
   21      Q. Meaning the dashboards?                           21       A. Yes.
   22      A. Right.                                            22       Q. And 25?
   23      Q. And the links, correct?                           23       A. Yes.
   24      A. Yes.                                              24       Q. And how about 26?
                                                     Page 303                                                  Page 305
    1      Q. So, 13, "Has the pharmacy staff observed           1      A. Yes. Well, I don't know if it's about
    2   any individuals dropping off pain management             2   distributor or dispensing, but I think from a
    3   prescriptions for multiple patients?"                    3   support center and a loss prevention point of view,
    4           Again, that is information that's                4   we need to understand, you know, are the
    5   helpful to when analyzing Walgreens'                     5   pharmacists scared.
    6   responsibilities as both a dispenser and a               6      Q. Most -- there is a lot of pharmacists
    7   distributor, correct?                                    7   that aren't big 6 foot 3, 230 pounds guys like me
    8      A. Yes.                                               8   and look a little more like you behind the counter,
    9      Q. And let's just kind of go through these            9   and that's a safety issue, correct?
   10   maybe a few at a time to make it a little quicker.      10      A. They could feel --
   11           So, 14, I'm going to ask the same               11      Q. Threatened?
   12   questions, and you just tell me -- standing             12      A. -- threatened, yes.
   13   question. You just tell me yes or no.                   13      Q. So, were the results of this survey
   14           "Does the state have a prescription drug        14   compiled somewhere and did you actually see the
   15   monitoring program?"                                    15   results?
   16           That's helpful for both dispensing and          16      A. I did not.
   17   distributor, right?                                     17      Q. Never saw them?
   18      A. I think it's helpful for dispensing.              18      A. No.
   19      Q. All right. How about 15, "Does the                19      Q. So, we're 9/28/2012. This isn't
   20   pharmacy" -- "the pharmacist on duty have access to     20   something that your task force used trying to make
   21   the state's prescription drug monitoring program        21   some decisions?
   22   website?"                                               22      A. No. I knew that we sent it out, but I
   23      A. For dispensing.                                   23   don't recall going through all of the answers. My
   24      Q. Okay. "When does the pharmacist use the           24   understanding was the answers went to loss

   Golkow Litigation Services                                                         Page 77 (302 - 305)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further78Confidentiality
                                                       of 98. PageID #: 470097
                                                                           Review
                                                       Page 306                                                  Page 308
    1   prevention guy.                                            1           You have never seen something like this
    2       Q. All right. But you don't know what                  2   before?
    3   happened to it?                                            3       A. I have not.
    4       A. Right.                                              4       Q. I hand you what we are going to mark as
    5       Q. But the loss prevention team or group               5   Polster 23. It's P-WAG-2637, Bates No. 673894.
    6   had representation on the task force, correct?             6             (WHEREUPON, a certain document was
    7       A. Yes.                                                7              marked as Walgreens-Polster Exhibit
    8       Q. So, they may very well have reviewed the            8              No. 23: Spreadsheet;
    9   results as part of the task force. You're just not         9              WAGMDL00673894.)
   10   sure?                                                     10   BY THE WITNESS:
   11       A. Correct.                                           11       A. Okay.
   12       Q. I hand you P-WAG-2111, Bates No. 674623.           12   BY MR. MOUGEY:
   13   I just wanted to see if you knew what that was.           13       Q. Can you read it? Is it big enough for
   14             (WHEREUPON, a certain document was              14   you to read?
   15              marked as Walgreens-Polster Exhibit            15       A. I can -- if I struggle, I can read it.
   16              No. 22: Document, "MartinB,                    16       Q. Okay. Because I have a larger copy
   17              Threshold Violations-Monthly";                 17   here.
   18              WAGMDL00674623.)                               18       A. No, I'm good.
   19   BY MR. MOUGEY:                                            19       Q. I don't understand what this is. And do
   20       Q. Have you seen that report or a similar             20   you recognize this report?
   21   report to this?                                           21       A. No.
   22       A. No.                                                22       Q. Let's just go through. It appears like
   23       Q. Never have seen this?                              23   it's Excel, right?
   24       A. No. I mean, the font and the columns               24       A. Yes.
                                                     Page 307                                                      Page 309
    1   indicate it came from SIMS, but I've never seen            1      Q. So, "Location Type," under A, "S." Do
    2   this report.                                               2   you have any idea?
    3       Q. The font and the columns, the way the               3      A. I'm assuming store.
    4   report is structured I guess?                              4      Q. All right. "Location Number," and those
    5       A. Right.                                              5   numbers appear to comport with what Walgreens uses
    6       Q. Do you see in the upper right-hand side             6   for store numbers, right?
    7   "Suspicious Order"?                                        7      A. Correct.
    8       A. Yes.                                                8      Q. And then "Item Number"?
    9       Q. And do you see the "Rsn Cd"? I'm                    9      A. That's the WIC.
   10   interpreting that as reason code. Do you know?            10      Q. Okay. And then "Order Number"?
   11       A. I don't know, but that makes sense.                11      A. Yes.
   12       Q. Do you recognize the T?                            12      Q. And "Order Number" is an internal number
   13       A. No.                                                13   within Walgreens indicating just a way to find a
   14       Q. Are you familiar with what an override             14   particular order?
   15   report is? Override form? Sorry.                          15      A. Yeah, when an order is generated, it
   16       A. Not in context to this.                            16   would -- a number correlates with it, and you can
   17       Q. No. I'm sorry.                                     17   find it in SIMS.
   18       A. My override --                                     18      Q. "Order Type," I'm seeing Rs?
   19       Q. Something totally different. Override.             19      A. Yeah, I don't know what that means.
   20           You understand what the override form             20      Q. You don't know. Okay.
   21   is, right?                                                21           "Line Number." Don't know?
   22       A. I understand what an override is, but              22      A. No.
   23   which override form are you talking about?                23      Q. Okay. And "Product Identifier"?
   24       Q. I'll pull it out in a minute.                      24      A. That looks like an NDC number to me

   Golkow Litigation Services                                                            Page 78 (306 - 309)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further79Confidentiality
                                                       of 98. PageID #: 470098
                                                                           Review
                                                  Page 310                                                  Page 312
    1   without the dashes.                                    1   extra digit, correct?
    2       Q. An NDC code without the dashes. Okay.           2       A. On which side?
    3          And then we see an item -- I don't know         3       Q. I don't know.
    4   what that stands for. M?                               4       A. I don't know. Sorry.
    5       A. Oh, mylar.                                      5       Q. M, N and O all appear to have an extra
    6       Q. Mylar. What's mylar mean?                       6   digit, correct?
    7       A. At store level, when you have product on        7       A. Yeah.
    8   the shelf, you have a mylar that corresponds with      8       Q. And they all refer to a date but they
    9   the item that has the WIC number, the NDC -- the       9   all seem to have an extra number in them, right?
   10   NDC number --                                         10       A. Yes.
   11       Q. Okay.                                          11       Q. And you don't know exactly what's extra?
   12       A. -- and where the product came from or          12       A. Right.
   13   could come from.                                      13       Q. Okay. So, you don't know either?
   14          So, there are some items that the              14       A. No.
   15   Walgreens DC didn't carry and the mylar would         15       Q. P, "Suggested Order Quantity"?
   16   indicate whether or not it was only an item that      16       A. Yes.
   17   you could get from a wholesaler or if you could get   17       Q. Do you understand what that's
   18   it from the Walgreens DC.                             18   referencing?
   19       Q. Okay. So, "Sales Category Y Code." I'm         19       A. Yes.
   20   in column J. It says "RX"?                            20       Q. What is that?
   21       A. Yes.                                           21       A. So, based on the volume of the store and
   22       Q. Means a pharmacy, right?                       22   what they were dispensing, the suggested order
   23       A. Right.                                         23   quantity by the system was 13.
   24       Q. And then "Control DL Drug Class"?              24       Q. Okay. And that correlates with the NDC
                                                  Page 311                                                  Page 313
    1      A. Yeah, that's -- I don't know if that --          1   code for that store?
    2   no, I think it just says "Control Drug Class." I       2      A. Yes.
    3   think the ROL is the second line there.                3      Q. And then Q is "Tolerance Limit
    4      Q. Okay.                                            4   Quantity"?
    5      A. But that just means is it a C-II, III,           5      A. Which was the maximum number of bottles
    6   IV or V.                                               6   that could be shipped at any one time to that
    7      Q. So, you can see there in lines 3 and 4           7   location set by the algorithm that Wayne built.
    8   with oxycodone 15 milligram tablets, that's            8      Q. Make sure I understand. P with 13 is
    9   Schedule II, right?                                    9   the total number of orders for any given month, and
   10      A. Yes.                                            10   Q is the number of --
   11      Q. All right. Then L. Do you have an               11      A. I don't think given month.
   12   understanding of what L is?                           12      Q. Okay.
   13      A. I know what a planogram is, but I don't         13      A. I don't know the time frame on that for
   14   know what it makes sense to this report. I guess      14   sure. But for that particular order, 13 was the
   15   that it was in the pharmacy, but I don't know.        15   suggested order. So, I don't know if that's by
   16      Q. Okay. M, the established delivery date?         16   week or by month.
   17      A. I don't know.                                   17      Q. Okay. But does it seem odd to you that
   18      Q. Does that date make sense to you under          18   the suggested quantity order quantity is higher
   19   M?                                                    19   than the tolerance limit quantity?
   20      A. No. That's why I was saying I don't             20      A. No, not necessarily.
   21   know because it doesn't make sense.                   21      Q. Tell me why.
   22      Q. Have you ever heard of a Julian date?           22      A. Because when Steve built the -- sorry.
   23      A. No.                                             23   When Wayne built the tool and made all the tweaks
   24      Q. No? That date looks like it has an              24   and the linear regression is we are trying to

   Golkow Litigation Services                                                       Page 79 (310 - 313)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further80Confidentiality
                                                       of 98. PageID #: 470099
                                                                           Review
                                                Page 314                                                      Page 316
    1   normalize by peer, it is possible that the system     1       A. If the override form was filled out,
    2   would generate an order that was larger than that     2   yes.
    3   because, you know, they may have used all the         3       Q. Okay. And it should have been filled
    4   tablets that they had in stock and so the system      4   out, right?
    5   was trying to order more so they would stay in        5       A. Well, I don't know the date on this
    6   stock for the patients that were coming in.           6   report. Do you have a date?
    7           As the linear regression tool started         7       Q. We're just talking about override.
    8   being used and we started using the ceilings and      8   Generally override. I'm just trying to understand
    9   the tolerances, you know, we were trying to           9   the override.
   10   normalize. So, it doesn't surprise me that the       10       A. Okay, yes.
   11   suggested order quantity would be different than     11       Q. The rationale for the override should be
   12   the tolerance.                                       12   in the form?
   13      Q. And then R appears to be the difference        13       A. Yes.
   14   between P and Q?                                     14       Q. Correct?
   15      A. Yes.                                           15       A. Yes.
   16      Q. And then S is "Order Quantity."                16       Q. And it should be recorded, correct?
   17      A. Yes.                                           17       A. Yes.
   18      Q. Now, I don't understand S and T.               18       Q. And if you wanted to, Tasha Polster,
   19           T appears to be "Adjusted Order              19   director of Pharmaceutical Integrity, wanted to
   20   Quantity," does it not?                              20   look and see how many times a store had received an
   21      A. It says that, but I don't know where           21   override, could you do that?
   22   that number came from unless at store level          22       A. Yes.
   23   somebody tried to order 14 bottles instead of the    23       Q. And could you look at the reasons why
   24   13 that the order suggested.                         24   the store had received an override?

                                                Page 315                                                    Page 317
    1       Q. Do you know what the -- I asked you            1      A. Yes, I'd have my team pull it up.
    2   earlier about an override form, right?                2      Q. But you're not certain how far back that
    3       A. Yeah.                                          3   goes?
    4       Q. So, the override form is on Walgreens          4      A. I can't remember. Sorry.
    5   intranet, correct?                                    5      Q. Okay. So, as we go across this page,
    6       A. Correct.                                       6   "Adjusted User." Any of those names ring a bell in
    7       Q. And the pharmacist will fill it out,           7   U?
    8   correct?                                              8      A. I don't know. No, I don't -- none of
    9       A. Yes.                                           9   those names are anybody that was on my team.
   10       Q. And someone from your group reviews the       10      Q. And V, "Adjusted Date." Again,
   11   override form?                                       11   that's -- seems to have an extra digit in it,
   12       A. After it goes to store leadership and         12   right?
   13   then district leadership, then it would come to my   13      A. Yes.
   14   team to review.                                      14      Q. So, W, "Average Ordering Frequency." Do
   15       Q. Okay. And were the results of the             15   you see that?
   16   override form compiled and stored anywhere?          16      A. Yep.
   17       A. Yes.                                          17      Q. Now, did your group use frequency?
   18       Q. Where?                                        18      A. I -- I don't -- I mean, I don't know if
   19       A. It's stored -- my team has access to          19   that's for sure what this means in terms of when I
   20   those. I don't remember how long they're kept.       20   look at that, I'm thinking order frequency for a
   21       Q. Okay.                                         21   C-II is once a week.
   22       A. But we did keep them.                         22      Q. So, is it okay if I -- if I tell
   23       Q. And that would include the reason for         23   Walgreens counsel when it tells me that all the
   24   the override?                                        24   answers are right here in all these reports and I

   Golkow Litigation Services                                                       Page 80 (314 - 317)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further81Confidentiality
                                                       of 98. PageID #: 470100
                                                                           Review
                                                     Page 318                                                 Page 320
    1   can tell them I just sat here with Tasha Polster         1       Q. Is Walgreens is organized into
    2   for an hour and looked at this and she can't tell        2   districts, right?
    3   what this is either? Because between the two of us       3       A. Yes.
    4   sitting here you don't know what this is, do you?        4       Q. So, that might be that makes sense.
    5       A. Right, correct.                                   5            Then "Total Observations" for AC. Do
    6       Q. I don't know either.                              6   you know what that is?
    7       A. Correct.                                          7       A. No.
    8       Q. It says, "Analysis data for Wayne.xls"            8       Q. Me either. "Calculation Sample Mean"
    9   on top, right?                                           9   under AD, any idea?
   10       A. Yes.                                             10       A. No.
   11       Q. That doesn't really help me much. Does           11       Q. Next one, "Standard Deviation," do you
   12   it help you?                                            12   know what that -- I know what standard deviation
   13       A. No.                                              13   is. I'm sure you do too. But do you know what
   14       Q. "Multiple items as suspicious" or "susp"         14   it's referencing? Standard deviation of what?
   15   on the bottom. Does that tell you anything?             15       A. No.
   16       MR. HOUTZ: Object to form and foundation on         16       Q. And the k-value. Any idea what that's
   17   that.                                                   17   referencing?
   18   BY THE WITNESS:                                         18       A. All of those terms, I know that I have
   19       A. I don't know what it meant.                      19   heard Wayne use those as part of his complicated
   20   BY MR. MOUGEY:                                          20   algorithm.
   21       Q. So, as we continue across this page, the         21       Q. Right. So, looking at this, you really
   22   "Suspicious Reason Code." Do you see the T?             22   can't give me much more direction than what I have
   23       A. Where it says "Adjusted Order Quantity"?         23   got?
   24       Q. Yes, ma'am.                                      24       A. Right.
                                                    Page 319                                                  Page 321
    1       A. Yes.                                              1      Q. You and I can't even figure out the
    2       Q. Under the Z column.                               2   dates looking at this, right? We can't even tell
    3       A. Yes.                                              3   between the two of us what dates this applies to?
    4       Q. That's why I was asking you earlier               4      A. Right.
    5   about the T on that report that we looked at, the        5      Q. I will hand you Bates No. 783520,
    6   last exhibit that we reviewed.                           6   P-WAG-83. Mark as Polster 24.
    7       A. 22.                                               7            (WHEREUPON, a certain document was
    8       Q. Bates -- yes, ma'am. Bates No. 23 has             8             marked as Walgreens-Polster Exhibit
    9   reason code T, and this has a reason code T.             9             No. 24: 1/21/13 e-mail string;
   10       A. Okay.                                            10             CAH_MDL2804_00783520 - 00783522.)
   11       Q. But sitting here today, either of those          11   BY MR. MOUGEY:
   12   two documents, you don't know what that means           12      Q. The date of this e-mail is 1/21/2013.
   13   either?                                                 13   Do you see that?
   14       A. No.                                              14      A. Yes.
   15       Q. And then it has -- as we continue to go          15      Q. And this appears to be an internal
   16   across, "District Location Type," just has "D." Do      16   Cardinal e-mail. Do you see that, at the top?
   17   you know what that means?                               17      A. Yes.
   18       A. No. I mean, not exactly, no.                     18      Q. Do you see the e-mail, the domain
   19       Q. Even generally?                                  19   exchanges?
   20       A. I would assume that it just means it's           20      A. Yes.
   21   the district and then the next digit is the             21      Q. And I just wanted to see if you had an
   22   district number.                                        22   understanding of what some of the vernacular was.
   23       Q. Okay.                                            23          As part of your job you were -- you
   24       A. The next column I mean. Sorry.                   24   understood that some of the pharmacies were also

   Golkow Litigation Services                                                         Page 81 (318 - 321)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further82Confidentiality
                                                       of 98. PageID #: 470101
                                                                           Review
                                                  Page 322                                                      Page 324
    1   entering orders obviously with Cardinal, correct?       1      Q. When you said they sent it to you, do
    2      A. Yes.                                              2   you mean you meaning Pharmaceutical Integrity or
    3      MS. FIX MEYER: Objection; foundation.                3   they sent it to each store?
    4   BY MR. MOUGEY:                                          4      MS. FIX MEYER: Objection; foundation.
    5      Q. And would you as part of Pharmaceutical           5   BY THE WITNESS:
    6   Integrity also take into consideration what stores      6      A. It ultimately ended up on the invoice.
    7   were -- what stores were ordering from Cardinal or      7   Some type of notation. I don't remember the actual
    8   other third-party vendors?                              8   language. But to help us communicate to the stores
    9      MS. FIX MEYER: Objection; form.                      9   when they were reaching their limit.
   10   BY THE WITNESS:                                        10   BY MR. MOUGEY:
   11      A. We would get that information when the           11      Q. So, do you see any potential problems
   12   order was posted.                                      12   with Cardinal informing stores that they were
   13   BY MR. MOUGEY:                                         13   nearing 75% of their accrual?
   14      Q. Yes, ma'am. But that was -- you took             14      MS. FIX MEYER: Objection; form, foundation,
   15   that into consideration when analyzing a store's       15   misstates.
   16   compliance -- well, let me do that another way.        16   BY THE WITNESS:
   17           Walgreens as a pharmacy had visibility         17      A. No.
   18   into both what it was distributing to its own          18   BY MR. MOUGEY:
   19   stores and third-party vendors, correct?               19      Q. No issue at all?
   20      A. Yes.                                             20      A. No.
   21      Q. And would you consider both what                 21      Q. So, the report says, "We do currently
   22   Walgreens was distributing to your pharmacies as       22   send a report of all stores who reached 75% of
   23   well as third-party vendors when performing your       23   their accrual."
   24   duties in Pharmaceutical Integrity?                    24           Do you see that?
                                                    Page 323                                                      Page 325
    1       A. Yes.                                             1       A. Yes.
    2       Q. All right. So, I just really want to             2       Q. Walgreens was aware that Cardinal was
    3   have an understanding. You see the subject line         3   sending 75% accruals to all stores?
    4   where it references Walgreens Co.?                      4       MS. FIX MEYER: Objection; form, foundation.
    5       A. With the DEA number?                             5   BY THE WITNESS:
    6       Q. Yes, ma'am.                                      6       A. Yes.
    7       A. Yes.                                             7   BY MR. MOUGEY:
    8       Q. So, the last paragraph in the top part           8       Q. Did you in Pharmaceutical Integrity know
    9   of this e-mail says, "We do currently send a report     9   that Cardinal was sending reports alerting stores
   10   to all stores who reached 75% of their accrual."       10   that they had reached 75% of their accrual?
   11       A. Yes.                                            11       MS. FIX MEYER: Objection; form, foundation,
   12       Q. Do you understand what accrual means?           12   misstates the document.
   13       MS. FIX MEYER: Objection.                          13   BY THE WITNESS:
   14   BY THE WITNESS:                                        14       A. As part of the integrity team we were
   15       A. It meant the amount that Cardinal               15   learning as we were going obviously. I knew that a
   16   shipped into any one location for any one NDC          16   report was being sent. I don't recall whether or
   17   number. I don't know what the -- their actual          17   not it was being sent originally to my team or --
   18   number was. No wholesaler will give you the actual     18   well, I mean, it wasn't sent originally to my team.
   19   number. But Cardinal did allow us to know if the       19   It must have sent somewhere else.
   20   store was approaching the limit on their end and       20           But the whole point of how we were
   21   helped us to communicate to the stores if the store    21   trying to communicate to the stores so they could
   22   was reaching the maximum amount that they were         22   give an accurate representation to take care of the
   23   allotted during that time frame.                       23   patients was we had to somehow notify them whether
   24   BY MR. MOUGEY:                                         24   or not they would or would not get the product on

   Golkow Litigation Services                                                         Page 82 (322 - 325)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further83Confidentiality
                                                       of 98. PageID #: 470102
                                                                           Review
                                                    Page 326                                                 Page 328
    1   the order that they were generating or why, why         1   Pharmaceutical Integrity in 2013 whether or not
    2   they didn't get it.                                     2   there were issues with the Perrysburg distribution
    3   BY MR. MOUGEY:                                          3   center, when I say issues, regulatory issues?
    4       Q. Do you have an understanding of how many         4       A. I was, no, not aware.
    5   distribution centers at Walgreens distributed           5       Q. P-WAG-213, Bates No. 10887, and we are
    6   Schedule II and Schedule III opiates?                   6   going to mark this as Polster 25.
    7       A. I don't know the exact number.                   7             (WHEREUPON, a certain document was
    8       Q. Do you have a general understanding?             8              marked as Walgreens-Polster Exhibit
    9       A. I know Jupiter did and I know Perrysburg         9              No. 25: 5/23/16 e-mail with
   10   did, but I can't remember if there were more           10              attachment; WAGMDL00010887 -
   11   outside of those two.                                  11              00010924.)
   12       Q. How about Woodland?                             12   BY MR. MOUGEY:
   13       A. We have a Woodland DC, but I don't              13       Q. This is an e-mail from Mr. Bratton who
   14   know --                                                14   is in your group to yourself, correct?
   15       Q. You don't know?                                 15       A. Yes.
   16       A. -- if they did C-IIs.                           16       Q. And it's titled, the attachment is,
   17       Q. A year, a year and a half in                    17   "State of Integrity." Correct?
   18   Pharmaceutical Integrity with Walgreens as a           18       A. Yes.
   19   distributor, you're not sure of whether the            19       Q. And this was kind of an overview or a
   20   Walgreens distribution center sent Schedule II and     20   state of Pharmaceutical Integrity as of May 23,
   21   III opiates?                                           21   2016, correct?
   22       A. I don't know which -- which schedules           22       A. Yes.
   23   came out of which DCs.                                 23       Q. Who put together this PowerPoint, do you
   24       Q. Obviously, Perrysburg was shut down as a        24   recall?
                                                   Page 327                                                  Page 329
    1   result of the DEA investigation in 2013, correct?       1       A. It must have been Ed Bratton. His name
    2      A. I don't remember Perrysburg being shut            2   is not on the PowerPoint, but it's on the e-mail
    3   down.                                                   3   and he does do data analysis for me.
    4      Q. Did I say Perrysburg?                             4       Q. Okay. And there is nobody's names on
    5      A. Yes.                                              5   the PowerPoint that I see, correct?
    6      Q. I'm sorry. Let me redo that.                      6       A. Yeah.
    7           Jupiter.                                        7       Q. And why don't you flip through it. Have
    8      A. Yes.                                              8   you seen this PowerPoint?
    9      Q. Jupiter was shut down in 2013 as a                9       A. Yes.
   10   result of the DEA investigation --                     10       Q. Do you recall seeing it?
   11      A. Yes.                                             11       A. Yes.
   12      Q. -- correct?                                      12       Q. Familiar with it generally?
   13      A. Yes.                                             13       A. Yes.
   14      Q. And Perrysburg also received subpoenas           14       Q. And did you look at it in preparation
   15   from the DEA. Were you aware of that in 2013?          15   for today?
   16      A. Not off the top of my head. I might              16       A. I don't remember looking at it before
   17   have been, but I don't remember.                       17   today.
   18      Q. Do you recall that shortly on the heels          18       Q. Okay.
   19   after Jupiter was shut down, that Walgreens also       19       A. I mean, in preparation.
   20   shut down Perrysburg?                                  20       Q. So, as you flip through these pages,
   21      A. I recall that a decision was made that           21   would you agree with me this is a pretty detailed
   22   we were no longer going to distribute controlled       22   report?
   23   substances, but I don't know the reason why.           23       A. Yes.
   24      Q. So, you're not aware as a director of            24       Q. And that this took some time to put

   Golkow Litigation Services                                                        Page 83 (326 - 329)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further84Confidentiality
                                                       of 98. PageID #: 470103
                                                                           Review
                                                  Page 330                                                   Page 332
    1   together?                                              1   identified by Mr. Bancroft's algorithm and reduced
    2      A. Yes.                                             2   to zero, are those flagged orders?
    3      Q. And it required a lot of different data          3      A. Those -- those would be the orders
    4   pulls to come up to compile the data points in this    4   exceeded tolerance limit, where it went in, it came
    5   PowerPoint, right?                                     5   over the amount, and we're not going to ship you
    6      A. Yes.                                             6   anything.
    7      Q. I'd like to take you to Bates No. 904            7      Q. All right. Let's start on the left-hand
    8   and it's a section titled "Flagged Orders."            8   side, the pie chart.
    9      A. Okay.                                            9      A. Okay.
   10      Q. And you will see on page 903 it's titled        10      Q. So, a flagged order is -- and I
   11   "Flagged Orders," and then you can see the title on   11   apologize. I'm just not following you.
   12   904 in the upper right-hand corner "Flagged           12           A flagged order is an order that was
   13   Orders." Okay?                                        13   identified by Wayne Bancroft's algorithm?
   14      A. Yep.                                            14      A. The flagged orders were the orders that
   15      Q. Is "flagged orders" a term that                 15   came in that we needed to review. The canceled
   16   Pharmaceutical Integrity used internally?             16   orders were orders that exceeded the limits and
   17      A. Yes.                                            17   were not shipped at all.
   18      Q. And what did you use -- what did it             18      Q. Okay. Give me the criteria for a
   19   mean?                                                 19   flagged order that were orders that came in that we
   20      A. That was the orders that hit the                20   needed to review?
   21   tolerance or the ceiling and were deemed orders of    21      A. They would come in with an override
   22   interest to be reviewed before release.               22   form.
   23      Q. Okay. So, let's walk through Bates              23      Q. What I see here in the left-hand side of
   24   No. 904. It says, "Fiscal Year 2014, Fiscal Year      24   this page in the pie chart is the red, 74.16% of
                                                  Page 331                                                   Page 333
    1   2015," correct?                                        1   the flagged orders exceeded tolerance limit. Am I
    2      A. Yes.                                             2   reading that right?
    3      Q. And at the bottom is a line graph with           3       A. That's what it says, yes.
    4   the dates October '13 to October '15, approximately    4       Q. Okay. And the green, 22.88% of the
    5   a two-year period, correct?                            5   flagged orders were reduced by ceiling, correct?
    6      A. Yes.                                             6       A. Right.
    7      Q. And it's titled "Orders Flagged and              7       Q. And blue, reduced tolerance/ceiling,
    8   Canceled Chain-Wide." Okay?                            8   2.86%, correct?
    9      A. Okay.                                            9       A. Yes.
   10      Q. Do you see that?                                10       Q. Those were flagged orders, correct?
   11      A. Yep.                                            11       A. They were orders that my team reviewed,
   12      Q. Let me make sure I understand.                  12   yes.
   13          Orders flagged and canceled, are those         13       Q. Okay. And fiscal year does -- has
   14   orders that were flagged on Wayne Bancroft's          14   approximately very similar results as '14?
   15   algorithm and then canceled?                          15       A. Yes.
   16      A. If the order was generated over what the        16       Q. I still want to make sure you and I are
   17   system -- Wayne's system did, then it was canceled    17   on the same page because what I asked was that the
   18   into zero. The orders that were flagged were          18   fiscal year '14, the pie chart, the exceeded
   19   orders that came in and my team reviewed and, you     19   tolerance limit, tolerance/tracked ceiling, reduced
   20   know, did their due diligence before shipping or      20   by ceiling and reduced tolerance/ceiling, those
   21   reporting to the DEA.                                 21   were flagged orders, correct?
   22      Q. So, walk me through some of that. Break         22       A. I don't remember all the weeds about all
   23   that out for me. Okay?                                23   of this. But if the order exceeded the tolerance
   24          So, orders that were I'm going to say          24   limit, it was not -- it was canceled. It wasn't

   Golkow Litigation Services                                                       Page 84 (330 - 333)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further85Confidentiality
                                                       of 98. PageID #: 470104
                                                                           Review
                                                     Page 334                                                       Page 336
    1   shipped at all.                                          1   policy, which was trying to order outside of the
    2          But I don't remember all the weeds of             2   system.
    3   what the definitions for everything was.                 3            If they ordered outside of the system
    4      Q. Because as we look below, "Orders                  4   and they -- and they did what they were supposed to
    5   Flagged and Canceled Chain-Wide."                        5   do and it was over the amount that Wayne's system
    6      A. That includes all of the numbers in the            6   that he put together allowed for them to have, then
    7   pie chart there.                                         7   it was flagged for us to review to make sure we had
    8      Q. Okay. So, orders that were flagged and             8   proper documentation to determine whether or not we
    9   canceled based on those four color-coded criteria        9   felt it was suspicious or whether or not we felt it
   10   on Bates No. 04 ranged between 4 and 6,000 orders,      10   was okay to ship.
   11   correct?                                                11   BY MR. MOUGEY:
   12      A. Where do you see the number?                      12       Q. Just the simple fact that it was flagged
   13      Q. Off the left-hand axis.                           13   or canceled, Walgreens did not consider that as
   14      A. Oh, I see what you're saying. Yes.                14   suspicious to report to the DEA, correct?
   15      Q. 2, 4, 6 and 8,000, correct?                       15       A. A canceled order wouldn't even have been
   16      A. Yep, right.                                       16   considered.
   17      Q. And this is broken out by month,                  17       Q. So, the answer is --
   18   correct?                                                18       A. And it could be --
   19      A. Yes.                                              19       Q. The answer is -- I just -- I understand.
   20      Q. So, approximately 4 to 6,000 orders, and          20   You want to tell me that it's not an order. Okay.
   21   I understand sometimes it's a little high or            21   But it says on this document, created by your
   22   sometimes it's a little lower, per month were           22   group, it says, "Orders Flagged and Canceled."
   23   flagged and canceled chain-wide?                        23   Okay.
   24      A. Flagged or canceled.                              24            So, all I'm simply asking is the

                                                    Page 335                                                      Page 337
    1       Q. I'm sorry. But I'm looking at page 04,            1   language based on this document that if an order
    2   it says, "Orders Flagged and Canceled" at the            2   was canceled by Walgreens as a result of the
    3   bottom, correct?                                         3   algorithm, Walgreens did not consider that to be
    4       A. Right. It's the combination of all of             4   suspicious and report to the DEA, correct?
    5   them.                                                    5      A. Exactly.
    6       Q. Flagged and canceled?                             6      Q. Okay. Thank you.
    7       A. Right.                                            7           Similarly, an order flagged by the
    8       Q. 4 to 6,000 orders approximately, give or          8   algorithm did not automatically get reported to the
    9   take a month, correct?                                   9   DEA --
   10       A. Yes.                                             10      A. That's correct.
   11       Q. So, we are talking somewhere in the              11      Q. -- as suspicious either?
   12   ballpark of 40, 50, 60, 70,000 orders on any given      12      A. Because the regulations say to review
   13   year that were flagged and canceled, correct?           13   the order before you report it. It says the order
   14       A. Yes, but they're two separate things.            14   must be deemed suspicious. You have to look at it
   15       Q. I understand.                                    15   to know whether or not it's suspicious.
   16       A. Okay. Yes.                                       16      Q. Can you point me to any language that
   17       Q. And Walgreens did not consider an order          17   the regulation says you have to look at it to
   18   flagged or an order that was canceled as                18   determine whether or not it's suspicious?
   19   suspicious, correct?                                    19      A. So, you're taking my words as literal.
   20       MR. HOUTZ: Object to form.                          20   But it says --
   21   BY THE WITNESS:                                         21      Q. That's kind of what we do here.
   22       A. An order that was canceled never even            22      A. Okay.
   23   came in to be reviewed because the store was doing      23      Q. We get to ask questions.
   24   what they were not supposed to be doing based on        24      A. That's fair.

   Golkow Litigation Services                                                           Page 85 (334 - 337)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further86Confidentiality
                                                       of 98. PageID #: 470105
                                                                           Review
                                                      Page 338                                                   Page 340
    1      Q. And I'm trying to understand what                   1   and the store wanted to avoid having an order being
    2   Walgreens thought the applicable regulations were.        2   flagged, they could simply wait until the beginning
    3   So --                                                     3   of next month, correct?
    4      A. The way my team interpreted -- the way I            4      A. Not for the Walgreens system. The
    5   interpreted it along with my team along with the          5   Walgreens system was a rolling six-week period of
    6   group of people, we had -- to determine whether or        6   time. It wasn't by month. So, you never really
    7   not that prescription -- sorry -- the order was           7   knew where you were in the cycle of the six weeks.
    8   deemed as suspicious, you had to review it. You           8      Q. Excepting for you looked at the ceiling
    9   had to look at what makes sense for that particular       9   limits tool --
   10   store and that particular drug at that particular        10      A. Right.
   11   point in the time.                                       11      Q. -- and it would tell you, right?
   12          And if it didn't make sense for their             12      A. Right.
   13   business or they didn't give us proper                   13      Q. So, the ceiling limits tool, if I'm in a
   14   documentation, we automatically reported it to the       14   pharmacy and I wanted to avoid having an order
   15   DEA.                                                     15   being flagged, I can tell where that -- where that
   16      Q. Let's keep going on this document.                 16   threshold is, correct?
   17          Do you have any understanding on Bates            17      A. Yes.
   18   No. 04, of the orders that were flagged and              18      Q. If you would, please, turn to Bates
   19   canceled chain-wide, how many of those                   19   No. 07. "Flagged Orders vs. Ceiling Tool," the
   20   percentage-wise were actually reported to the DEA?       20   last 6 months. Last 12 months. I'm sorry.
   21      A. I don't know.                                      21           So, the blue bar graph, the ceiling tool
   22      Q. Do you have any idea of annual numbers             22   usage, what does that indicate?
   23   of how many of these orders that were flagged and        23      A. It indicates how many times the ceiling
   24   canceled chain-wide were reported to the DEA?            24   tool was used by the chain, by all the pharmacies.
                                                     Page 339                                                      Page 341
    1      A. I don't know.                                       1      Q. So, by the time you got into 2015, it
    2      Q. Do you have any understanding of how                2   was being referenced 40 or 50,000 times per month,
    3   many of these orders that were flagged and canceled       3   correct?
    4   that Walgreens performed due diligence on before          4      A. Yep.
    5   they shipped?                                             5      Q. And the flagged orders were -- is the
    6      A. I don't know the numbers.                           6   green line, correct?
    7      Q. On Bates No. 05, "If stores checked the             7      A. Yes.
    8   ceiling limits tool before ordering, they can avoid       8      Q. And the gray is just a linear between
    9   having orders being flagged and reduced due to            9   the -- all the green or the flagged orders,
   10   tolerance or ceiling limits."                            10   correct?
   11          That's the ceiling limits tool you were           11      A. Yep, that's what it says.
   12   referencing earlier, correct?                            12      Q. If you turn to Bates No. 09, "Controlled
   13      A. Yes.                                               13   Substance Override Forms."
   14      Q. So, the store would know by looking at             14           Do you have any understanding of how
   15   the ceiling limits tool what that number is and          15   many override request forms were approved?
   16   avoid having an order being flagged due to               16      A. Well, based on this --
   17   tolerance or ceiling limits, correct?                    17      Q. Percentage-wise.
   18      A. Or cut.                                            18      A. Based on this, yeah, it says that 95%
   19      Q. Yes, ma'am.                                        19   were approved.
   20      A. Right.                                             20      Q. 95%?
   21      Q. So, the answer to my question is "Yes,             21      A. Right.
   22   or cut," correct?                                        22      Q. So, an override was a mechanism for the
   23      A. Yes.                                               23   store to fill out a form and have it approved by
   24      Q. So, if it got to be the end of the month           24   Walgreens to order more Schedule II or Schedule III

   Golkow Litigation Services                                                           Page 86 (338 - 341)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further87Confidentiality
                                                       of 98. PageID #: 470106
                                                                           Review
                                                         Page 342                                                       Page 344
    1   opiates, correct?                                            1   that. Let's just say it's about 2,000 a month.
    2       MR. HOUTZ: Object to form.                               2      A. Okay.
    3   BY THE WITNESS:                                              3      Q. Okay. So, how many people do you have
    4       A. Not exactly. The override form                        4   in your group reviewing these override forms?
    5   contained questions that my team needed to have              5      A. I have 11 people that can review them.
    6   information on in order to make a decision as to             6      Q. In day-to-day practice how many people
    7   whether or not that product made sense to go into            7   review them?
    8   that store at that point in time based on the                8      A. They all do a lot of work. So, I will
    9   business that was happening at that location.                9   be honest with you, I don't know if they all do
   10   BY MR. MOUGEY:                                              10   every one of them or if I've got a group that does
   11       Q. But the question that I asked was a                  11   some and then others focus on the DEA subpoenas and
   12   little different.                                           12   requests.
   13            I just said that an override was a                 13      Q. So, you don't know how many people are
   14   mechanism for the store to fill out a form and have         14   looking or who is looking at these -- the override
   15   it approved by Walgreens to order more Schedule II          15   forms?
   16   and Schedule III opiates, correct?                          16      A. No, the deal is they have to get them
   17       MR. HOUTZ: Object to form, asked and                    17   done. We have to take care of the patients at
   18   answered.                                                   18   store level and they need -- and the store level
   19   BY THE WITNESS:                                             19   needs to know whether or not they are going to get
   20       A. Approved or not approved. I mean, my                 20   the product or not so they can let the patient
   21   team would deny -- would deny also if we didn't             21   know.
   22   have -- felt -- if the reviewer didn't feel that it         22      Q. So, 2000 -- you're counting yourself as
   23   had appropriate information or the pharmacy manager         23   one of the 11, right?
   24   entered in information that was vague or didn't             24      A. No.

                                                     Page 343                                                         Page 345
    1   give specifics, we wouldn't approve it and we would          1       Q. Are you counting your administrative
    2   report it.                                                   2   assistant as one of the 11?
    3   BY MR. MOUGEY:                                               3       A. No.
    4      Q. Sure. And if you look at Bates No. 09,                 4       Q. You have four regions and you have a
    5   we can see that your team of investigators declined          5   manager in every region and an analyst in every
    6   4.48% of all of the override forms in fiscal year            6   region, correct?
    7   '14, correct?                                                7       A. At this -- in 2015, the answer to that
    8      A. My team of analysts, yes.                              8   was yes. Currently, no.
    9      Q. Yes, ma'am. Your team of analysts?                     9       Q. Let's just do '13, '14, '15.
   10      A. Yes.                                                  10       A. Okay.
   11      Q. All this criteria that stores have to go              11       Q. You had approximately eight people, an
   12   through and all this multifaceted approval process,         12   analyst and the manager in the four regions total,
   13   4.48% of the override forms were denied, correct?           13   right?
   14      A. That's what it says.                                  14       A. I had 11 people and they were broken
   15      Q. And if you look above, on the blue line               15   into divisions.
   16   and the green line, it provides the number of               16       Q. So, you had -- just make the math easy,
   17   override forms, correct?                                    17   let's do it by 10. So, you had an average per
   18      A. Yes.                                                  18   month per person about 200 override forms in your
   19      Q. So, other than the months July and                    19   group. Does that seem about fair?
   20   August on the green line, your group receives               20       A. You mean overrides that they approved?
   21   somewhere north of 1,000, south of 3,000 override           21       Q. If you look at the green and blue lines,
   22   requests per month, correct?                                22   they range from a little over 1,000 to a little
   23      A. Yes.                                                  23   less than 3,000. Do you see the green and blue
   24      Q. All right. Now, help me do some math on               24   lines?

   Golkow Litigation Services                                                               Page 87 (342 - 345)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further88Confidentiality
                                                       of 98. PageID #: 470107
                                                                           Review
                                                    Page 346                                                       Page 348
    1      A. Yes.                                                1   down to one bottle and I need more." That's not
    2      Q. So, just to make the math easy, I just              2   sufficient.
    3   said 2,000.                                               3      Q. They're performing an audit essentially,
    4      A. Okay.                                               4   correct?
    5      Q. Okay? Because I don't believe I have                5      A. My team?
    6   any spreadsheets --                                       6      Q. Yes.
    7      A. I get it.                                           7      A. My team is reviewing that all of the
    8      Q. -- or reports from Walgreens, heaven                8   answers have been filled out and they have
    9   forbid, trying to tell me how many override               9   sufficient information to determine whether or not
   10   requests there are or it's Chinese like the last         10   that order is deemed appropriate.
   11   spreadsheet we just looked at.                           11      Q. Do you recall Ronald Reagan's famous
   12          So, let's just do some rough math,                12   quote, "Trust but verify"?
   13   between you and I, and it's 2,000.                       13      A. Sure.
   14      A. Okay.                                              14      Q. Do you -- does your team, if they're
   15      Q. Okay?                                              15   told that a new hospice center opens, do they
   16      A. 2,000 override forms.                              16   verify that?
   17      Q. 2,000 override forms. And there is                 17      A. So, before the override form gets to my
   18   approximately -- let's just call it 10 people to         18   team, the local leadership has to look at it also.
   19   make the math easy because it's late in the day and      19   So, there is a chain of command, right? So --
   20   we're both a little tired. All right.                    20      Q. So the answer to my question is no, they
   21          So, 200 -- I'm sorry. 2,000 a month               21   don't. They just trust what the local pharmacy and
   22   divided by 10 is 200, right?                             22   the supervision over that pharmacy tells them?
   23      A. Okay.                                              23      A. Everybody has accountability and if they
   24      Q. So, there is approximately, I know this            24   have any questions at all, they can contact the
                                                      Page 347                                                       Page 349
    1   varies, but approximately 20 business days in a           1   store or contact the leadership.
    2   month, right?                                             2       Q. So, the question I asked was: Does your
    3      A. Yes.                                                3   group verify if a new hospice center opens?
    4      Q. So, that would mean your group per                  4       A. I don't know every step that they take.
    5   person just on average, and I understand these are        5       Q. So you don't know.
    6   rough, is looking at about 10 override forms per          6           Do you know if the -- one of the reasons
    7   day?                                                      7   is a new hospice center opens and someone goes and
    8      A. Correct.                                            8   looks at the actual prescriptions to see if the
    9      Q. How long do you think it takes one of               9   increase is attributable to that hospice center?
   10   your folks to approve one of these or disapprove in      10       A. It is part of an analysis that they can
   11   the case of the 4.48% an override form?                  11   do, but I don't know if they do it for every one.
   12      A. It depends on whether or not the proper            12       Q. So, same thing with a new pain clinic.
   13   information was submitted.                               13           Would -- if the answer was there's a new
   14      Q. Okay.                                              14   pain clinic down the street, would your group go
   15      A. If it isn't, it takes longer.                      15   and look to see if in fact there is a new pain
   16      Q. Why don't you help walk me through what            16   clinic?
   17   kind of information they are supposed to look at?        17       A. We would verify it with the local
   18      A. Sure. Has the business changed, has                18   leadership if they felt that there was something
   19   there been new -- new things that happened in terms      19   amiss.
   20   of an urgent care clinic opening, a surgical             20       Q. But only if there was something amiss.
   21   center, a hospice. Perhaps they got a brand-new          21   Otherwise they just approved it.
   22   patient that moved to the area.                          22           So, the trust but verify part really
   23          There's all -- I don't remember all the           23   didn't come into play at Pharmaceutical Integrity.
   24   exact questions, but they can't just say, "I was         24   They just trusted what the local store told them?

   Golkow Litigation Services                                                            Page 88 (346 - 349)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further89Confidentiality
                                                       of 98. PageID #: 470108
                                                                           Review
                                                     Page 350                                                           Page 352
    1       A. I don't think --                                    1   in the Memorandum of Agreement between Walgreens
    2       MR. HOUTZ: Object to form.                             2   and the DEA, there was a store that increased 22
    3   BY THE WITNESS:                                            3   times from 2009 to 2011, correct?
    4       A. I don't agree with what you're saying.              4       A. Yes.
    5   BY MR. MOUGEY:                                             5       Q. Have you seen any policies and
    6       Q. Was it part of the policies and                     6   procedures at Walgreens that would require those
    7   procedures in your group, when approving these             7   individuals that were responsible for suspicious
    8   thousands of override forms, that they would go and        8   order monitoring policy and procedure to verify
    9   verify the information on those forms?                     9   information on these override request forms?
   10       A. Would depend on what the answers were.             10       MR. HOUTZ: Object to form.
   11       Q. So, let's go back to my example of the             11   BY THE WITNESS:
   12   pain clinic. A new pain clinic comes in down the          12       A. I -- I was not in place during that
   13   street. Would they go and verify?                         13   time. I don't know.
   14       A. They could go and verify. I don't know             14   BY MR. MOUGEY:
   15   if every one of them that they did.                       15       Q. Bates No. 10, "Ceiling Limits Tool
   16           Listen, nobody is doing anything                  16   Usage."
   17   nefarious. They are trying to take care of the            17           "Store visits to the ceiling limits tool
   18   patients. They are trying to get product in to            18   for fiscal year 2015."
   19   tell the patient, "Yes, I can have your                   19           The second kind of bullet or arrow says,
   20   prescription ready for you tomorrow. I'm sorry I'm        20   "42% of all stores who've logged into the tool used
   21   out of your medicine today. I'm trying -- you             21   it 10 times or less during the year."
   22   know, I'll work on getting it for you tomorrow," or       22           Right?
   23   whatever.                                                 23       A. Yes.
   24           They fill out the override form. They             24       Q. And the last bullet says, "Increase

                                                       Page 351                                                      Page 353
    1   answer the questions. If they don't answer the             1   awareness around the importance of using the
    2   questions appropriately, my team can call                  2   ceiling limits tool in the ordering process will
    3   leadership, can call the store, they have access to        3   help reduce flagged orders and mitigate delay of
    4   the Internet. They go through all different steps.         4   product delivery."
    5           I don't do these overrides. We give                5          Correct?
    6   them parameters. And you know what? Everybody's            6       A. Yes.
    7   got a job to do.                                           7       Q. And that is Walgreens' objective is to
    8       Q. So, pharmacies from Walgreens here in               8   ensure that there was no delay of product delivery,
    9   Cuyahoga County increase 2 to 300% over a period of        9   correct?
   10   a couple of years.                                        10       A. Right. We have patients to take care
   11       A. Was that one of the stores on this thing           11   of.
   12   that you showed me earlier?                               12       Q. Sitting here today, do you have any
   13       Q. It's not.                                          13   understanding that the purpose of Walgreens'
   14       A. Okay.                                              14   suspicious order monitoring policy was to help
   15       Q. So, an override form comes in and it               15   ensure that the number of pills, OxyContin,
   16   says that a new pain clinic has opened up down the        16   hydrocodone, that entered into our communities were
   17   street.                                                   17   only used for legitimate purposes?
   18           Is there a written policy or procedure            18       MR. HOUTZ: Object to form.
   19   within Pharmaceutical Integrity that your group go        19   BY THE WITNESS:
   20   and verify?                                               20       A. We filled prescriptions that were
   21       A. As part of the -- in terms of a policy,            21   written by prescribers that had valid DEA numbers,
   22   no.                                                       22   and our pharmacists went through their processes
   23       Q. There we go. So, to go back to the --              23   for good faith dispensing and did their
   24   one of the six examples that we looked at earlier         24   corresponding responsibility and dispensed the

   Golkow Litigation Services                                                             Page 89 (350 - 353)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further90Confidentiality
                                                       of 98. PageID #: 470109
                                                                           Review
                                                 Page 354                                                       Page 356
    1   prescriptions.                                        1       A. I wouldn't say it was designed to
    2   BY MR. MOUGEY:                                        2   protect as much as there was work that was coming
    3       Q. So, as long as the prescription came in        3   in, in terms of who the DEA would contact for
    4   from a legitimate doctor on a legitimate              4   questions, for data, we would get subpoenas. All
    5   prescription pad --                                   5   of it was encompassing, and we needed a team to be
    6       A. And the pharmacist --                          6   able to coordinate and do it. And that's -- that's
    7       Q. -- Walgreens did their job?                    7   the reason why, and to my knowledge, the team was
    8       A. And the pharmacist did their due               8   formed.
    9   diligence.                                            9       Q. I hand you what we will mark as Polster
   10       Q. Some of these pharmacies get 4 or 500         10   26. P-WAG-2225, Bates No. 316771.
   11   prescriptions a day, do they not, Ms. Polster?       11              (WHEREUPON, a certain document was
   12       A. Yes.                                          12               marked as Walgreens-Polster Exhibit
   13       Q. How much due diligence when you get 4 or      13               No. 26: 6/19/13 e-mail with
   14   500 prescriptions a day does the pharmacist have     14               attachments; WAGMDL00316771 -
   15   the ability to do?                                   15               00316785.)
   16       A. It's their responsibility to do it.           16   BY MR. MOUGEY:
   17       Q. And --                                        17       Q. I just want to understand the timeline.
   18       A. We don't put time limits on that you          18   This is an e-mail from you dated June 19, 2013?
   19   have to have the prescription done at a certain      19       A. Yes.
   20   time. Take your time and do your job.                20       Q. And the bottom of this e-mail, from you,
   21       Q. And it was the job -- the pharmacists         21   "It's been a long year and a half getting this DEA
   22   were on the front line. That was not the job of      22   settlement in place. We want to ensure we have the
   23   Walgreens headquarters to ensure that its            23   proper documentation and accountability for this
   24   obligations as a distributor were being filled,      24   compliance piece."

                                                 Page 355                                                        Page 357
    1   correct?                                              1           Do you see that?
    2       MR. HOUTZ: Object to form.                        2      A. Yes.
    3   BY MR. MOUGEY:                                        3      Q. The DEA settlement had been ongoing from
    4       Q. Fulfilled.                                     4   the beginning of 2012?
    5       A. I'm sorry. Do I answer that question?          5      A. I don't know that piece, but when I got
    6   I didn't understand what you meant by "fulfilled."    6   involved, I knew that we were working towards
    7       Q. No, I understand. I get it.                    7   something.
    8           The pharmacists were the front line and       8      Q. Let's just take your plain language from
    9   they were the ones making sure that Walgreens was     9   this e-mail.
   10   filling its role as a distributor, correct?          10      A. Okay.
   11       MR. HOUTZ: Object to form.                       11      Q. "It's been a long year and a half
   12   BY THE WITNESS:                                      12   getting this DEA settlement in place." Is that
   13       A. I don't even understand that question.        13   accurate?
   14   BY MR. MOUGEY:                                       14      A. That's what I have here.
   15       Q. Do you believe that Pharmaceutical            15      Q. Yes, ma'am.
   16   Integrity was designed to protect the distribution   16      A. Yes.
   17   centers and stores from losing their DEA licenses?   17      Q. And I understand that's what it has and
   18       A. No.                                           18   that's what I just read, but the question I asked
   19       Q. Who were -- who was Pharmaceutical            19   was: Is that accurate?
   20   Integrity -- who were -- if I use the word           20      A. From my understanding, there was work
   21   "constituents," does that make sense to you?         21   being done at the beginning of 2012 that I was not
   22       A. Of my team? Constituents of my team?          22   involved in until I came into my role.
   23       Q. Who was the -- what was -- who was            23      Q. So, the answer is yes, I believe from
   24   Pharmaceutical Integrity designed to protect?        24   what I heard at Walgreens that that was an --

   Golkow Litigation Services                                                        Page 90 (354 - 357)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further91Confidentiality
                                                       of 98. PageID #: 470110
                                                                           Review
                                                    Page 358                                                     Page 360
    1   that's an accurate --                                   1      A. No, we had a much larger job than that.
    2       A. Yes.                                             2      Q. Would you please go back to Polster 26.
    3       Q. -- statement?                                    3      A. Okay.
    4       A. Yes.                                             4      Q. And turn to the second page of this
    5       Q. Thank you.                                       5   document that -- where you're introducing yourself
    6       MR. MOUGEY: P-WAG-1687. Polster 27.                 6   and your team. Okay?
    7              (WHEREUPON, a certain document was           7      A. Yes.
    8               marked as Walgreens-Polster Exhibit         8      Q. So, we just reviewed the e-mail from
    9               No. 27: 2/19/13 e-mail string;              9   Mr. Mills wherein he said he was there to protect
   10               WAGMDL00101723 - 00101732.)                10   the DCs and stores from losing their DEA licenses,
   11   BY MR. MOUGEY:                                         11   and you would agree with me that this bio sent
   12       Q. This is an e-mail from Steve Miller             12   around to the distribution centers was introducing
   13   (sic) to Rob Braley.                                   13   yourself and the Pharmaceutical Integrity
   14           Do you see that?                               14   Department in June of 2013, correct?
   15       A. Yes.                                            15      A. Yes.
   16       Q. And Mr. Mills is part of your group,            16      Q. And you have no earthly idea where
   17   correct?                                               17   Mr. Mills would have come up with the thought that
   18       A. Yes.                                            18   he was there to protect the distribution center and
   19       Q. And Mr. Mills, in the middle of the             19   stores, right? Certainly wasn't from you?
   20   paragraph at the bottom of Bates No. 101723, relays    20      A. It was part of the job, part of our
   21   to Mr. Braley, "I have concerns that store 09144 is    21   team's job to do all kinds of things.
   22   not following through enough with GFD policy,"         22      Q. Ms. Polster, you just testified that you
   23   that's good faith dispensing, "and the RxS should      23   never heard that in a meeting, that that wasn't
   24   consider reeducating the store."                       24   part of your mission.

                                                   Page 359                                                     Page 361
    1          Do you see that?                                 1          So, was it part of Pharmaceutical
    2       A. Yes.                                             2   Integrity's mission to protect the stores or wasn't
    3       Q. The sentence goes on, "We are here to            3   it?
    4   protect the DC," which is distributors --               4       A. Of course, protect the stores, protect
    5   distribution centers, "and stores from losing their     5   the company, protect everything.
    6   DEA licenses and it becomes harder to defend these      6       Q. Yes, ma'am. So, if you turn to the
    7   types of stores to the DEA when a store is              7   bio that you sent around, you tell the distribution
    8   purchasing 8 times more than the chain average."        8   centers that Pharmaceutical Integrity "was created
    9          Do you see that?                                 9   to protect and grow Walgreens controlled substance
   10       A. Yes.                                            10   business."
   11       Q. Was it the mission of your group,               11          Is that an accurate statement of what
   12   Pharmaceutical Integrity, that you were there to       12   Pharmaceutical Integrity was designed to do by
   13   protect the distribution centers and stores from       13   June of 2013?
   14   losing their DEA licenses?                             14       A. That was part of the statement. Not
   15       A. No. Steve is putting words in the -- in         15   all-encompassing.
   16   there.                                                 16       Q. You understand at this point in time
   17       Q. You don't have any idea where Steve             17   that the number of deaths from opiate overdoses
   18   would have gotten that information?                    18   year to year to year beginning in 2000 to 2013 was
   19       A. No, I mean, we never said that out loud         19   increasing exponentially, correct?
   20   in a meeting.                                          20       A. It was -- yes, it was increasing, but it
   21       Q. That wasn't part of the culture at              21   was starting to slow by the time all this happened.
   22   Walgreens that Pharmaceutical Integrity and similar    22   The industry started to change in 2012.
   23   units were there to protect the distribution center    23       Q. You understand that there were open
   24   and stores from losing their DEA license?              24   Congressional investigations for almost a decade

   Golkow Litigation Services                                                         Page 91 (358 - 361)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further92Confidentiality
                                                       of 98. PageID #: 470111
                                                                           Review
                                                        Page 362                                                    Page 364
    1   prior to your June '13 e-mail about the over --             1 that we were -- to make sure that when they put
    2   oversupply of OxyContin, correct?                           2 together the Memorandum of Agreement, that I could
    3      A. I don't know about the decade part.                   3 execute upon it.
    4      Q. Do you have any idea that there were                  4 BY MR. MOUGEY:
    5   open investigations in Congress about the                   5      Q. And the reason because -- the reason why
    6   oversupply of OxyContin?                                    6   you didn't take the time to read that
    7      A. I -- not in those exact words.                        7   350-page roadmap from the DEA with almost 300 pages
    8      Q. And yet you believe the mission of                    8   of examples of problems within Walgreens' system
    9   Pharmaceutical Integrity, you and Mr. Mills telling         9   was because you were charged internally at
   10   Walgreens employees that you were there to protect         10   Walgreens to protect and grow Walgreens' controlled
   11   and grow Walgreens controlled substance business.          11   substance business, correct?
   12           Is that what you're telling the                    12      A. No.
   13   distribution centers?                                      13      Q. There are children and people in our
   14      A. The intent of this document was to let               14   communities dying from overdoses on a day-to-day
   15   them know that my team was in place and that we            15   basis in our communities, and you put in writing to
   16   were the point of contact. We were letting them            16   your distribution centers that your job was to grow
   17   know when the DEA inspectors came into that site,          17   your controlled substance business?
   18   one of the questions that the DEA asked was who has        18      MR. HOUTZ: Object to form.
   19   oversight over controlled substance monitoring.            19   BY THE WITNESS:
   20   This was a bridge document.                                20      A. You're putting words and twisting them
   21           I mean, we're not going to put -- first            21   around so that they fit what you want to say.
   22   off, nobody reads 350 pages when we send it out in         22   BY MR. MOUGEY:
   23   an e-mail to these poor people who are busy with           23      Q. Ms. Polster, I'm not putting words in
   24   their own job.                                             24   your mouth. You did that for me.

                                                      Page 363                                                        Page 365
    1      Q. You didn't even read 350 pages --                     1           You said that Pharmaceutical Integrity
    2      A. You're exactly right.                                 2   "was created to protect and grow Walgreens
    3      Q. -- and you were in charge of                          3   controlled substance business," correct, ma'am?
    4   Pharmaceutical Integrity, right?                            4       A. That's what's in here.
    5      A. Exactly right.                                        5       MR. MOUGEY: I don't think I have any more
    6      Q. You were too busy to read the 350 pages               6   questions.
    7   of examples that the DEA provided to Walgreens of           7           Les, could you give me just a few
    8   gaps in their system, correct?                              8   minutes just to kind of reorganize and let me see.
    9      A. My job --                                             9       MR. HOUTZ: Sure.
   10      MR. HOUTZ: Object to form.                              10       MR. MOUGEY: I think I'm done.
   11   BY THE WITNESS:                                            11       THE VIDEOGRAPHER: We are off the record at
   12      A. -- was to ensure that the Memorandum of              12   6:01.
   13   Agreement that we signed was put in place and              13       MR. MOUGEY: Before we go off, Les, during
   14   executed on.                                               14   this break, would you mind please trying to track
   15   BY MR. MOUGEY:                                             15   down your folks downstairs or upstairs or wherever
   16      Q. A half a day's worth of reading to go                16   we are and the production of those 27 pages we have
   17   through that document to understand the gaps in            17   been asking about since last week.
   18   Walgreens' position, you did not think it was              18       MR. HOUTZ: I had the answer to that after the
   19   important as the director of Pharmaceutical                19   last break.
   20   Integrity to review that document, correct, ma'am?         20       MR. MOUGEY: Okay. And what was the answer?
   21      MR. HOUTZ: Same objection.                              21       MR. HOUTZ: The answer to that was that Sharon
   22   BY THE WITNESS:                                            22   Desh who you asked about sent an e-mail to the
   23      A. I did not read the document. I relied                23   Plaintiffs side, including yourself, Monday morning
   24   heavily on the attorneys to tell me, to make sure          24   and also sent an e-mail to Special Master Cohen

   Golkow Litigation Services                                                             Page 92 (362 - 365)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further93Confidentiality
                                                       of 98. PageID #: 470112
                                                                           Review
                                                     Page 366                                                       Page 368
    1   Monday morning asking him to formalize his ruling          1      Q. Take a look at the third page in the
    2   on those documents so that we could take an appeal.        2   document with Bates stamp 773.
    3       MR. MOUGEY: That's not what I asked you to             3      A. Yes.
    4   figure out. I saw the e-mail about him formalizing         4      Q. In particular, the first sentence.
    5   the ruling. What I asked was were they going to            5      A. Yes.
    6   produce them.                                              6      Q. Can you read that to yourself.
    7       MR. HOUTZ: We are going to appeal the ruling.          7      A. Yes.
    8       MR. MOUGEY: So, the answer is you are not              8      Q. Better yet -- well, could you read it
    9   going to produce the documents.                            9   out loud.
   10       MR. HOUTZ: We are going to produce the                10      A. "Rx Integrity was created to protect and
   11   documents when the judge or somebody who is the           11   grow Walgreens controlled substance business while
   12   final word tells us we have to produce the                12   transforming community pharmacy to play a greater
   13   documents.                                                13   role in the Opioid Narcotic Epidemic and protect
   14       MR. MOUGEY: So, you're not going to abide by          14   our business against high risk prescribers."
   15   Special Master's order. You are going to take it          15      Q. Now, Mr. Mougey asked you questions
   16   to Judge Polster and you are not going to produce         16   about the first part of that sentence about
   17   the documents.                                            17   protecting and growing Walgreens' controlled
   18       MR. HOUTZ: We are going to appeal his order.          18   substance business. Do you recall that?
   19       MR. MOUGEY: Go look at her e-mail. It                 19      A. Yes.
   20   doesn't say that she's not going to produce them.         20      Q. What did you mean by protecting and
   21   She asks him to formalize, and I followed up for          21   growing Walgreens' controlled substance business?
   22   about three times afterwards asking her to answer         22      A. We wanted to ensure that our pharmacists
   23   the simple question of whether they are going to          23   understood that we are not pressuring them to fill
   24   produce them or not.                                      24   prescriptions but that they were -- we're asking

                                                       Page 367                                                      Page 369
    1          But thank you for following up with her.            1   them to do their due diligence and any pharmacy
    2   I appreciate the straight answer.                          2   manager and myself as a pharmacy manager or even as
    3      THE VIDEOGRAPHER: We are off the record at              3   a pharmacy supervisor, the whole idea of being a
    4   6:02 p.m.                                                  4   manager is to grow your business.
    5             (WHEREUPON, a recess was had                     5          I know it says "grow controlled
    6              from 6:02 to 6:12 p.m.)                         6   substance business," but the job of a pharmacy
    7      THE VIDEOGRAPHER: We're back on the record at           7   manager was to grow their overall business, not
    8   6:12 p.m.                                                  8   specifically controlled substances.
    9      MR. HOUTZ: We established during the break              9          So, what we meant there was just that.
   10   that none of the attorneys in the room has any            10   I mean, we're asking our stores to protect and grow
   11   questions. Does anybody on the phone have any             11   their business, but my team was there to support
   12   questions?                                                12   them in doing that.
   13      MR. WATTS: None here.                                  13       Q. The next part of that sentence talks
   14      MS. LEWIS: No.                                         14   about "transforming community pharmacy to play a
   15                 EXAMINATION                                 15   greater role in the Opioid Narcotic Epidemic."
   16   BY MR. HOUTZ:                                             16          What did you mean by that?
   17      Q. Good afternoon, Ms. Polster. We're in               17       A. The role of the pharmacist and the
   18   the homestretch.                                          18   regulations around everything to do with narcotics
   19          I want to ask you questions about two of           19   has been very fluid over the last -- you know,
   20   the documents that were marked earlier in your            20   since 2012, for example, Naloxone. It was not
   21   deposition, beginning with the very last document,        21   allowed at the time for a pharmacist to dispense a
   22   Exhibit 26.                                               22   Naloxone prescription without a patient-specific
   23          Do you have that?                                  23   prescription and it is now in 49 states.
   24      A. Yes.                                                24          We wanted the pharmacist to be available

   Golkow Litigation Services                                                            Page 93 (366 - 369)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further94Confidentiality
                                                       of 98. PageID #: 470113
                                                                           Review
                                                 Page 370                                                         Page 372
    1   there to help and be a resource for patients should    1   they feel the prescription doesn't meet good faith,
    2   questions come up, things happen that they wanted      2   then we support their decision in not filling the
    3   to know about, anything around the narcotic            3   prescription.
    4   epidemic. We wanted to be at the forefront of          4       Q. Let me ask you about some other
    5   that, and we've dot a lot of things to do that.        5   statements in this letter or this document.
    6       Q. And then the last part of that sentence         6          The second sentence says, "Rx Integrity
    7   talks about protecting "our business against high      7   is responsible for managing, creating and
    8   risk prescribers."                                     8   maintaining controlled substance dispensing,
    9           What did you mean by that?                     9   monitoring and reporting programs including the
   10       A. Walgreens was the first in the industry        10   Good Faith Dispensing Policy and the National Good
   11   to push back against prescribers that we felt were    11   Faith Dispensing program."
   12   not writing prescriptions in good faith. We were      12          Is that an accurate statement of some of
   13   the first to go on record publicly that we would      13   the things that Rx Integrity was responsible for?
   14   not fill prescriptions. We would support our          14       A. Yeah, but I notice there is a typo here.
   15   pharmacists if they felt that those prescriptions     15   National Target Good Faith Dispensing program
   16   did not meet their corresponding responsibility,      16   was -- is what's supposed to be in that second word
   17   and it was just that. I mean, just basically          17   there around the policy.
   18   letting the -- the reader understand that, you        18       Q. Tell me, then, what's the difference
   19   know, we are looking out for the stores and the       19   between the Good Faith Dispensing Policy and the
   20   prescribers.                                          20   National Target Good Faith Dispensing program.
   21       Q. Did you get any pushback from others in        21       A. So, the Good Faith Dispensing Policy has
   22   the industry in that regard?                          22   been a policy that's been in place ever since I can
   23       A. Oh, yes.                                       23   remember with Walgreens when I started dispensing
   24       Q. What kind?                                     24   controlled substance prescriptions.

                                                 Page 371                                                        Page 373
    1       A. I would say I would get anywhere from           1           The National Target Good Faith
    2   three to five calls a week personally of doctors       2   Dispensing program was an additional policy that
    3   upset that our pharmacists weren't filling their       3   was put in place to have the pharmacists take
    4   prescriptions. I would get calls from leaders all      4   additional steps to document when they filled
    5   the way up to the CEO would get calls and then it      5   prescriptions for what drugs the DEA deemed as
    6   would roll downhill to me. The AMA got involved.       6   being high risk, like Oxy, hydromorphone,
    7   It was -- it was something.                            7   Methadone.
    8       Q. How did the AMA get involved?                   8       Q. What were some of the main components of
    9       A. They -- they wrote a -- I call it a             9   the original Good Faith Dispensing Policy?
   10   letter, but I think it's called something else,       10       A. Reiterating -- reiterating regulations
   11   where they went on record saying that our             11   around the responsibilities of a pharmacist when
   12   pharmacists were practicing medicine and their        12   filling a controlled substance prescription. It
   13   doctors wrote prescriptions and we should just fill   13   gave high level, if a patient is not, you know --
   14   them and we shouldn't question them.                  14   of red flags basically that a pharmacist should be
   15           I refer to it very affectionately as the      15   looking for when filling a controlled substance
   16   "Don't call us, we'll call you" letter because they   16   prescription.
   17   flat us told us, "Don't bother calling us, just       17       Q. And what sort of things did the National
   18   fill our prescriptions. When our members write        18   Target Good Faith Dispensing program add on top of
   19   prescriptions, we expect you to fill them."           19   that?
   20       Q. And how did you respond to that?               20       A. We -- we implemented a checklist that
   21       A. I told them that -- we had a lot of            21   went along with that program where the pharmacist
   22   meetings and phone calls with them and every call     22   had to document all the steps that they took before
   23   was our pharmacists have a corresponding              23   determining whether or not that prescription should
   24   responsibility. It's in the regulation. And if        24   be filled, and those -- those pieces were primarily

   Golkow Litigation Services                                                         Page 94 (370 - 373)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further95Confidentiality
                                                       of 98. PageID #: 470114
                                                                           Review
                                                     Page 374                                                        Page 376
    1   based on the red flags that the DEA had identified.       1   paragraph says, "Rx Integrity is tasked in
    2       Q. Are you proud of the job that                      2   developing a collaborative working relationship
    3   Rx Integrity did in carrying out those                    3   with government, law enforcement and industry
    4   responsibilities?                                         4   organizations (e.g., DEA, FDA, State Boards of
    5       A. Yes.                                               5   Pharmacy, National Retail Federation, Retail
    6       Q. A little further down in the paragraph             6   Industry Leaders Association, National Association
    7   it says, "The Rx Integrity team will investigate          7   of Drug Diversion Investigators) to drive industry
    8   and report potential violations of laws,                  8   leading solutions to pharmaceutical diversion."
    9   regulations or Company policy internally and              9           Was your group involved in driving
   10   suspicious orders externally to the DEA, State           10   industry-leading solutions to pharmaceutical
   11   Boards, and other agencies as required."                 11   diversion?
   12           Is that an accurate statement about what         12        A. Yes.
   13   the Rx Integrity team did?                               13        Q. How so?
   14       A. Yes.                                              14        A. We were part of opioid task force with
   15       Q. And are you satisfied that your people            15   NACDS. We went to numerous meetings.
   16   did that well?                                           16           This is an industry-wide problem, and
   17       A. Yes.                                              17   it's going to take everybody to help solve it.
   18       Q. Then the paragraph below that says,               18           So, I am still currently involved as
   19   "The team works with various departments, including      19   well as, you know, trying to come up with other
   20   Legal, Government Affairs, Logistics, Loss               20   ideas of things that we could do differently or
   21   Prevention, IT and others, to ensure company-wide        21   better, taking what's happening in the industry,
   22   awareness and adhere federal, state and local laws       22   taking what's happening, you know, in pharmacy and
   23   and regulations."                                        23   trying to make changes for the better.
   24           Did Rx Integrity do that?                        24        Q. That's all for that document. Could you

                                                      Page 375                                                     Page 377
    1       A. Yes.                                               1   also pull out Exhibit 16.
    2       Q. How did your team work with various                2       A. Yes.
    3   other departments to assure company-wide awareness        3       Q. You're on the second page of the
    4   and compliance with regs?                                 4   document, correct?
    5       A. Oh, they were part of meetings.                    5       A. Yes.
    6   Occasionally we would have town halls or like legal       6       Q. And there is a paragraph that says
    7   meetings where I would present of all the work that       7   "SOM Meetings" and the bullet point is, "Work group
    8   my team was doing around controlled substances            8   has been put together to begin the determination
    9   since the team was formed.                                9   between a suspicious order and an order of
   10           We worked closely with loss prevention           10   interest."
   11   if we had concerns that would filter up to us from       11           Do you remember that you were asked some
   12   the field about anything, you know. They are             12   questions about that earlier today?
   13   missing controlled substances and they need              13       A. Yes.
   14   somebody to investigate it or they have a doctor         14       Q. Let me ask you what you meant by that.
   15   they're concerned of.                                    15           What does it mean to say you were put
   16           Sometimes we would have -- ask loss              16   together to begin the determination between a
   17   prevention to do a drive-by the doctor's office to       17   suspicious order and an order of interest?
   18   see if there was anything that didn't look right         18       A. Well, my team needed to understand when
   19   based on some of the red flags that I had learned        19   an order of interest came in, what made it
   20   in some of my industry meetings that I was in            20   suspicious. So, we had to give them a type of
   21   around, you know, what was considered a pill mill        21   criteria or some type of guidelines as to whether
   22   or how you would identify a pill mill, those sort        22   or not that order should be reported to the DEA or
   23   of things.                                               23   it should ultimately be -- go on to the DC or the
   24       Q. And then the last sentence in this                24   wholesaler in order to fill.

   Golkow Litigation Services                                                            Page 95 (374 - 377)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further96Confidentiality
                                                       of 98. PageID #: 470115
                                                                           Review
                                                 Page 378                                                         Page 380
    1      Q. So, did you develop guidelines?                  1   started using the primary wholesaler and then we
    2      A. I don't know if I've got anything                2   were whittling down what was in the inventory of
    3   written down, but I know we had meetings about it      3   the DCs to exhaust that. So, it took some time,
    4   and worked with my team to determine if it's           4   but I think it was the beginning of '14 maybe
    5   suspicious -- if it was a suspicious order or an       5   before we were completely out of the business.
    6   order of interest.                                     6        Q. Since -- assuming it was the beginning
    7      Q. Now, was every order of interest                 7   of '14, do you know how the pharmacies have gone
    8   investigated in some way, to your knowledge?           8   about purchasing drugs since then?
    9      A. Yeah, to my knowledge, if it came in             9        A. Yes.
   10   through the controlled substance override form,       10        Q. So, today, if a Walgreens store wants to
   11   yes.                                                  11   purchase a controlled substance, they can't get
   12      Q. And what kind of investigation was done?        12   them from Walgreens distribution, correct?
   13      A. It really depended on what the ask was,         13        A. Correct.
   14   but history of the stores ordering, how much extra    14        Q. Where do they go?
   15   quantity the store wanted at the time, what was       15        A. They have to use the ordering system
   16   happening in the store, what's changed their          16   that we have. So, they have to place it through
   17   business, was there a buyout where we had volume      17   the ordering system which goes -- goes into Wayne's
   18   coming into the store because we, you know -- the     18   algorithm and if they try to exceed that, it --
   19   pharmacy down the street closed and therefore we      19   it's right back to where it was, cut to zero.
   20   were getting new business. What changed in that       20            They have to -- then they go into the
   21   area or what's different in that area that would      21   ceiling tool and they can use the ceiling tool to
   22   require more of that particular drug to go into the   22   tell them that they -- they have room in their --
   23   store.                                                23   the amount of inventory that they can get in and if
   24      Q. So, after you conducted that                    24   the ceiling tool -- if they need more than what the

                                                 Page 379                                                       Page 381
    1   investigation and you determined, if you               1   ceiling tool recommends, they have to use a CSO
    2   determined, that the order was appropriate, what       2   override form.
    3   would you do?                                          3       Q. And if they go through that process,
    4      A. Then the team would place the order on           4   Pharmaceutical Integrity is convinced that the
    5   behalf of the store and document, you know -- file     5   order is okay, how does that order get submitted
    6   that document for the override so that we would        6   and who does it get submitted to?
    7   have something to refer back to.                       7       A. Then the order is released and then it
    8      Q. And after the investigation, if you              8   goes into -- to the wholesaler, and right now it's
    9   determined that you thought the order was not          9   ABC.
   10   appropriate, what would you do?                       10       Q. And if a store puts in an override
   11      A. We would send it to the DEA as a                11   request form, does that go directly from the store
   12   suspicious order.                                     12   to Pharmaceutical Integrity or are there some stops
   13      Q. Did you send it to the DEA every time as        13   along the way?
   14   a suspicious order when after investigation you       14       A. Yeah, stops along the way. The
   15   thought it wasn't appropriate?                        15   leadership has to know that they're requesting
   16      A. Yes. If it was not deemed appropriate,          16   extra and then if the leadership approves it, then
   17   we sent it to the DEA.                                17   it goes into my team.
   18      Q. One last topic. You had mentioned that          18       Q. So, you wouldn't see any override
   19   Walgreens does not act as a distributor of            19   request coming from a store until their leadership
   20   controlled substances anymore, correct?               20   told you they thought it was okay?
   21      A. Correct.                                        21       A. That's correct.
   22      Q. And when did Walgreens stop being a             22       MR. HOUTZ: Thanks. Nothing else.
   23   distributor of controlled substances?                 23          Peter, anything else?
   24      A. I don't remember the exact date, but we         24       MR. MOUGEY: I don't have anything further.

   Golkow Litigation Services                                                         Page 96 (378 - 381)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further97Confidentiality
                                                       of 98. PageID #: 470116
                                                                           Review
                                           Page 382                                                          Page 384
    1   Thank you.                                             1           INSTRUCTIONS TO WITNESS
    2      MR. HOUTZ: We're done.                              2
    3      MR. MOUGEY: Thanks, everybody.                      3            Please read your deposition over
    4      THE VIDEOGRAPHER: We are off the record at          4   carefully and make any necessary corrections. You
    5   6:30 p.m.                                              5   should state the reason in the appropriate space on
    6           (Time Noted: 6:30 p.m.)                        6   the errata sheet for any corrections that are made.
    7          FURTHER DEPONENT SAITH NAUGHT.                  7            After doing so, please sign the errata
    8                                                          8   sheet and date it.
    9                                                          9            You are signing same subject to the
   10                                                         10   changes you have noted on the errata sheet, which
   11                                                         11   will be attached to your deposition.
   12                                                         12            It is imperative that you return the
   13                                                         13   original errata sheet to the deposing attorney
   14                                                         14   within thirty (30) days of receipt of the
   15                                                         15   deposition transcript by you. If you fail to do
   16                                                         16   so, the deposition transcript may be deemed to be
   17                                                         17   accurate and may be used in court.
   18                                                         18
   19                                                         19
   20                                                         20
   21                                                         21
   22                                                         22
   23                                                         23
   24                                                         24

                                                  Page 383                                                   Page 385
    1                                                          1             - - - - - -
            I, CORINNE T. MARUT, C.S.R. No. 84-1968,                          ERRATA
    2   Registered Professional Reporter and Certified
        Shorthand Reporter, do hereby certify:                 2             - - - - - -
    3           That previous to the commencement of the       3
        examination of the witness, the witness was duly
    4   sworn to testify the whole truth concerning the        4   PAGE LINE CHANGE
        matters herein;
    5           That the foregoing deposition transcript       5   ____ ____ ____________________________
        was reported stenographically by me, was thereafter    6         REASON: ____________________________
    6   reduced to typewriting under my personal direction
        and constitutes a true record of the testimony         7   ____ ____ ____________________________
    7   given and the proceedings had;                         8         REASON: ____________________________
                That the said deposition was taken
    8   before me at the time and place specified;             9   ____ ____ ____________________________
                That the reading and signing by the           10         REASON: ____________________________
    9   witness of the deposition transcript was agreed
        upon as stated herein;                                11   ____ ____ ____________________________
   10           That I am not a relative or employee or
        attorney or counsel, nor a relative or employee of    12         REASON: ____________________________
   11   such attorney or counsel for any of the parties       13   ____ ____ ____________________________
        hereto, nor interested directly or indirectly in
   12   the outcome of this action.                           14         REASON: ____________________________
   13                                                         15   ____ ____ ____________________________
              __________________________________
   14         CORINNE T. MARUT, Certified Reporter            16         REASON: ____________________________
   15
                 (The foregoing certification of this
                                                              17   ____ ____ ____________________________
   16   transcript does not apply to any                      18         REASON: ____________________________
        reproduction of the same by any means, unless under
   17   the direct control and/or supervision of the          19   ____ ____ ____________________________
        certifying reporter.)                                 20         REASON: ____________________________
   18
   19                                                         21   ____ ____ ____________________________
   20
   21
                                                              22         REASON: ____________________________
   22                                                         23   ____ ____ ____________________________
   23
   24
                                                              24         REASON: ____________________________

   Golkow Litigation Services                                                       Page 97 (382 - 385)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-7 Filed:
                               Subject   to 12/19/19
                                             Further98Confidentiality
                                                       of 98. PageID #: 470117
                                                                           Review
                                                            Page 386
    1
    2          ACKNOWLEDGMENT OF DEPONENT
    3
    4          I, TASHA POLSTER, do hereby certify
    5 under oath that I have read the foregoing pages,
    6 and that the same is a correct transcription of the
    7 answers given by me to the questions therein
    8 propounded, except for the corrections or changes
    9 in form or substance, if any, noted in the attached
   10 Errata Sheet.
   11
   12
   13      _______________________________________
   14      TASHA POLSTER          DATE
   15
   16
   17 Subscribed and sworn
      to before me this
   18 _____ day of ______________, 20____.
   19 My commission expires:______________
   20
        ____________________________________ Notary Public
   21
   22
   23
   24

                                                            Page 387
    1             LAWYER'S NOTES
    2   PAGE LINE
    3   ____ ____ ____________________________
    4   ____ ____ ____________________________
    5   ____ ____ ____________________________
    6   ____ ____ ____________________________
    7   ____ ____ ____________________________
    8   ____ ____ ____________________________
    9   ____ ____ ____________________________
   10   ____ ____ ____________________________
   11   ____ ____ ____________________________
   12   ____ ____ ____________________________
   13   ____ ____ ____________________________
   14   ____ ____ ____________________________
   15   ____ ____ ____________________________
   16   ____ ____ ____________________________
   17   ____ ____ ____________________________
   18   ____ ____ ____________________________
   19   ____ ____ ____________________________
   20   ____ ____ ____________________________
   21   ____ ____ ____________________________
   22   ____ ____ ____________________________
   23   ____ ____ ____________________________
   24   ____ ____ ____________________________

   Golkow Litigation Services                                          Page 98 (386 - 387)
